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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

PLAINTIFF UNDER SEAL

V.

DEFENDANT UNDER SEAL

 

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No. 10 CIV 5645 (MGC)
FILED UNDER SEAL

SECOND AMENDED COMPLAINT
AND JURY DEMAND

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA ex rel.
JOHN A. WOOD, and on behalf of the
STATES of CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE,
FLORIDA, GEORGIA, HAWAII,
ILLINOIS, INDIANA, LOUISIANA,
MARYLAND, the Commonwealth of
MASSACHUSETTS, MICHIGAN,
MINNESOTA, MONTANA, NEVADA,
NEW JERSEY, NEW MEXICO, NEW
YORK, NORTH CAROLINA,
OKLAHOMA, RHODE ISLAND,
TENNESSEE, TEXAS, the Commonwealth
of VIRGINIA, WISCONSIN and the
DISTRICT OF COLUMBIA,

Plaintiffs,

ALLERGAN, INC.,

Defendant.

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No. 10 CIV 5645 (MGC)

FILED UNDER SEAL

SECOND AMENDED COMPLAINT AND

JURY DEMAND
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SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
UNDER 31 U.S.C. § 3729 ET SEQ. AND STATE LAW COUNTERPARTS

This is an action brought on behalf of the United States of America and the Qui Tam
States by John A. Wood (“Relator”), by and through his attorneys, against Defendant Allergan,
Inc. (“Allergan,” “Defendant,” or “Company”), pursuant to the qui tam provisions of the Federal
Civil False Claims Act, 31 U.S.C. § 3729 et seq., and pursuant to the qui tam provisions of the
following states: the California False Claims Act, Cal. Gov’t Code § 12650 ef seq. (Deering
2000); the Colorado Medicaid False Claims Act, Colo. Rev. Stat. § 25.5-4-304 et seq.(2010); the
Connecticut False Claims Act, Conn. Gen. Stat. § 17b-301a et seg. (2010); the Delaware False
Claims and Reporting Act, Del. Code Ann. tit. 6, § 1201 et seg. (2000); the District of Columbia
False Claims Act, D.C. Code § 2-308.13 et seg. (2000); the Florida False Claims Act, Fla. Stat.
§ 68.081 et seg. (2000); the Georgia False Medicaid Claims Act, Ga. Code Ann. § 49-4-168 ef
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False Claims Whistleblower Reward and Protection Act, 740 Ill. Comp. Stat. § 175/1 et seq.
(2000); the Indiana False Claims and Whistleblower Protection Act, Ind. Code § 5-11-5.5 et seq.
(2007); the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat. Ann.
§ 46:439.1 et seq. (2006); the Maryland False Health Claims Act of 2010, Md. Code Ann.,
Health-Gen. § 2-601 et seq. (LexisNexis 2010); the Massachusetts False Claims Act, Mass. Gen.
Laws ch. 12, § 5A et seq. (2007); the Michigan Medicaid False Claims Act, Mich. Comp. Laws
§ 400.601 et seg. (2007); the Minnesota False Claims Act, Minn. Stat. § 15C.01 et seg. (2011);
the Montana False Claims Act, Mont. Code Ann. § 17-8-401 et seg. (1999); the Nevada False
Claims Act, Nev. Rev. Stat. § 357.010 et seg. (2007); the New Jersey False Claims Act, N.J.

Stat. Ann. § 2A:32C-1 ef seg. (West 2007); the New Mexico Medicaid False Claims Act, N.M.
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Stat. Ann. § 27-14-1 ef seg. (2007); the New York False Claims Act, N.Y. State Fin. Law § 187
et seg. (McKinney 2010); the North Carolina False Claims Act, N.C. Gen. Stat. § 1-605 ef seq.
(2010); the Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63, § 5053 et seg. (2007); the
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Against Taxpayers Act, Va. Code Ann. § 8.01-216.1 ef seg. (2011); and the Wisconsin False
Claims for Medical Assistance Law, Wis. Stat. § 20.931 et seg. (2007) (“State qui tam statutes”
or “Qui Tam States’).

I. INTRODUCTION

1, This is an action to recover damages and civil penalties on behalf of the United
States and the Qui Tam States arising from false and/or fraudulent records, statements, and
claims made, used and caused to be made, used or presented by Defendant and/or its agents,
employees or co-conspirators under the False Claims Act and the State qui tam statutes.

2. Since at least 2003, Allergan has successfully maximized its profits through the
payment of bribes, the illegal, off-label promotion of its pharmaceutical products, and the
provision of hidden discounts to health care providers treating Medicaid and Medicare patients,
in a concerted effort to maintain and increase market share. As part of its business model,
Allergan directed its sales representatives (a) to provide free drugs, supplies, and consulting
services in order to induce physicians to prescribe Zymar®, Zymaxid®, Acular LS®, Acuvail®,
and Restasis®; and (b) to illegally promote its drugs Acuvail®, Zymar®, and Zymaxid® based
on unsubstantiated superiority claims and/or for indications not approved by the Food and Drug

Administration (“FDA”).
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3. As part of its widespread kickback scheme to induce physicians to prescribe its
drugs, Allergan provided ophthalmologists with valuable products such as cataract surgery kits,
which contained “free” prescriptions of multiple Allergan eye care drugs, including Pred Forte®
(a topical steroid), Acular®/Acular LS®/Acuvail® (topical NSAIDs), and/or Zymar®/
Zymaxid® (topical anti-infectives). Allergan provided these kits contingent on health care
professionals’ agreement to prescribe its drugs, and closely monitored recipients’ prescribing
behavior to ensure that the Company was achieving a sufficient return on investment. An
“Action Plan” distributed by Field Sales Trainer William Scruggs was indicative of the
Company’s calculation, and subsequent revocation of kits from practices that did not prescribe
sufficient Allergan products in return: “No more kits till we see a better return.”

4. Even after Allergan stopped providing kits due to compliance concerns, it
continued to provide physicians with substantial amounts of free drugs in exchange for their
agreement to prescribe additional Allergan products. Just as it had with its free kits, Allergan
again closely monitored the quantity of free drugs it provided relative to the prescriptions written
by the receiving physician, in order to ensure that the Company was achieving a sufficient return
on investment. As a strong indication of the effectiveness these free products to induce
physicians to prescribe Allergan drugs, when the Company announced in June 2010 that it would
stop providing them due to compliance concerns, Allergan sales representatives expressed
widespread fear that, in the absence of kickbacks, physicians would instead prescribe generic
alternatives to Acuvail® and Zymaxid®.

5. Allergan also leveraged a litany of additional “resources” to induce physicians to
prescribe its drugs. These included free patient instruction sheets and free pre-printed

prescription pads, free reimbursement assistance through the “PARx” program, and free or

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discounted business consulting services. The consulting services were at all times material
hereto, and remain, a particularly integral part of Allergan’s promotion of Restasis®, since they
serve both as an outright inducement to physicians to prescribe the drug, as well as
simultaneously facilitate the development of profitable “dry eye practices” with prescribing of
Restasis® at their core. Allergan Eye Care Business Advisory Group (“ECBA”) consultants
provide physicians with wide-ranging advice, from how to maximize revenue and profitability in
the overall practice, to how to set up, bill, code, and recruit patients for a dedicated dry eye
section of the practice. ECBA consulting services are offered only to high-prescribers or those
who agree to become high-prescribers of Allergan’s products.

6. In addition to its widespread use of kickbacks, Allergan also increased sales of
Acuvail®, Zymar®, and Zymaxid® by illegally promoting the drugs off-label. Since Acuvail®’s
launch in 2009, Allergan has promoted the drug as superior to Acular®, Acular LS®, and their
generic equivalents, despite a complete lack of substantive evidence to support this claim.
Likewise, Allergan promoted Zymar® and Zymaxid® for use in pre- and post-cataract surgery
for the prevention of endophthalmitis, despite the fact that the drugs are only approved for
treatment of bacterial conjunctivitis (pink eye), and that there is no substantial clinical evidence
that supports their effectiveness for prophylaxis of endophthalmitis.

7. Allergan knew that many (if not most) of the patients being treated with Zymar®,
Zymaxid®, Acular LS®, Acuvail®, and Restasis® were Government Program beneficiaries, and
it intended (a) that its provision of free goods would induce health care professionals to prescribe
these drugs rather than cheaper and potentially more suitable alternatives; (b) that its untruthful
and misleading off-label claims would cause health care professionals to prescribe these drugs

rather than cheaper and potentially more suitable alternatives; and (c) that prescriptions resulting

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from its kickbacks and misleading off-label claims would be submitted to the state and federal
government by pharmacies. The claims which were submitted by these pharmacies, tainted by
kickbacks and/or off-label claims, were false claims, and were reimbursed or paid for by
Government Programs, such as Medicaid and Medicare Part D.

8. Defendant has, inter alia, knowingly (a) disregarded federal laws and FDA
regulations relating to prohibitions on sampling, illegal kickback schemes, and off-label
promotion; (b) improperly targeted physicians who do not treat bacterial conjunctivitis for the
promotion of Zymar® and Zymaxid®; and (c) concealed the fact that shipments of free supplies
and free samples of Pred Forte®, Acular LS®, Acuvail®, Zymar®, and Zymaxid® were
illegally being traded in exchange for Acular LS®, Acuvail®, Zymar®, Zymaxid®, and
Restasis® prescriptions.

9. From at least the launch of Zymar® in 2003, Defendant has failed to accurately
report its Average Manufacturer Price (“AMP”), or Best Price, as required by the Medicaid
Rebate Program, 42 U.S.C. § 1396r-8, et seq., by engaging in the fraudulent schemes described
herein. As a result, the Medicaid Program and the Qui Tam States have been deprived of the
lowest price on the Allergan drug products, which Allergan provided to ophthalmologists at
heavily discounted prices.

10. Allergan’s conduct as described in this Second Amended Complaint also violated
the “Stark Law,” 42 U.S.C. § 1395nn, and 42 C.F.R. § 411.350 et seg. by providing inducements
to physicians with which Allergan had a financial relationship to prescribe Allergan’s outpatient
drug products, including for off-label uses.

11. Defendant has violated the Federal Anti-Kickback Statute, the Federal False

Claims Act, the Medicaid Rebate Act, the Stark Law, and/or the Federal Prescription Drug
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Marketing Act, and in so doing, has cheated the Federal Government and the Qui Tam States out
of hundreds of millions of dollars that should not have been paid, thereby unjustly enriching the
Defendant.

i. JURISDICTION AND VENUE

12. This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C.
§ 3732(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1345. The Court has original jurisdiction of the
State law claims pursuant to 31 U.S.C. § 3732(b) because this action is brought under State laws
for the recovery of funds paid by the Qui Tam States, and arises from the same transaction or
occurrence brought on behalf of the United States under 31 U.S.C. § 3730.

13. This Court has personal jurisdiction over the Defendant because, among other
things, Defendant transacts business in this District, and engaged in wrongdoing in this District.

14. Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C.
§§ 1391(b) and (c). Defendant transacts business within this District, and acts proscribed by 31
U.S.C. § 3729 occurred in this District.

15. The causes of action alleged herein are timely brought because, among other
reasons, of efforts by the Defendant to conceal from the United States its wrongdoing in
connection with the allegations made herein.

Il. PARTIES

A. Plaintiff/Relator John A. Wood

16. _—_ Plaintiff/Relator John A. Wood (“Relator Wood”) is a resident of Canal Fulton,
Ohio. He received a Bachelor of Science, Sports Management degree from Valparaiso

University, Valparaiso, Indiana in May 1998. Relator Wood was employed by Defendant
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Allergan as an ophthalmology sales representative from October 2008 to July 6, 2010, when he
was unlawfully terminated as a result of his whistle-blowing activity.

17. While employed at Allergan, Relator Wood was a Senior Territory Manager in
the Northeast Ohio district, where he sold external disease/dry eye surgical care kits and products
to cataract, refractive, and retinal surgeons. Prior to joining Allergan, Relator Wood worked for
Pfizer from 2003 to 2006 as a Cardiovascular Sales Representative, and from 2006 to October
2008 as a Therapeutic Sales Representative selling ophthalmic products.

18. | Relator Wood held the title of Senior Territory Manager throughout his tenure at
Allergan. In that capacity, Relator Wood called on health care professionals in his assigned
territory and encouraged them to prescribe his assigned drugs, including Acular LS®, Acuvail®,
Zymar®, Zymaxid®, and Restasis®. Relator Wood’s compensation package was calculated as
base compensation plus a bonus based on progress reaching a predetermined goal for monthly
sales growth. In this way, Allergan tied sales representatives’ compensation to the Company’s
sales growth and incentivized each sales representative to increase sales growth irrespective of
the illegality of use of kickbacks and off-label marketing.

19, Relator Wood is an original source of the kickback, off-label promotion, and
Medicaid Best Price allegations in this Second Amended Complaint, and these allegations are
not based upon publicly disclosed information. He has provided the government with material
information prior to the filing of this Second Amended Complaint in accordance with 31 U.S.C.
§ 3730(b)(2), including electronic and hard copy documents; detailed internal Allergan
databases, which tracked kickbacks to health care professionals throughout the United States and
the impact of those kickbacks on prescribing behavior in connection with private and

government program patients; and audio recordings.

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20. Prior to filing this Second Amended Complaint, Relator Wood brought the
wrongdoing described herein to the attention of Allergan. However, Allergan terminated Relator
Wood’s employment, following his disclosure of these allegations, in order to intimidate and
retaliate against Relator Wood for his whistle-blowing activity.

B. Defendant Allergan, Inc.

21. Allergan is a Delaware corporation with its principal place of business at 2525
Dupont Drive, Irvine, California 92612. Allergan manufactures pharmaceutical and biological
products, as well as medical devices, and employs some 8,000 people worldwide. Allergan has a
large eye care division, which produces (or produced) prescription drugs including Acular®,
Acular LS®, Acuvail®, Zymar®, Zymaxid®, Pred Forte®, and Restasis®, as well as over-the-
counter Optive® and Refresh® artificial tears. These products treat a variety of eye conditions,
including glaucoma, dry eye, and bacterial conjunctivitis. Allergan is a global leader in the eye
care business and is one of the fastest-growing eye care companies in the world. For 2011,
Allergan reported $5.35 billion in sales and $934.5 million in profit. In its fourth quarter 2011
earnings release, Allergan predicted full-year 2012 sales of $5.65 to 5.85 billion.

22. Brand-name prescription drug products sold by Allergan, including Acular®,
Acular LS®, Acuvail®, Zymar®, Zymaxid®, Pred Forte®, and Restasis®, are paid or
reimbursed by various governmental programs, including health benefit carriers offering benefits
under the Federal Employees Health Benefits (“FEHB”) program under a prime contract with the
Blue Cross Blue Association (““BCBSA”); the Health Insurance Program for the Elderly and
Disabled, more commonly referred to as the Medicare Program, 42 U.S.C. § 1395 et seq.; via
Medicare Part C, also known as Medicare+Choice; patients covered by Medicare Part D; the

Indian Health Service; Medicaid; the Mail Handler’s Health Benefit Plan (“MHHBP”); the U.S.
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Secret Service Employees Health Association (“SSEH”) Health Benefit Plan; the Civilian Health
and Medical Program of the Uniformed Services (“CHAMPUS,” now known as “TRICARE”);
and the Veteran’s Health Administration (“VHA”) (collectively, “Government Programs”).

23. The Allergan sales teams are separated based on which products they promote.
Allergan external disease/dry eye products, which include Acular®/Acular LS®/Acuvail®,
Zymar®/Zymaxid®, Restasis®, and Optive®/Refresh® tears, are promoted by the Blue and
Gold teams. Allergan glaucoma products, which include Lumigan®, Alphagan P®, Combigan®,
Latisse®, Optive®, and Refresh® tears, are promoted by the Red and Silver teams.

24. Sales teams are further separated by geographic territory. Each territory includes
four Territory Managers (i.e., sales representatives) whose responsibility it is to detail Allergan
drugs to health care professionals. These four Territory Managers share responsibility for calling
on the same accounts and are collectively referred to as a “Pod.” Each Pod reports to an Area
Manager, who is responsible for eight to twelve Territory Managers. There are 97 Pods in the
country, representing 97 sales territories. Each territory is ranked 1 to 97 based on its success
meeting its sales quota.

25. Area Managers report to Regional Sales Directors, who in turn report to Vice
President of Sales for U.S. Eye Care, Dave LeCause. LeCause reported to Vice President of
Sales Joseph Schultz, until Schultz retired June 2010. Schultz, in turn, reported to Vice President
of North American Pharmaceuticals, Julian Gangolli, who reported to CEO David Pyott.

26. | Since Blue and Gold representatives traditionally carry identical products, these
teams work closely together and are ranked almost identically at any time. The same holds for
the Red and Silver teams. Competition is therefore most pronounced within sales teams, among

Pods. Territory Managers in the same Pod generally work together to share resources such as

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samples, speaker program budgets, and lunch meetings with top accounts, to ensure that they are
maximizing resources to achieve the best return on investment.

27. In addition to Territory Managers, Allergan employs Specialty Account
Managers (“SAMs”) to call on retinal specialists, large teaching institutions, and residency
programs, where they promote the full line of Allergan products. There are about fifty Allergan
SAMs nationwide, who report to SAM Area Managers. Their assigned geographic area generally
overlaps multiple territories. In addition, there are twenty Regional Account Managers
(“RAMs”), who are responsible for calling on managed care plans and securing favorable
formulary status for Allergan’s products. RAMs occasionally ride with Territory Managers to
gain insight into how a product’s formulary status affects sales.

IV. SUMMARY OF DEFENDANT?’S ILLEGAL CONDUCT
A. The Purpose of the Fraudulent Kickback Scheme

28. It was the plan and purpose of Allergan’s fraudulent kickback scheme, beginning
at least as early as 2003 and continuing to the present, to provide free supplies, services, and
drugs, including Pred Forte®, Acular®, Acular LS®, Acuvail®, Zymar®, and Zymaxid®, in
order to induce physicians to prescribe additional Allergan drugs, including Acular LS®,
Acuvail®, Zymar®, Zymaxid®, and Restasis® (hereinafter, the “Fraudulent Kickback
Scheme”). These actions constitute violations of the Federal Anti-Kickback Statute (““AKS”), 42
U.S.C. § 1320a-7b(b), in that they were taken to induce health care professionals to prescribe
Acular LS®, Acuvail®, Zymar®, Zymaxid®, and/or Restasis® instead of cheaper and
potentially more suitable alternatives.

29. The exchange of free drug samples to induce the prescribing of Allergan drug

products also violated the Prescription Drug Marketing Act of 1987 (the “PDMA”), which

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prohibits the sale, purchase, or trade of drug samples. As described herein, Allergan abused the
purpose of the PDMA by supplying copious free amounts of its drug products, as trades for
ongoing and future prescriptions.

30. | These kickbacks were intended to, and did result, in the dispensing of Allergan’s
drugs and subsequent reimbursement by Allergan’s customers, including Government Programs.

31. The payment and receipt of these kickbacks resulted in increased expense to
Government Program customers insomuch as physicians would have, in the absence of
Allergan’s kickbacks, prescribed a cheaper generic competitor or no drug at all.

32. Allergan’s provision of free supplies and drug products was made knowingly and
with the intent to induce Government Programs to pay for Allergan’s drug products. Allergan
did so through a pattern of corrupt and illegal conduct in violation of the AKS, the PDMA, and
the federal False Claims Act and State qui tam statutes.

B. The Purpose of the Fraudulent Marketing Scheme

33. It was the plan and purpose of Allergan’s fraudulent marketing scheme to illegally
market its drugs through off-label promotion, including but not limited to promotion of
Acuvail® based on unsubstantiated superiority claims, and promotion of Zymar® and
Zymaxid® for prevention of endophthalmitis in conjunction with cataract surgery (hereinafter,
the “Fraudulent Marketing Scheme”).

34. — Allergan trained its sales force to promote Acuvail® as superior to Acular® and
Acular LS®, as well as their generic equivalents, despite the total lack of evidence to support
that claim. Allergan also instructed its sales force to promote Zymar® and Zymaxid® to cataract
surgeons (who Allergan knew did not treat bacterial conjunctivitis) and trained sales

representatives to tout Zymar® and Zymaxid® as effective prophylactics for endophthalmitis.
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Allergan intended that, as a result of its off-label promotions, these health care professionals
would write prescriptions for Acuvail®, Zymar®, and Zymaxid® that would be reimbursed by
federal and state programs, including Medicaid and Medicare Part D.

35. By training and instructing its sales representatives to promote Acuvail®,
Zymar®, and Zymaxid® off-label, Allergan’s Fraudulent Marketing Scheme ultimately caused
false and fraudulent statements to be made, and caused false and fraudulent claims to be
submitted for payment by Government Programs. This was precisely what Allergan had
intended, in order to maximize its profits. The Fraudulent Marketing Scheme is made in violation
of the federal False Claims Act, 31 U.S.C. § 3729, and its state analogues.

Cc. The Manner and Means of Executing the Schemes

36. Allergan used its substantial sales force to increase sales of its drugs. From the
beginning of Relator Wood’s tenure at Allergan, he (and other new employees from various parts
of the country) received training by Allergan to engage in the nationwide off-label and kickback
schemes already being perpetrated by Allergan, which Relator Wood was told were intended to
meet the competition to maximize profits. During his training, Relator Wood was instructed by
Allergan to make misleading promotion to health care professionals, and offer kickbacks in order
to increase sales of Allergan’s drugs.

37. Relator Wood, like all of Allergan’s sales force, was directed by management to
implement Allergan’s long-standing strategy, whereby Allergan routinely: (a) distributed
numerous free “samples” of Pred Forte®, Acular LS®, and other Allergan drugs across the
country, in order to induce physicians to prescribe greater quantities of Acular LS®, Acuvail®,
Zymar®, and Zymaxid®; (b) provided ophthalmologists with free supplies such as patient care

kits, patient instruction sheets, and preprinted prescription pads in exchange for their agreement

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to prescribe Allergan drug products; (c) provided ophthalmologists with free or below-market
rate consulting services in exchange for their agreement to prescribe Restasis® and/or other
Allergan drug products; (d) misleadingly promoted Acuvail® as superior to competing
formulations of ketorolac; (e) promoted Zymar® and Zymaxid® to health care professionals
who did not typically treat patients suffering from bacterial conjunctivitis and initiated
discussions about off-label uses of the product; and (f) trained health care professionals to evade
insurance limitations on prescriptions for off-label uses. As part of its Fraudulent Kickback and
Marketing Schemes, Allergan attempted to conceal these illegal inducements and off-label
promotions to physicians.

38. Defendant Allergan’s promotion of Acular LS®, Acuvail®, Zymar®, Zymaxid®
and Restasis® involved the unlawful making of false records or statements and/or causing false
claims to be submitted by pharmacies for the purpose of getting the false records or statements to
bring about the Federal Government and Qui Tam States’ payment of false or fraudulent claims.

39.  Defendant’s conduct had a material effect on the Governments’ decision to pay
for Allergan’s drug products. Had the federal Government and Qui Tam States known that the
prescriptions written for Allergan’s brand-name drug products were the intended result of
Defendant’s unlawful activities, they would not have made such reimbursements.

40. Defendant has discontinued some aspects of the Fraudulent Kickback and
Marketing Schemes. In its announcements of these discontinuations, Allergan acknowledged
that its practices had been unlawful.

V. BACKGROUND OF DRUGS PROMOTED BY ALLERGAN

41. Allergan manufactures and markets drugs that treat various ophthalmic

conditions, and many of its key customers are ophthalmologists. There are some 15,000

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ophthalmologists in the United States, the majority of who perform eye surgeries, including
cataract surgery. For use pre- and post-cataract surgery, ophthalmologists routinely prescribe
topical steroids such as Pred Forte®, anti-infectives such as Zymar® and Zymaxid®, and non-
steroidal anti-inflammatory drugs such as Acular®, Acular LS®, Acuvail®. Given the
significant number of cataract surgeries performed each year in the United States, the market for
surgery-related prescription drugs is substantial.

42. This market is also highly competitive. In addition to Allergan, Alcon, Inc.
(“Alcon”), headquartered in Fort Worth, Texas, has a large market presence, selling products that
compete head-to-head with Allergan’s anti-infectives and NSAIDs. Together, Allergan and
Alcon dominate the eye care drug market, each possessing approximately 50% of all cataract
surgery-related drug sales.

43, Faced with intense competition from Alcon, and more recently from ISTA
Pharmaceuticals, Allergan implemented increasingly aggressive — and illegal — strategies to
maintain and gain market share. Allergan’s strategy was simple: provide ophthalmologists free
products, supplies, and services to win their business and stave off competition (“The Fraudulent
Kickback Scheme”). At the same time, Allergan heavily promoted its drugs Acuvail®, Zymar®,
and Zymaxid® off-label — Acuvail® based on unsubstantiated superiority claims, and Zymar®
and Zymaxid® for the non-FDA-approved use of prevention of endophthalmitis in conjunction

with cataract surgery (“The Fraudulent Marketing Scheme”).

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A. Acular®, Acular LS®, and Acuvail® (ketorolac ophthalmic solution,
0.5%, 0.4%, and 0.45%, respectively)

44. Acular® was originally approved on November 9, 1992, for treatment of allergic
conjunctivitis. In November 1997, its indication was expanded to include treatment of post-
surgical inflammation following cataract extraction.

45. | On May 30, 2003, the FDA approved a new formulation of Acular®, branded
Acular LS®, which contained ketorolac, the same active ingredient as the original Acular®, but
at a reduced concentration of 0.4% instead of the original 0.5%. The FDA approved Acular LS®
for the reduction of ocular pain and burning/stinging following corneal refractive surgery.
Corneal refractive surgery corrects mild-to-moderate nearsightedness, and is also referred to as
“LASIK surgery.” Acular LS® is not approved for use in conjunction with cataract surgery.

46. Until it became available generically in September 2009, a 5 ml bottle of Acular
LS® cost between $70 and $100. As part of its Fraudulent Kickback Scheme, Allergan provided
Pred Forte® and other Allergan drugs to numerous ophthalmologists in exchange for their
agreement to prescribe Acular LS®.

47. On July 22, 2009, immediately prior to the availability of generic Acular® and
Acular LS®, the FDA approved Acuvail® for the treatment of pain and inflammation following
cataract surgery. Acuvail® contains the same active ingredient (ketorolac) as Acular® and
Acular LS®, but at a concentration of 0.45% -— halfway between the 0.5% and 0.4%
concentrations of Acular® and Acular LS®.

48. In order to stem the anticipated loss of revenue from Acular LS® as a result of
generic competition, Allergan sought to convert all Acular LS® prescriptions to Acuvail®. To

do so, Allergan implemented an off-label marketing campaign in which it claimed that Acuvail®

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was clinically superior to Acular® and Acular LS®, despite the complete lack of substantive
evidence supporting this claim. Just as it had done with Acular LS®, Allergan also provided
Pred Forte® and/or other Allergan drugs to ophthalmologists in exchange for their agreement to
prescribe Acuvail®.

B. Zymar® and Zymaxid® (gatifloxacin ophthalmic solution, 0.3% and
0.5%, respectively)

49. | Zymar® was approved by the FDA on March 28, 2003, for the treatment of acute
bacterial conjunctivitis caused by susceptible strains of aerobic Gram-positive bacteria
Cornyebacterium  propinquum, Staphylococcus aureus, Staphylococcus epidermidis,
Streptococcus mitis, Streptococcus pneumoniae; or aerobic Gram-negative bacteria
Haemophilus influenzae. Allergan licenses Zymar® from Kyorin Pharmaceutical Co., Ltd., and
has worldwide ophthalmic commercial rights excluding Japan, Korea, Taiwan, and certain other
countries in Asia and Europe.

50. | When it was launched, Zymar® was the first “fourth generation” fluoroquinolone
approved for treatment of bacterial conjunctivitis, and Allergan intended it as a replacement for
its third-generation Ocuflox® (ofloxacin ophthalmic solution), which was about to lose patent
protection.

51. | Conjunctivitis (pink eye), one of the most common eye diseases worldwide, is an
inflammation of the conjunctiva which may be of bacterial, viral, allergic, fungal or traumatic
etiology. Most pediatric cases of conjunctivitis are caused by Streptococcus pneumoniae or
Haemophilus influenza, and most adult cases are caused by Staphylococcus species. Untreated,
conjunctivitis may last ten to fourteen days, but with proper treatment, it may be limited to one to

three days.

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52. The FDA’s limited approval of Zymar® for bacterial conjunctivitis, however,
substantially limited its sales potential. Sales pressure increased when Alcon’s competing
fluoroquinolone Vigamox® was approved in late 2003, also for treatment of bacterial
conjunctivitis. In order to expand sales, Allergan illegally marketed Zymar® off-label for
prevention of endophthalmitis in conjunction with cataract surgery.

53. In both the leading and most commonly available statutorily approved compendia,
DRUGDEX and the American Hospital Formulary Service (“AHFS”) Drug Information, there
are currently no supported off-label uses for Zymar®.

54, To further drive sales, Alcon provided ophthalmologists, and particularly cataract
surgeons, with free patient care kits that included Pred Forte® and/or other Allergan eye care
products in exchange for their agreement to prescribe Zymar®.

55. In 2007, U.S. sales of Zymar® were $104,737,945.17, as reported by Chain Drug
Review. Due to Allergan’s aggressive off-label promotion and its payment of kickbacks, within
ten weeks of its launch in April 2003, Zymar® became the most-prescribed ophthalmic
fluoroquinolone, with the vast majority of its sales for off-label use. Allergan does not report
annual sales of Zymar® in its SEC filings, but noted in its 2007 10-K that “{a]ccording to
Verispan, an independent research firm, Zymar® was the number two ophthalmic anti-infective
prescribed by ophthalmologists in the United States in 2007.” Given the prevalent use of
Zymar® in cataract surgery, and that most cataract patients are Medicare beneficiaries, a
substantial portion of Zymar® sales were likely funded by Government Programs.

56. In addition to competition from Vigamox®, Allergan also faced the prospect of
competition from generic versions of Zymar®. In 2007, Allergan and its Japanese licensors filed

suit against generic pharmaceutical manufacturer Apotex, Inc., which had submitted an

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Abbreviated New Drug Application to market generic versions of Zymar®. On June 14, 2010,
the United States District Court for Delaware held that the ‘045 patent was invalid for
obviousness, See Senju Pharmaceutical Co. Ltd. v. Apotex Inc., 07-cv-779-SLR (D. Del.).

57. In order to mitigate competition from generic equivalents of Zymar®, Allergan
sought approval for the follow-on product Zymaxid®, which the FDA approved on May 20,
2010, for treatment of bacterial conjunctivitis. Zymaxid® contains 0.5% gatifloxacin, compared
to Zymar®’s 0.3% gatifloxacin.

58. Allergan continued both the Fraudulent Kickback and Marketing Schemes with
regard to Zymaxid®, including (a) provision of free samples of Pred Forte® or other Allergan
drugs in exchange for physicians’ agreement to prescribe Zymaxid®; and (b) off-label promotion
for prevention of endophthalmitis in conjunction with cataract surgery.

C. Pred Forte® (prednisolone acetate ophthalmic suspension, 1%)

59. Pred Forte® is an ophthalmic corticosteroid indicated for the treatment of steroid-
responsive inflammation of the palpebral and bulbar conjunctiva, cornea, and anterior segment of
the globe. It was approved by the FDA on May 30, 1973.

60. A10 ml bottle of Pred Forte® costs $68.06 at www.DrugStore.com. As part of its
Fraudulent Kickback Scheme, Allergan provided ophthalmologists with free samples of Pred
Forte® in exchange for their agreement to prescribe Zymar®, Zymaxid®, Acular LS®, and/or
Acuvail®. The “free” sample of Pred Forte® was generally sufficient for the duration of the
entire post-surgical regimen.

D. Restasis® (cyclosporine ophthalmic emulsion) 5%

61. On December 23, 2002, the FDA approved Restasis® to increase tear production

in patients whose tear production is presumed to be suppressed due to ocular inflammation

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associated with keratoconjunctivitis sicca. Keratoconjunctivitis sicca — also known as dry-eye
syndrome — is a disease in which dryness results in inflammation of the cornea and/or
conjunctiva. Restasis® was the first prescription drug approved for treatment of dry eye, which
had previously been treated primarily by over-the-counter artificial tears.

62. Net worldwide sales of Restasis® were $697.1 million in 2011, $620.5 million in
2010, $522.9 million in 2009, $444.0 million in 2008, $344.5 million in 2007, $270.2 million in
2006, $190.9 million in 2005, and $99.8 million in 2004. Most of these sales were in the U.S.
Total Medicaid reimbursements from 2003 (Q3) to 2010 (Q3) were $215,773,942.81.

63. In order to overcome the prevalence of artificial tears for the treatment of dry eye,
Allergan provided valuable consulting and reimbursement services to induce ophthalmologists to
prescribe Restasis®, and to make treatment of dry eye a key part of their practices.

VI. BACKGROUND OF THE REGULATORY FRAMEWORK
A. The Food and Drug Administration (“FDA”) Regulatory System

1. The FDA Regulates What Drugs May Be Marketed, and the Uses For
Which They May Be Marketed.

64. | Under the Food, Drug and Cosmetics Act (“FDCA”), 21 U.S.C. §§ 301-97, new
pharmaceutical drugs cannot be marketed in the United States unless the sponsor of the drug
demonstrates to the satisfaction of the FDA that the drug is safe and effective for each of its
intended uses. 21 U.S.C. § 355(a), (d). Approval of the drug by the FDA is the final step in a
multi-year process of study and testing.

65. To determine whether a drug is “safe and effective,” the FDA relies on
information provided by a drug’s manufacturer; it does not conduct any substantial analysis or

studies itself. Applications for FDA approval (known as New Drug Applications or “NDAs”)

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must include “full reports of investigations which have been made to show whether or not such
drug is safe for use and whether or not such drug is effective in use.” 21 U.S.C. § 355(b)(1)(A).

66. Under the nation’s food and drug laws, a drug may not be introduced into
interstate commerce unless its sponsor has shown that the drug is safe and effective for the
intended conditions of use. See 21 U.S.C. § 321. The law requires that “adequate and well-
controlled investigations” be used to demonstrate a drug’s safety and effectiveness. See 21
U.S.C. § 355(d)(7). The FDA approves a drug if there are “adequate and well-controlled clinical
trials” that demonstrate a drug’s safety and effectiveness for its “intended conditions” of use. See
21 U.S.C. § 355(d)(5). The “intended conditions” for use of a drug are listed in the drug’s
labeling, which is reviewed and approved by the FDA. See 21 U.S.C. § 355(d)(1) & (2).
Indications for use that are not listed in a drug’s labeling have not been approved by the FDA.
See 37 Fed. Reg. 16,503 (1972).

67. The standards that govern the FDA safety and effectiveness requirements are
contained in statutes, regulations, notices and guidance documents. The statutory requirement
that a drug’s effectiveness be demonstrated by “adequate and well-controlled clinical
investigations” has been interpreted to mean a clinical study with (1) clear objectives;
(2) adequate design to permit a valid comparison with a control group; (3) adequate selection of
study subjects; (4) adequate measures to minimize bias; and (5) well-defined and reliable
methods of assessing subjects’ responses to treatment. See 21 C.F.R. § 314.26.

68. The FDA has addressed the need for reproducibility and reliability of clinical data
in the trials that support a drug’s approval. The FDA generally requires two pivotal, adequate
and well-controlled trials to support approval, except in certain circumstances. As stated by the

FDA in its 1998 Guidance to the Industry, “it has been FDA’s position that Congress generally
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intended to require at least two adequate and well controlled studies, each convincing on its own,
to establish effectiveness.” See U.S. Department of Health and Human Services, Food and Drug
Administration, Center for Drug Evaluation and Research (““CDER”), Center for Biologics
Evaluation and Research (“CBER”), Guidance for Industry: Providing Clinical Evidence of
Effectiveness for Human Drugs and Biological Products, May 1998; see also Final Decision on
Benylin, 44 FR 51512, 518 (Aug. 31, 1979). FDA’s position is based on the language in the
statute and the legislative history of the 1962 amendments. Language in a Senate report
suggested that the phrase “adequate and well-controlled investigations” was designed not only to
describe the quality of the required data but also the “quantum” of required evidence. See S. Rep.
No. 1744, Part 2, 87" Cong. 2d Sess. 6 (1962). Nevertheless, FDA has been flexible within the
limits imposed by the Congressional scheme, broadly interpreting the statutory requirements to
the extent possible where the data on a particular drug was convincing. In some cases, FDA has
relied on pertinent information from other adequate and well-controlled studies of a drug, such as
studies of other doses and regimens, dosage forms, stages of disease, populations, or endpoints,
to support a single adequate and well-controlled study demonstrating effectiveness of a new use.
In these cases, although there is only one study of the exact new use, there are, in fact, multiple
studies supporting the new use, and expert judgment could conclude that the studies together
represent substantial evidence of effectiveness.

69. In other cases, FDA has relied on only a single, adequate and well-controlled
efficacy study to support approval — generally only in cases in which a single multi-center study
of excellent design provided highly reliable and statistically strong evidence of an important
clinical benefit, such as an effect on survival, and a confirmatory study would have been difficult

to conduct on ethical grounds. In section 115(a) of the Modernization Act, Congress amended

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section 505(d) of the Act to make it clear that the Agency may consider “data from one adequate
and well-controlled clinical investigation and confirmatory evidence” to constitute substantial
evidence if FDA determines that such data and evidence are sufficient to establish effectiveness.
In making this clarification, Congress confirmed FDA’s interpretation of the statutory
requirements for approval and acknowledged the Agency’s position that there has been
substantial progress in the science of drug development resulting in higher quality clinical trial
data.

70. | Cases in which the FDA has approved a drug on the basis of one clinical trial plus
confirmatory evidence are rare. They include instances of large, independently conducted multi-
center trials with strong empirical results, with internal consistency across multiple outcomes,
such that “sponsors faced ethical boundaries” in conducting a second placebo-based trial.
Clinical trials that are not controlled, blinded, randomized and whose endpoints are not
prospectively and objectively determined and measured may be used in early stage drug
development phases, but are exceptionally unlikely to qualify as “‘adequate and well-controlled”
clinical trials needed to support FDA approval.

71. After a drug is approved, the FDA continues to exercise control over the product
labeling. To protect patients from safety concerns, the FDA may require a label change to reflect
the increased risk of various side effects or interactions, restrict a drug’s indications, or, in
extreme cases, force a withdrawal from the market. See 21 C.F.R. § 201.57(3).

2. FDA Regulations Prohibit Off-Label Marketing and False and
Misleading Statements About a Drug’s Use.

72. FDA regulations restrict how drug companies may market and promote approved

drugs. See 21 U.S.C. §§ 331, 352; 21 C.F.R. § 314.81. Drug labels — including all marketing and

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promotional materials relating to the drug — may not describe intended uses for the drug that
have not been approved by the FDA. 21 U.S.C. §§ 331, 352. Illegal “misbranding” can result in
criminal penalties. See 21 U.S.C. § 333.

73. The same general requirements about the promotion of prescription drugs apply to
both professional and consumer-oriented marketing. In particular, promotional materials may
only make claims that are supported by “substantial” scientific evidence (according to strict
scientific procedures) and they may not be false or misleading. FDA oversight helps ensure a
“fair balance” in all promotional claims and materials. Federal regulations require that the risks
as well as the benefits be clearly identified and given appropriate prominence. Promotional
materials must be consistent with the FDA-approved product labeling. This restriction pertains to
the clinical indications for which the drug has been approved as well as the dosing regimen that
is supported by the clinical trials that were undertaken to establish safety and efficacy.

74. A manufacturer, like Allergan, wishing to market or otherwise promote an
approved drug for uses other than those listed on the approved label, must resubmit the drug for a
series of clinical trials similar to those required for the initial FDA approval. See Food and Drug
Administration Modernization Act of 1997 (“FDMA”), 21 U.S.C. §§ 360aaa(b), (c); see also 21
C.F.R. § 314.54 (outlining the administrative procedure for filing an application for a new
indication); 21 U.S.C. §§ 301 et seg. A supplemental NDA must be filed. Unless and until an
additional indication is approved by the FDA, the unapproved use is considered to be “off-label.”

75. “Off-label” refers to the use of an approved drug for any purpose, or in any
manner, other than what is described in the drug’s labeling. Off-label use includes treating a

condition not indicated on the label, treating the indicated condition at a different dose or

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frequency than specified on the label or treating a different patient population, e.g., treating a
child when the drug is approved to treat adults.

76. Although the FDA is responsible for ensuring that a drug is safe and effective for
the specific approved indication, the FDA does not regulate the practice of medicine. Once a
drug is approved for a particular use, the FDA does not prohibit physicians from prescribing the
drug for uses that are different than those approved by the FDA. When considering off-label
prescribing, physicians depend on the patient-specific evidence they have available to them. This
includes the particular patient, the severity of his or her problems, the successfulness of prior
treatment and the risks of not treating. Whether contemplating on- or off-label use, physicians
also rely on personal experience, recommendations from colleagues and academics, educational
seminars and clinical trials evidence. Much of what physicians rely on is information (or, as the
case may be, misinformation) provided by sales representatives from drug makers, drug-
company-sponsored continuing medical education (“CME”) courses and speaker programs, and
drug-company-sponsored clinical trials.

77. Although physicians may prescribe drugs for off-label usage, the law prohibits
drug manufacturers from marketing or promoting a drug for a use that the FDA has not
approved, or for a patient group that is unapproved. Specifically, a manufacturer illegally
“misbrands” a drug if the drug’s labeling (which includes all marketing and promotional
materials relating to the drug) describes intended uses for the drug that have not been approved
by the FDA. 21 U.S.C. §§ 331, 352. The statute, 21 U.S.C. § 331(d), and its implementing
regulations, and 21 C.F.R. 202.1(e)(4)(i)(a) prohibit any advertising that recommends or suggests
an off-label use for an approved drug, and the FDA has interpreted “advertising” to include a

significant amount of speech that would not typically be considered advertising. See Final

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Guidance on Industry-Supported Scientific and Educational Activities, 62 Fed. Reg. 64,074
(Dec. 3, 1997). The FDA “interprets the term ‘advertisement’ to include information (other than
labeling) that originates from the same source as the product and that is intended to supplement
or explain the product.”

78. Any manufacturer speech explaining one of its products is an “advertisement” for
the product and is subject to the prohibitions against off-label marketing in 21 C.F.R. 202.1, as
well as the FDA’s “fair balance” requirement, described below.

79. Section 202.1(e)(6)(xi) provides that an advertisement may not use “literature,
quotations, or references for the purpose of recommending or suggesting conditions of drug use
that are not approved or permitted in the drug package labeling.” See 21 C.F.R. 202.1(e)(6)(xi);
See also 21 U.S.C. § 331(d) (prohibiting distribution of a drug for non-approved uses); id. §
331(a) (prohibiting distribution of a misbranded drug); id. § 360aaa (permitting dissemination of
material on off-label uses only if the manufacturer meets certain stringent requirements).

80. | The FDA regulations that fall under the general rubric of 21 C.F.R. 202.1(e)(6) et
seq. ban advertisements that are false, lacking in fair balance, or otherwise misleading. The use
of unsubstantiated comparative claims also is prohibited by law. See 21 U.S.C. § 352; 21 C.F.R.
§ 202.1(e)(6). Thus, companies such as Allergan may not promote their approved drugs through
unsubstantiated comparative claims that exalt their drugs as safe as or more efficacious than
competitor drugs. Such promotion renders a drug “misbranded” and no longer eligible for
reimbursement by Federal Programs, including Medicare Part D and Medicaid.

81. The regulations prohibit an advertisement that “contains a representation or
suggestion that a drug is safer than it has been demonstrated to be by substantial evidence or

substantial clinical experience, by selective presentation of information from published articles

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or other references that report no side effects or minimal side effects with the drug or otherwise
selects information from any source in a way that makes a drug appear to be safer than has been
demonstrated.” See 21 C.F.R. 202.1(e)(6)(iv).

82. The regulations require drug companies to present a “true statement” of
information relating to the side effects, contraindications and effectiveness of the drug use. See
21 C.F.R. 202.1(e)(5) et seg. A company violates this regulation if it presents “false or
misleading” information about a drug’s side effects or does not “fair[ly] balance” information
relating to the safety and efficacy of the drug use against information about its side effects and
contraindications. Id.

83. Section 202.1(1)(2) broadly describes “labeling” of a drug as including any
material accompanying a drug product that is supplied and disseminated by the manufacturer,
packer or distributor of the drug. 21 C.F.R. 202.1(1)(2)

84. Section 201.56 requires labeling to be “informative and accurate and neither
promotional in tone nor false and misleading in any particular,” to “contain a summary of the
essential scientific information needed for the safe and effective use of the drug,” and prohibits
“Implied claims or suggestions of drug use if there is inadequate evidence of safety or a lack of
substantial evidence of effectiveness.” 21 C.F.R. 201.56

85. | The FDA has interpreted oral communications as falling under the umbrella of
“labeling.”

86. Section 21 C.F.R. 99.101 et seq. lays out the stringent requirements that must be
met by the manufacturer before it may disseminate any materials on unapproved or new uses of
marketed drugs. This material must be in the form of an unabridged reprint or copy of a

published, peer-reviewed article that is considered “scientifically sound” by experts qualified to

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evaluate the safety or effectiveness of the drug involved. See 21 C.F.R. 99.101(a)(2). The FDA
does not consider abstracts of publications to be “scientifically sound.” 21 C.F.R. 99.101(b).
Unabridged reprints or copies of articles shall not be disseminated with any information that is
promotional in nature. 21 C.F.R. 99.101(b)(2).

87. Furthermore, the manufacturer must not disseminate materials that are “false and
misleading,” such as those that only present favorable information when unfavorable
publications exist, exclude mandatory information about the safety and efficacy of the drug use
or present conclusions that “clearly cannot be supported by the results of the study.” 21 C.F.R.
99.101(a)(4).

88.  Off-label information may be disseminated only in response to an “unsolicited
request from a health care practitioner.” 21 U.S.C. § 360aaa-6. In any other circumstance, a
manufacturer may disseminate information concerning off-label use only after it has submitted
an application to the FDA seeking approval of the drug for the off-label use, has provided the
materials to the FDA prior to dissemination, and the materials themselves are submitted in
unabridged form and are neither false or misleading. 21 U.S.C. §§ 360aaa(b) & (c); 360aaa-1.

89. In sum, the off-label regulatory regime protects patients and consumers by
ensuring that drug companies do not promote drugs for uses other than those found to be safe
and effective by an independent, scientific government body — the FDA. The prohibition on
unsubstantiated comparative claims protects patients and consumers by ensuring that the

prescription and use of approved drugs is not based on misleading marketing tactics.

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3. The FDA Has Limited Ability To Regulate Drug Maker Marketing
and Promotion.

90. The FDA’s Division of Drug Marketing, Advertising and Communications
(“DDMAC’”) is charged with overseeing the marketing and promotion of approved drugs to
ensure that advertisements are not false or misleading, provide a fair balance between the
benefits and risks of the drug, and do not include off-label uses. See Statement by Janet
Woodcock, M.D. (Director Center for Drug Evaluation and Research, FDA) Before the Senate
Special Committee on Aging (July 22, 2003).

91. DDMAC’s effectiveness in regulating off-label promotion is limited. In 2003, the
entire staff consisted of forty members, with twenty-five reviewers responsible for reviewing all
drug advertisements and promotional materials. Moreover, drug materials do not have to be pre-
approved. FDA review of promotional materials occurs, if at all, only after the materials already
have appeared in public. See Woodcock Statement, supra. Upon finding a violation, DDMAC
generally requests, but does not require, the company to stop using the promotional materials. /d.
Sponsors occasionally are required to publicly correct product misimpressions created by false,
misleading or unbalanced materials. Jd.

92. Once a drug has been approved, the FDA’s statutory authority is limited to
requesting label changes, negotiating restrictions on distribution with the manufacturer and
petitioning for the withdrawal of the drug from the marketplace. Title 21 of the Code of Federal
Regulations requires that “as soon as there is reasonable evidence of a serious hazard with a
drug,” the “Warnings” section of the label should be revised to reflect this hazard.

93. | The FDA’s ineffectiveness in policing off-label promotion was confirmed in a

July 28, 2008 U.S. General Accountability Office Report, which found that the FDA took an

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average of seven (7) months to issue letters in response to off-label promotions. See Drugs:
FDA's Oversight of the Promotion of Drugs for Off-Label Uses (GAO 08-835),
http://www.gao.gov/new.items/d08835.pdf. Among the Report’s findings: (1) FDA does not
have separate oversight activities to specifically capture off-label promotion; (2) FDA is unable
to review all promotional submissions because of the volume of materials it receives and
prioritizes its reviews in order to examine those with the greatest potential impact on human
health; (3) FDA is hampered by the lack of a system that consistently tracks the receipt and
review of submitted materials; (4) FDA conducts limited monitoring and surveillance to identify
violations that would not be identified through its review of submitted material—for instance,
discussions between doctors and sales representatives; (5) during calendar years 2003 through
2007, FDA issued 42 regulatory letters in response to off-label promotions requesting drug
companies to stop dissemination of violative promotions.

B. The Anti-Kickback Statute

94. The federal Anti-Kickback Statute (“AKS”) prohibits any person from knowingly
and willfully offering to pay any remuneration to another person to induce the purchase, order, or
recommendation of any good or item for which payment may be made in whole or in part by the
Medicare program. 42 U.S.C. § 1320a-7b(b). In addition to criminal penalties, violations of the
AKS may result in civil monetary penalties of up to $50,000 per violation, an assessment of up
to three times the amount of remuneration paid, and exclusion from participation in federal
health care programs. 42 U.S.C. § 1320a-7a(7). These substantial penalties reflect the
significance of the prohibition against kickbacks as a critical tool in the fight against health care
fraud. See H. Rep. 95-393, 95th Cong., 1st Sess. at 44, reprinted in 1977 U.S.C.C.A.N. 3039,

3047 (making violations of AKS a felony, and explaining that fraud in federal health care
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programs “cheats taxpayers who must ultimately bear the financial burden of misuse of funds in
any government sponsored program”).

95. As long as one purpose of the offer to pay or payment of remuneration to induce
the purchase, order, or recommendation of any good or item for which payment may be made in
whole or in part by the Medicare program, the AKS has been violated. For example, Allergan
could not lawfully offer or pay any remuneration, in cash or kind, directly or indirectly, to induce
physicians or others to order or recommend drugs that may be paid for by a federal health care
program, even if the remuneration has some benefit to patients, as long as one purpose of the
remuneration was the inducement of a physician to write additional prescriptions for Allergan’s
pharmaceutical products.

96. Concern about improper drug marketing practices like those alleged in this
Complaint prompted the Inspector General of the Department of Health and Human Services
(“HHS”) to issue a Special Fraud Alert in 1994 identifying prescription drug marketing practices
that violate the Anti-Kickback law. Special Fraud Alert: Prescription Drug Marketing
Schemes, 59 Fed. Reg. 65,376 (Dec. 19, 1994). Among the suspect practices cited by the
Inspector General were drug companies’ payments to physicians who had offered no particular
services of benefit to the drug company but who had generated in the past, or had the potential to
generate in the future, a large volume of business for the drug company. /d.

97. In May 2003, the Inspector General of HHS released a further Guidance
identifying in greater detail several marketing practices of drug manufacturers that constitute
“kickbacks and other illegal remuneration” infecting federal health care programs. O/G
Compliance Program Guidance for Pharmaceutical Manufacturers, 68 Fed. Reg. 23731 (May 5,

2003) (2003 Guidance”). The 2003 Guidance cautions manufacturers against engaging in the
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following suspect practices, including providing improper business courtesies and other
gratuities, such as gifts such as merchandise of more than trivial value, entertainment, recreation,
travel, meals, and other gratuities furnished in association with information or marketing
presentations. Jd. at 23731-39.

98. In addition, the 2003 Guidance stresses that “under the anti-kickback statute,
neither a legitimate purpose for an arrangement (e.g., physician education), nor a fair market
value payment, will necessarily protect remuneration if there is also an illegal purpose (i.e., the
purposeful inducement of business).” Jd.

99. Notably, as part of the comprehensive health care reform legislation enacted
earlier this year, Congress amended the AKS to expressly clarify that “a claim that includes
items or services resulting from a violation of this section constitutes a false or fraudulent claim
for purposes of [the False Claims Act].” Patient Protection and Affordable Care Act of 2010
(“PPACA”), Pub. L. No. 111-148, § 6402(f), 124 Stat. 119 (codified at 42 U.S.C. 1320a-7b(g)).

100. Compliance with the AKS is a cornerstone for reimbursement under Medicare
and Medicaid because kickbacks destroy an essential premise upon which the reimbursement of
all health care claims depends: that the medical services, devices, or drugs are being furnished
because they are medically necessary for the patient and not simply because they advance the
financial interests of the ordering physician.

101. Reimbursement from Medicare and other federal health insurance programs
requires compliance with the AKS. The FCA imposes liability not only for the direct submission
of false claims to the government, but also for causing others to make claims for payment to
which they are not entitled. Thus, the FCA not only prohibits the knowing presentation of claims

that do not satisfy all relevant conditions of payment, it also prohibits end-runs around these

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requirements in which one person knowingly causes another person to submit ineligible claims
to the government — where the submission of ineligible claims for reimbursement under federal
health care programs is the natural consequence of the defendant’s actions.

102. As described in this Second Amended Complaint, Allergan’s kickback scheme
caused pharmacies and others to submit ineligible claims, since the prescription claims tainted by
the kickbacks were false, and were integral to a causal chain leading to payment by Government
Programs.

C. Prescription Drug Payment Under Federal Health Care and Other
Programs

103. Whether an FDA-approved drug is approved for a particular indication (i.e., use)
determines whether a prescription for that use may be properly reimbursed by Government
Programs.

1. The Medicaid Program

104. Medicaid is a public assistance program providing for payment of medical
expenses for approximately 55 million low-income patients. Funding for Medicaid is shared
between the federal government and state governments.

105. Although Medicaid is administered on a state-by-state basis, the state programs
adhere to federal guidelines. Federal statutes and regulations restrict the drugs and drug uses that
the federal government will pay for through its funding of state Medicaid programs. Federal
reimbursement for prescription drugs under the Medicaid program is limited to “covered
outpatient drugs.” 42 U.S.C. §§ 1396b(1)(10), 1396r-8(k)(2)-(3). Covered outpatient drugs are
drugs that are used for “a medically accepted indication.” Jd. § 1396r-8(k)(3). These drugs may

also include, in some instances, over-the-counter (“OTC”) drug products.

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106. A medically-accepted indication, in turn, is a use that is listed in the labeling
approved by the FDA, or that is included in one of the drug compendia identified in the Medicaid
statute. Jd. § 1396r-8(k)(6). During the time period relevant to this Second Amended Complaint,
Allergan promoted off-label uses of Zymar® and Zymaxid® that were not eligible for
reimbursement from Medicaid because the off-label uses were neither listed in the FDA-
approved labeling nor included in any of the drug compendia specified by the Medicaid statute.

107. Between 2003 and 2010, Medicaid reimbursed for more than 1.5 million
prescriptions of Zymar®,

2. The Medicare Program

108. The Medicare Prescription Drug Improvement and Modernization Act of 2003
added prescription drug benefits to the Medicare program. Medicare serves approximately 43
million elderly and disabled Americans.

109. The Medicare Prescription Drug benefit covers all drugs that are considered
“covered outpatient drugs” under 42 U.S.C. § 1396r-8(k), as described above.

110. The first stage of the Medicare program, from May 2004 through December 2005,
permitted Medicare beneficiaries to enroll in a Medicare-approved drug discount card program.
In addition, low-income beneficiaries, defined as those whose incomes are not more than 135%
of the poverty line (those with incomes of no more than $12,569 for a single person or $16,862
for a married couple in 2004) qualified for a $600 credit (funded by Medicare) on their drug
discount card for 2004, and again for 2005. Starting in January 2006, Part D of the Medicare
Program provided subsidized drug coverage for all Medicare beneficiaries, with low-income

individuals receiving the greatest subsidies.

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111. During the time period relevant to this Second Amended Complaint, Allergan
promoted off-label uses of Zymar® and Zymaxid® that were not eligible for reimbursement
from Medicare because the off-label uses were neither listed in the FDA-approved labeling nor
included in any of the drug compendia specified by the statute.

3. Reimbursement under Other Federal Health Care Programs
112. In addition to Medicaid and Medicare, the federal government reimburses a
portion of the cost of prescription drugs under several other federal health care programs. For
example:
(i) CHAMPUS/TRICARE is a health care program administered by the
Department of Defense for individuals and dependants affiliated with the
armed forces.
(11) CHAMPVA is a health care program administered by the Department of
Veterans Affairs for families of veterans with 100% service-connected
disabilities.
(iii) | The Federal Employee Health Benefit Program provides health insurance
for federal employees, retirees and survivors, and it is administered by the
Office of Personnel Management.
Coverage of off-label drug use under these programs is similar to the coverage provided by the
Medicaid program. See, e.g., TRICARE Policy Manual 6010.47-M, Chapter 7, Section 7.1 (B)
(2) (March 15, 2002); CHAMPVA Policy Manual, Chapter 2, Section 22.1, Art. II (A)(2) (June
6, 2002).
113. During the time period relevant to this Second Amended Complaint, Allergan’s
provision of kickbacks and promotion of off-label uses of Zymar® and Zymaxid® to

ophthalmologists resulted in the prescribing of Acular® LS, Acuvail®, Zymar®, Zymaxid®, and

Restasis® for Government Program patients, which caused false claims to be submitted to

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Government Programs, which claims were simply not eligible for reimbursement under any of
the various state and federal health care programs.

D. Medicare/Medicaid Reimbursement for Cataract Surgery

114. Cataracts affect more than 20 million people in the United States and are the
number one line-item cost of Medicare reimbursement. According to the National Eye Institute,
in the United States, cataract surgery is the most frequently performed surgical procedure among
30 million Medicare beneficiaries. Approximately 1.35 million cataract operations are performed
annually at an estimated cost of $3.5 billion.

115. Cataracts, which can have devastating effects on the eye, affect 42 percent of the
population between the ages of 70 and 80, and 68 percent of the population over the age of 80.
By age 80, more than half of all Americans either have a cataract or have had cataract surgery.
Among Medicare beneficiaries, cataract is the most common condition for which eye care
services are sought, accounting for 43 percent of visits to ophthalmologists and optometrists
combined.

116. Allergan knew that the market for eye care drugs used in conjunction with
cataract surgeries presented significant opportunities to increase sales, particularly for drugs
prescribed to Medicare and/or Medicaid beneficiaries.

E. Allergan Adopts PhRMA and AdvaMed Codes on Gifts to Health
Care Professionals

117. In 2002, the Pharmaceutical Research and Manufacturers of America adopted its
Code on Interactions with Healthcare Professionals, or the “PhRMA Code,” as updated in July
2008 and effective in January 2009. The PhRMA Code purportedly seeks to promote

transparency in relationships between health care professionals and the pharmaceutical industry

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and to ensure that pharmaceutical marketing activities comport with the highest ethical
standards. The most recent revisions to the PhRMA Code, effective January 2009, restrict or
prohibit many activities previously permissible under the prior PARMA Code by: prohibiting any
entertainment or recreational events for non-employee health care professionals, including strict
limitations on meals with physicians; eliminating non-educational business gifts; restricting
speaker programs; and clarifying conditions on continuing medical education funding. The
updated PhRMA Code also requires that pharmaceutical companies train their representatives on
all applicable laws, regulations and industry codes governing interactions with health care
professionals. Complying with the PhRMA Code is not a guarantee that a company is in
compliance with the law.

118. In addition, the Advanced Medical Technology Association’s Revised Code of
Ethics, or the “AdvaMed Code,” also seeks to ensure that medical device companies and health
care professionals have collaborative relationships that meet high ethical standards; medical
decisions are based on the best interests of patients; and medical device companies and health
care professionals comply with applicable laws, regulations and government guidance. The
AdvaMed Code was updated in December 2008 and became effective in July 2009. The
revisions generally follow the 2008 changes in the PhRMA Code and include limitations on
consulting arrangements, entertainment, meals, and gifts, among other areas. Complying with the
AdvaMed Code is not a guarantee that a company is in compliance with the law.

119. Although Allergan states in its financial statements that its Board of Directors has
“adopted and implemented a compliance program which it believes satisfies the requirements of

these laws, regulations and [PhRMA and AdvaMed] codes,” as set forth herein, it has

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nonetheless concealed its widespread violations of even its own compliance program in its
marketing of its drugs to health care professionals.

F. Allergan Views Off-Label Promotion as Permissible Free Speech and
Sued FDA to Allow it to Off-Label Promote Botox®

120. Allergan’s views on off-label promotion are clear, as evidenced by a lawsuit it
filed on October 1, 2009, against the FDA, alleging that the U.S. government’s ban on off-label
marketing violates its First Amendment right to free speech. The lawsuit against the FDA sought
to allow Allergan to present off-label information concerning its drug Botox®.

121. Allergan’s suit did not challenge the Government’s ability to prohibit
pharmaceutical sponsors from disseminating false or misleading information about their
products. Rather, the lawsuit only sought to permit Allergan to proactively provide the medical
community with truthful, important information about common off-label uses of BOTOX®.

122. On August 31, 2010, Allergan agreed to plead guilty and pay $600 million to
resolve its criminal and civil liability, and agreed to dismiss its lawsuit.

123. Unlike in the Botox® litigation, where Allergan argued it should be allowed to
give “truthful,” though off-label, information because such off-label information is supported in
the clinical research and the compendia, here Allergan has no such defense. There is neither
substantial clinical evidence nor compendia support for use of Zymar® or Zymaxid® to prevent
endophthalmitis in conjunction with cataract surgery. Likewise, there is no evidence that
Acuvail® is clinically superior to Acular® or Acular LS®. At no point did Allergan petition the
government for permission to provide such information to health care professionals. Instead,

Allergan pursued a unilateral misbranding strategy, combined with a kickback scheme, to

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establish Zymar®, and subsequently Zymaxid®, as the standard of care in cataract surgery, and

to convince physicians to “upgrade” all Acular LS® patients to Acuvail®.

Vil. THE FRAUDULENT KICKBACK SCHEME WITH REGARD TO ACULAR
LS®, ACUVAIL®, ZYMAR®, ZYMAXID®, AND RESTASIS®

A. Allergan Gives Away Free Products and Services to Induce
Ophthalmologists to Prescribe Allergan Products, Resulting in
Improper Government Program Reimbursements

124. In order to increase sales and profits, Allergan planned and engaged in a
Fraudulent Kickback Scheme through which it induced physicians to prescribe its drug products,
including Zymar®, Zymaxid®, Acular LS®, Acuvail®, and Restasis®. The Fraudulent
Kickback Scheme was, and with regard to certain components still remains, a multi-faceted
program to buy business in exchange for free products, supplies and services, including:

e Free “Custom Care Kits”;

e Free drugs;

e Free customized patient instruction sheets;

e Free customized, pre-printed prescription pads for Allergan drugs;
e Free and below-market-rate consulting services; and

e Free reimbursement assistance.

125. Allergan knew that the Fraudulent Kickback Scheme was illegal. Its own
compliance policy prohibits employees from using samples as an inducement to health care
professionals to prescribe the Company’s products:

Allergan employees may never provide samples to induce a health
care professional to purchase, prescribe or recommend Allergan
products, or to reward a health care professional for doing so. In
other words, providing samples based on a health care

professional’s past or future prescribing habits is strictly
prohibited. In addition, samples of one Allergan drug may never be

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provided to induce the prescribing or purchasing of another
Allergan drug.

Allergan U.S. Health Care Law Compliance Program: Policies and Procedures 2008 (the
“Compliance Manual”) at 98.

126. Nonetheless, as described below, Allergan systematically violated both its own
compliance policy and the law by making the provision of kickbacks the centerpiece of its
strategy to increase sales of its drugs. It did so in order to both organically grow sales, as well as
to take market share from competitors Alcon and ISTA, in a single-minded strategy to induce
physicians to prescribe its drugs.

127. Allergan’s managers were not only aware of but were integral drivers of the
Fraudulent Kickback Scheme, training and instructing sales representatives to leverage product
samples, Custom Care Kits, and other free goods to grow sales. For example, in an email sent to
his district on April 24, 2009, Area Manager Jon Weidner instructed sales representatives to
“Leverage Pred-Forte!!!!!!!!!!!” in order to drive sales of Acular LS®. Emphasizing even more
explicitly that samples of Pred Forte were intended as an inducement in exchange for physicians’
agreement to prescribe Acular LS®, Weidner continued, “Pred [Forte] costs at least 40-50 bucks
per bottle,” so we want to not “just leave it lying around” but instead “[m]ake sure we are getting
a return for our investment.”

128. In another email, dated October 19, 2009, Weidner sent sales representatives in
his district a memorandum including a list of “Senior Training Best Practices,” which Weidner
received during training at Allergan headquarters in Irvine, California. The memo discusses
optimal use of “[rJesources” (i.e., kickbacks) to induce physicians to prescribe Allergan’s drugs,

and when to best “{p]ull out resources” (i.e., stop providing kickbacks) so as not to waste them

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on physicians who do not prescribe Allergan drugs. Per the memo, “[t]here may come a time
when the resources you provide to an office don’t have an ROI [return on investment], so when
do you pull out?” As managers were trained, the “best practice” was to “[a]ffix a dollar amount
to what you provide in terms of sampling and demonstrate the cost to the office indicating that
you want to help the office but you need to see [prescriptions] for acuvail and/or zymar [sic].”
The memo demonstrates the nationwide reach of Allergan’s Fraudulent Kickback Scheme.

129. Each of the preceding examples is indicative of Allergan’s common and
widespread use of kickbacks, which resulted in prescribing of Allergan’s drugs for Government
Program patients, causing false claims to be submitted to state and federal governments.
Frequently, as in the above examples, managers were explicit in telling sales representatives that
the Company’s provision of free goods was contingent on receiving prescriptions from
physicians in return. In other instances, the instruction was implicit. Whether explicit or implicit,
however, it was always clear to sales representatives — who in turn made it clear to health care
professionals — that Allergan would only provide free products, including drugs, Custom Care
Kits, and consulting services, to physicians who agreed to prescribe and continue prescribing its
products in return. For physicians who did not prescribe Allergan products in sufficient quantity
or stopped prescribing them altogether, Allergan refused to provide, and in many instances even
revoked, its provision of these free products.

130. Allergan’s offer of kickbacks, as well as its actual provision of kickbacks, was .
made knowingly and with the intent to induce physicians to write prescriptions for its drug
products that were then reimbursed by Government Programs, through a pattern of corrupt and
illegal conduct, in violation of the federal False Claims Act, 31 U.S.C. § 3729. Moreover,

Allergan’s kickbacks caused pharmacies and others submitting claims to the Government to

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falsely certify compliance with applicable laws and regulations, including that the claims were
not tainted by illegal kickbacks.

131. Allergan knowingly and willfully offered and provided illegal remuneration in
violation of the AKS, 42 U.S.C. § 1320a-7b(h)(2). As a result, Government Programs paid or
reimbursed for prescriptions of Allergan products otherwise ineligible for payment or
reimbursement.

132. Asa result of these kickbacks, Government Programs have suffered significant
damages.

B. Using Custom Care Kit Agreements to Bribe Health Care
Professionals

133. Beginning as early as the year 1994, and continuing through December 2008,
Allergan designed and implemented a scheme to bribe health care professionals, and particularly
cataract surgeons, by giving them free patient care kits in exchange for prescribing Allergan
drugs. Because the vast majority of cataract patients are Medicare beneficiaries, a substantial
portion of these drugs were reimbursed by Government Programs.

134. The patient care kits that Allergan provided to health care professionals were
referred to internally as “Custom Care Kits” (““CCKs”). CCKs were housed in a blue or black,
leather or nylon bag, which frequently had the name of the ophthalmology practice printed on the
side. The customized bags included varying combinations of the following items: a “trade-sized”
10 ml sample of Pred Forte®, the quantity of which was sufficient for an entire pre- and post-
surgical regimen of care; a sample of Acular LS®; a sample of Zymar®; a sample of Optive® or
Refresh® artificial tears; protective sunglasses for post-surgical use; a protective eye shield; tape

and gauze to construct a protective eye patch; and an over-the-counter analgesic such as Tylenol

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or Advil. The precise makeup of the kits was chosen by the individual ophthalmologist, based on
a menu of options, in consultation with Allergan.

135. In most instances, a CCK was provided to the patient by a surgical counselor or
coordinator during a pre-surgical visit. The patient then brought the kit back to the office for the
actual surgery, as well as any post-surgical appointments. In many instances, patients who
scheduled cataract surgery for their second eye for a date shortly following surgery for the first
eye, returned for the second surgery with the same kit from their first surgery. In other instances,
physicians provided a new kit for each surgery.

136. To order CCKs, an ophthalmologist coordinated with an Allergan sales
representative, who submitted a “Custom Care Kit Agreement” (“CCK Agreement”) on behalf of
the ophthalmologist. The CCK Agreement consisted of a one page form, which Allergan
provided to sales representatives, including Relator Wood, for the purpose of providing free
CCKs to ophthalmologists. The CCK Agreements were periodically updated, and included
printing on the bottom left-hand portion that identified the version, such as “APG 3744 REV. A
7/05 MDR.” The bottom right-hand portion included the Allergan marketing department
facsimile number, “MARKETING FAX (714) 796-3298,” to which Allergan sales
representatives submitted the completed forms.

137. Allergan sales representatives generally worked with the surgical coordinator or
counselor to determine the mix and quantity of free medications and other goods that an
individual practice would receive. Sections II and III of the CCK Agreement included a menu of
options that allowed ophthalmology practices to choose among different versions of CCKs.
There were twelve different kits, or “Kit Configurations,” including, for example, “Cataract Kit

A,” “Cataract Kit #6,” and “LASIK Kit A”. Medication options included Acular®, Acular LS®,

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various sizes of Pred Forte®, and “other.” Sales representatives and ophthalmologists frequently
used this “other” section to order over-the-counter artificial tears. Practitioners could also order
other surgery-related supplies for inclusion in the kits, such as eye patches, paper or plastic tape,
gauze, eye wash, eye shields, and/or sunglasses.

138. Most ophthalmology practices ordered all kits of a single configuration; however,
some ophthalmologists, such as Dr. Paul Turgeon of Canton, Ohio, ordered multiple different
versions of Custom Care Kits. In certain instances, for its best customers, Allergan agreed to
provide a limited number of kits with “additional” drugs or other products, above those that it
provided in its standard CCKs.

139. Section IV of the agreement denoted the “MONTHLY FORECAST” and
“MAXIMUM 6 MONTH QUANTITY” of CCKs that the practice expected, and that Allergan
allowed the practice, to use. The monthly forecast and six-month maximum quantity were
generally based on the monthly number of cataract surgeries performed per month in the entire
clinic, not solely by the health care professional who signed the agreement.

140. Section IV of the CCK also included a blank line to fill in the “PRICE PER KIT.”
In every example witnessed by Relator Wood during his employment with Allergan, the price
per kit was always either marked as “0” or left blank.

141. Orders for CCKs were filled by Allergan’s facility in Waco, Texas, through its
subsidiary, Allergan Sales LLC, which is located at 8301 Mars Drive, Waco, Texas 76712.
Shipping costs for the kits were paid by Allergan.

142. Allergan’s ophthalmologist customers regarded CCKs as valuable, since
competing ophthalmologists provided their patients with similar kits, including ones provided by

Alcon. Thus, not having these kits would place an ophthalmologist at a competitive disadvantage

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in the increasingly competitive market for cataract surgery patients. CCKs therefore served as a

valuable and essential marketing tool, which Allergan provided for free to induce sales. In the

absence of free kits from Allergan, ophthalmologists would need to purchase kits themselves,

which, following Allergan’s discontinuation of free CCKs in November 2009, they eventually

did.

143. The following is a list of CCK Agreements, which provides a sample of

physicians to whom Allergan provided CCKs in Relator Wood’s territory, with the intent to

induce them to prescribe its products:

 

 

 

 

 

6960 S. Edgerton Rd.
Brecksville, OH 44141

Contract No.: 0480028013
Expired: Not Listed

Name & Address of Physician or Contract No. & Expiration Effective Dates of Pree ees
. rovided in

Practice Date the Agreement Kits

Andrew C. Pederzolli, MD Contract No.: 0480041809 §/01/08-11/01/08 Pred Forte

1059 E. State St. Expired: 4/24/2008 Acular LS

Salem, OH 44460

Belmont Eye Clinic Renewal of Agreement 9/25/08-2/25/09 Pred Forte

3020 Belmont Ave. Contract No.: 0480049512 Acular LS

Youngstown, OH 44505 Expired: 10/02/2008

Canton Ophthalmology Renewal of Agreement 9/29/05-3/29/06 Pred Forte

2600 W. Tuscarawas, #200 Contract No.: 0500056290

Canton, OH 44708 Expired: 9/28/2005

Clear Choice Laser Renewal of Agreement 7/16/08-1/16/09 Pred Forte

Refresh Plus

 

 

 

 

 

 

Warren, OH 44484

 

 

Expired: Not Listed

 

 

Cleveland Eye Clinic Renewal of Agreement 10/01/08-3/01/09 Pred Forte
2740 Carnegie Ave. Contract No.: 0480046998 Acular LS
Cleveland, OH 44115 Expired: 8/18/2008

Fladen Eye Center Renewal of Agreement 7/3 1/08-2/28/09 Pred Forte
1330 Timken Mercy Dr. NW, #310 | Contract No.: 0480041914 Refresh Plus
Canton, OH 44708 Expired: Not Listed

Fladen Eye Center Renewal of Agreement 1/07/08-7/7/08 Pred Forte
1330 Timken Mercy Dr. NW, #310 | Contract No.: 0480036753 Acular LS
Canton, OH 44708 Expired: Not Listed

Jeffrey Augustine Contract No.: 0480035010 12/10/07-5/10/08 Pred Forte
6960 S. Edgerton Expired: Not Listed Refresh Plus
Brecksville, OH 44141 Optive
Lasik Plus Renewal of Agreement 3/2 1/07-9/21/07 Pred Forte
6800 Rockside Rd, #A Contract No.: 0480026425 Refresh Plus
Independence, OH 44131 Expired: Not Listed

Martuccio Eye Care New Kit Agreement 1/10/08-6/10/08 Pred Forte
302 Niles Cortland Rd. Contract No.: Not Listed

 

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Name & Address of Physician or Contract No. & Expiration Effective Dates of Pree ores
Practice Date the Agreement Kits

Ohio Eye Alliance Renewal of Agreement 9/15/08-2/15/09 Pred Forte

985 S. Saw Burg Ave. Contract No.: 0480049211 Acular LS

Alliance, OH 44601 Expired: Not Listed

Ophthalmic Physicians, Inc. Renewal of Agreement 10/20/08-4/20/09 Pred Forte

9485 Mentor Ave., #110 Contract No.: 0480049215 Acular LS

Mentor, OH 44060 Expired: 10/01/2008

Paul Turgeon Renewal of Agreement 9/30/08 — 2/28/09 Pred Forte

1330 Mercy Dr. NW, #406 Contract No.: 0480050683 Acular LS

Canton, OH 44708 Expired: 10/07/2008

Retina Associates Contract No.: 0480035199 1/11/08-6/11/08 Pred Forte

4690 Munson St. NW, #C Expired: Not Listed

Canton, OH 44718

Summit Ophthalmology Renewal of Agreement 12/10/07-5/10/08 Pred Forte

1 Park West Blvd., #150 Contract No.: 0480036082 Acular LS

Akron, OH 44320 Expired: Not Listed

TLC Center Renewal of Agreement 5/10/06-11/10/06 Pred Forte

6500 Rockside Rd., #100 Contract No.: 0500058179 Refresh Plus

Independence, OH 44131 Expired: Not Listed

Todd Fladen Renewal of Agreement 10/23/07-4/23/07 Pred Forte

1330 Mercy Dr. NW, #312 Contract No.: 0480033702 Refresh Plus

Canton, OH 44708 Expired: 10/05/2007

University Hospitals Renewal of Agreement 7/3 1/08-1/31/09 Pred Forte

Ophthalmology Contract No.: 0480041328

9000 Mentor Ave., #102 Expired: Not Listed

Mentor, OH 44060

University Ophthalmology New Kit Agreement 1/10/08-6/10/08 Pred Forte

Associates Contract No.: New Acular LS

1611 S. Green Rd., #306-C
S. Euclid, OH 44121

 

Expired: Not Listed

 

 

 

144, The physicians listed above (and many others not listed) were influenced by

Allergan’s free kits, and each of them prescribed Allergan’s drugs as a result. The majority of

these prescriptions were written for Government Program patients, mainly Medicare or Medicaid

beneficiaries. These prescriptions caused false claims, tainted by Allergan’s illegal kickbacks, to

be submitted to Government Programs for reimbursement or payment, and subsequently to be

reimbursed or paid for by these Government Programs. Indeed, the participation of doctors and

pharmacists in the submission of false claims was not only foreseeable, it was the express

intended consequence of Allergan’s schemes.

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145. Relator Wood has provided the Government with numerous CCK Agreements,
along with Allergan’s database that summarizes thousands of similar agreements that Allergan
entered into with physicians throughout the United States, as well as detailed payment records
Allergan maintained which closely tracked how kickbacks were influencing, and did influence,
prescribing behavior. These records show the geographic region, payer, prescriber, and number
of prescriptions written for both Allergan and competitor products. Some of these internal
Allergan records are referred to as “Trinity reports.”

146. Through CCK Agreements, Allergan provided individual ophthalmology
practices with “free” samples that ranged in value from hundreds to thousands of dollars.
Because of the significant cost of the CCKs, Allergan only provided them to physicians who
agreed to prescribe a significant quantity of Allergan products in return. Allergan viewed the
CCKs and included products as a “resource” to induce physicians to prescribe its drugs, and it
sought to ensure that it received an adequate “return on investment.” In keeping with that, health
care professionals who prescribed primarily Alcon drugs and did not agree to switch to Allergan
drugs, were not offered CCKs. For physicians already receiving CCKs, Allergan threatened to
cease providing CCKs, and in many instances did cease providing CCKs, if they did not
prescribe sufficient quantities of Allergan’s drugs.

147. Sales representatives were themselves responsible for ensuring that CCK
Agreements were only offered to physicians who would prescribe Allergan drugs in return;
however, managers were responsible for approving representatives’ decisions. Section V of the
CCK Agreement requires signatures of the health care professional, sales representative, and
Area Manager. In practice, sales representatives obtained verbal approval from the Area

Manager and signed on his or her behalf.

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148. Allergan taught Relator Wood, from his arrival at the Company, to leverage
CCKs to successfully drive sales of Allergan products. Relator Wood was hired by Richard
Morgan, who also served as Relator Wood’s first Area Manager. (Morgan is now a consultant in
Allergan’s Eye Care Business Advisor Group.) During Relator Wood’s interviews with Morgan
in September of 2008, as well as during several field rides and phone conversations in late 2008,
Morgan explained that CCKs were the critical tool to convince ophthalmologists to prescribe
Zymar® and Acular LS®, and that the CCKs needed to be strategically leveraged in order to do
so. Indeed, under Morgan’s direction, the Ohio team had the highest number of CCK
Agreements of any sales area in the country.

149. Field Training Manager William Scruggs taught Relator Wood the same lesson —
ie., the importance of strategically leveraging CCKs to drive sales — immediately following
Relator’s arrival at Allergan. In an email on November 26, 2008, Scruggs sent Relator Wood an
Excel spreadsheet titled “CCK — Game Plan II” as a sample of effective use of CCKs. This
“Game Plan” explicitly compared the quantity of CCKs and samples provided to a physician
relative to the prescriptions of Allergan products written. The spreadsheet recorded the absolute
quantity of CCKs and samples provided as well as prescriptions of Acular® and Zymar®
written, and it also calculated a “Ratio” comparing kits and drugs provided versus prescriptions
written. This “Ratio” was defined as “Script Total” divided by “CCK Totals.” Ratios less than
approximately 70% were highlighted in red, while those in excess of this value were black.

150. The comments in Scruggs’ spreadsheet, which are included under the heading
“Background / Action Plan,” make even more explicit that Allergan intended to (and did)

leverage CCKs, samples, and other products to induce physicians to prescribe its drugs. The

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following are examples of script-to-kit “Ratios” listed in the spreadsheet as well as the

accompanying “Action Plan”:

Community Eye Center, suburban Detroit, Michigan, had received 96 kits and
written 23 prescriptions for a 24% ratio. The Action Plan noted that this clinic
treated a number of Medicaid patients and that Allergan would “put [a] stop”
to “giving away too many free meds.” Another scorecard for a separate time
period, included in the same spreadsheet, showed that they had received 144
kits and written 26 prescriptions for an 18% ratio. The Action Plan stated,
“No more kits till we see a better return.”

Fahim Ibriham, an ophthalmologist from Port Huron, Michigan, had received
one free kit and written 37 Allergan prescriptions for a 3700% ratio. The
Action Plan stated, “[h]e claims he[‘s] 100% Allergan. Shut him down if [he]
do[e]sn[‘]t measure up ASAP.”

Great Lakes Ophthalmology, Michigan had received 480 kits and written 50
Allergan prescriptions for a 10% ratio. The Action Plan stated, “[h]Jad talk
about Zymar meds only. He [told] me he likes to give a bottle with script.
Also uses 2 kits per pat[ient]. I explained the situation and he instructed his
staff to write 2 scripts per patient to cover the kits. Goal: ratio is horrible. Go
in preceptorship with him. Find out what[‘]s really going on.”

Grosin, Spige, & Grey, Michigan, had received 840 kits and written 482
Allergan prescriptions for a 57% ratio. The Action Plan stated, “[t]oo much
[kits and samples] going in. Need higher return. . . . [N]o more giving Acular

away.”
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e Dr. Richard A. Kaiserman, East Tawas, Michigan had received 144 kits and
written 52 Allergan prescriptions for a 57% ratio. The Action Plan stated,
“25% goes to Medicaid. Not a beli[e]ver in NSAIDs. Gives 2 kits per
pat[ients]. Goal kits talk about expense . . . can[‘]t support unless you[‘re]
giving 1 kit per pat[ient].”

e Lake Lazer Eye Center, 35776 Harper Avenue, Charter Township of Clinton,
Michigan, had received 48 kits and written 5 Allergan prescriptions for a
121% ratio. The Action Plan stated, “[b]ags. They are going with Alcon
[because] of bags [i.e., equivalent kits from Alcon]. No more orders [in] 2006,
un{til] they agre[e] to use us.”

e Michigan Glaucoma Specialists, Royal Oak, Michigan had received 186 kits
and written 116 Allergan prescriptions for a 62% ratio. The Action Plan
stated, “[h]ad talk with them.”

e Northern Eye Ophthalmology, Alpena, Michigan had received 432 kits, and
written 123 Allergan scripts, a 28% ratio. The Action Plan states: “Recently 1
cat[aract surgery] kit per pat[ient], cut back on cat[aract surgeries]. Need 10ml
Pred for 2" eye. Goal: Watch TSS [total prescriptions] and JG Pads [pre-
printed prescription pads], monitor 1-1 ratio.”

e Rohr Eye & Laser, Grand Blanc, Michigan, had received 396 kits and written
250 Allergan prescriptions for a 63% ratio. The Action Plan stated, “[nJeed
better ratio. Look at year[‘]s numbers to see if match[e]s up with kits. Huge

account can[“|t lo[]se, but not to be taken advantage of... .”

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e Wilkinson Eye Center, Pontiac, Michigan, had received 528 kits and written
132 Allergan prescriptions for a 25% ratio. The Action Plan stated, “POOR
Ratio, may cut Wilkinson...high Medicaid pop[ulation]. Leave lots of 5mls
for Sharron coord. Into ECBA/Botox..happy with service.”

151. The preceding comments from the spreadsheet that Field Training Manager
Scruggs sent Relator Wood were indicative of Allergan’s use of CCKs and product samples to
induce physicians to prescribe Allergan products. The only way in which Scruggs’ comments
were perhaps unusual was in their explicitness: while both sales representatives and their
managers made these same calculations and decisions continually throughout Relator Wood’s
employment at Allergan, they were generally only discussed in person or on the phone (i.e., not
in writing), or using less direct language.

152. As a result of growing concern about the illegality of its use of CCKs, in late
2008, Allergan announced to its sales force via conference calls that it was terminating its
provision of CCKs, citing its concern that the kits could be viewed as an inducement to
physicians to use Allergan products. In a PowerPoint presentation, dated November 13, 2008,
Allergan informed its External Disease sales force that CCKs would no longer be available and
that free drug samples would only be available for the top 1,000 accounts through “Direct
Sample Ship” agreements. (Allergan quickly dropped the 1,000-account limit due to push back
from sales representatives.) The rationale for the revocation of the kits was the change in the
PhRMA and the AdvaMed Codes. According to the presentation, a “[p]hysician’s acceptance of
free kits can be interpreted as being in violation of Federal Anti-Kickback statutes.”

153. In response to physicians who complained about the cessation of free kits, sales

representatives were instructed to inform them that “[v]iolations of the PhRMA [C]ode put the

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physician, the representative and the company at risk. Any company in violation of these codes
puts their customers at risk.” Allergan subsequently established a free website where health care
professionals can order kits (that do not include Allergan drugs) at a nominal cost. See
http://www.allergancustomersupport.com/Assets/804133PCKCatalog.pdf (last visited Feb. 22,
2012).

154. Sales representatives themselves expressed widespread and considerable
displeasure following the announcement of the termination of CCKs. They feared that without
CCKs, Allergan would be placed at a competitive disadvantage relative to Alcon, which
continued to induce physicians using analogous kits. Sales representatives’ concern serves as a
strong indication of both the centrality and effectiveness of CCKs in Allergan’s overall kickback
strategy.

155. Perhaps fearing too significant a decline in sales were it to cease providing
kickbacks altogether, Allergan took two steps to reduce the impact of its decision to halt the
CCK program. First, it provided high-prescribing physicians with massive final deliveries of
CCKs, which in some instances contained quantities of CCKs sufficient to last six months.
Second, Allergan continued using free product samples as inducements to physicians to prescribe
its products. The following list of physicians had been receiving free CCKs prior to their
discontinuation in December 2008. At that time, Allergan decided that it would continue to
provide Pred Forte® and other Allergan drug products to these physicians via mail, so long as

they continued to prescribe its drug products in sufficient quantity.

 

 

 

Ophthalmologist/Clinic Name Address City Contract No,
Eye Centers of Ohio 800 McKinley Ave Canton, OH 480061104
Eye Centers of Ohio Frank Road Canton, OH 480061046

 

 

 

 

 

 

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Roholt Vision 5890 Mayfair Rd., North Canton, OH 480059843
Martuccio Eye Care 302 Niles-Cortland Rd Warren, OH 480055600
Sheik - Warren Ophthalmology 3921 E Market St Warren, OH 480055614
Lasik Plus 6800 Rockside Rd #A Independence, OH 480056404
Summit Ophthalmology 1 Park West Akron, OH 480051211
Belmont Eye Clinic 3020 Belmont Ave Youngstown, OH 480059431
Canton Ophthalmology Tuscarawas Drive Canton, OH 480061842
Cleveland Eye Clinic 2740 Carnegie Ave Cleveland, OH 480059669
The Eye Center 314 Penco Road Weirton, WV 480060758
Davis Eye Center 789 Graham Rd., Cuyahoga Falls, OH 480061298
Richard Lehrer, MD 985 Sawburg Ave Alliance, OH 480059465
Clear Vision Centers 1155 State Rt. 303, Streetsboro, OH 480054270
Premium Surgery Center 5319 Hoag Road,. Elyria, OH 480060431
Elyria Surgery Center Hoag Road Elyria, OH 480060431

 

 

 

 

156. The Fraudulent Kickback Scheme described above constitutes a violation of the

 

AKS, was made with the intent to induce, and did induce physicians to prescribe Allergan drug
products that were reimbursed by Government Programs, through a pattern of corrupt and illegal
conduct, in violation of the federal False Claims Act, 31 U.S.C. § 3729. Moreover, Allergan’s
kickbacks caused pharmacies submitting claims to the Government to falsely certify compliance
with applicable laws and regulations, including that the claims were not tainted by illegal

kickbacks.

C. Using Sample Shipment Agreements to Bribe Health Care

Professionals
157. Having been pressured to terminate its use of CCKs as kickbacks, Allergan
devised a substitute scheme to induce physicians to prescribe its drugs by providing them with

large quantities of free product samples. Similar to the process by which they had ordered CCKs,
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physicians coordinated with an Allergan sales representative to submit a “Sample Shipment
Agreement” through which they ordered a large, six-month supply of free product samples.

158. The “Sample Shipment Agreement” consisted of a one page form, distributed by
Allergan to its sales representatives, including to Relator Wood, for the purpose of providing free
drug samples to ophthalmologists. These forms, which were periodically updated, included print
that identified the document (e.g., “APG 4118 REV. 7/09 MDR APC44A109”) on the bottom
left-hand portion and the Allergan marketing department facsimile number (“MARKETING
FAX (866) 257-0281”) on the bottom right-hand portion.

159. In Section II of the Sample Shipment Agreement, ophthalmologists were able to
choose from seven listed Allergan drugs, including Acuvail®, Pred Forte®, Optive®, Optive
Sensitive® and Refresh Liquigel®. They could also fill in an “Other” request for an unlisted
drug, such as Zymar®. Section III of the agreement allowed the Practitioner to choose the
“MONTHLY FORECAST” and “MAXIMUM 6 MONTH QUANTITY.” The Allergan sales
representative generally worked with the surgical counselor or coordinator to estimate the supply
of drugs required, which was based on the monthly surgical volume for the entire clinic.

160. The Sample Shipment Agreements did not reference the cost of the provided
drugs.

161. The samples were shipped from Allergan’s fulfillment facility in Waco, Texas, by
its subsidiary Allergan Sales LLC, located at 8301 Mars Drive, Waco, Texas 76712. Shipping
costs were always paid by Allergan.

162. The follow are examples of Sample Shipment Agreements that Allergan used to

induce physicians to prescribe its drug products:

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Name & Address of Contract No. & Expiration ante Pree ees “Quantity”
Physician or Practice Date A :
greement Kits

Belmont Eye Clinic Renewal of Agreement 08/06/09- Acuvail 168
3020 Belmont Ave. Contract No.: 0480065304 02/06/10 Pred Forte
Youngstown, OH 44505 Expires: Not Listed Optive

Optive

Sensitive

Canton Ophthalmology Renewal of Agreement 11/03/09- Acuvail 348
2600 Tuscarawas St., W Contract No.: “Replace 05/03/10 Pred Forte
Suite 200 Existing Contract” Optive
Canton, OH 44708 Expires: Not Listed Refresh

Liquigel
Canton Ophthalmology New Agreement 09/22/09- Acuvail 204
2600 Tuscarawas St., W Contract No.: 0480066438 02/22/10 Pred Forte
Suite 200 Expires: Not Listed Optive
Canton, OH 44708
Clearchoice Laser Renewal of Agreement 07/10/09- Pred Forte 144
7001 S. Edgerton Rd. Contract No.: 0480064174 01/10/10 Optive
Brecksville, OH 44141 Expires: 08/10/2009 Sensitive
Cleveland Eye Clinic Renewal of Agreement 08/13/09- Acuvail 216
2740 Carnegie Ave. Contract No.: 0480064582 02/13/10 Pred Forte
Cleveland, OH 44115 Expires: Not Listed Optive
Eye Centers of Ohio Renewal of Agreement 08/13/09- Acuvail 144
800 McKinley Ave., NW Contract No.: 0480064607 02/13/10 Pred Forte
Canton, OH 44703 Expires: Not Listed Optive

Zymar
Eye Centers of Ohio Renewal of Agreement 08/13/09- Acuvail 108
6407 Frank Rd. Contract No.: 0480064646 02/13/10 Pred Forte
North Canton, OH 44720 Expires: Not Listed Optive

Zymar
Ohio Eye Alliance New Agreement 10/22/09- Pred Forte 144
985 Sawburg Contract No.: Not Listed 04/22/10
Alliance, OH 44601 Expires: Not Listed
Ohio Eye Alliance Renewal of Agreement 08/1 1/09- Acuvail 108
985 Sawburg Contract No.: 0480064159 02/11/10 Pred Forte
Alliance, OH 44601 Expires: Not Listed Optive
Ohio Eye Association Renewal of Agreement 08/06/09- Acuvail 204
8110 Market St. Contract No.: 0480064592 02/06/10 Pred Forte
Youngstown, OH 44512 Expires: Not Listed Optive

Zymar
Ophthalmic Physicians, Inc. | New Agreement 09/30/09- Acuvail 120
9485 Mentor Ave., #110 Contract No.: 0480068575 03/30/10 Pred Forte
Mentor, OH 44060 Expires: Not Listed Optive
Roholt Vision Institute Renewal of Agreement 08/11/09- Acuvail 108
5890 Mayfair Contract No.: 0480064861 02/11/10 Pred Forte
North Canton, OH 44720 Expires: Not Listed Optive

Optive

Sensitive

The Eye Center Renewal of Agreement 08/06/09- Acuvail 108
314 Penco Rd. Contract No.: 0480065701 02/06/10 Pred Forte
Weirton, WV 26062 Expires: Not Listed Optive

Zymar

 

 

 

 

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163. Relator Wood has provided the Government with hundreds of Sample Shipment
Agreements along with a database of thousands of similar agreements entered into throughout
the United States between Allergan and health care professionals.

164. The samples provided under these agreements were of significant value. Because
of the large six-month supplies provided under the agreements, they were frequently valued in
the thousands of dollars. Just as under its CCK scheme, Allergan recognized the significant cost
of fulfilling Sample Shipment Agreements, and as such, only did so for those physicians who
agreed to prescribe significant quantities of its drugs in return. The Sample Shipment
Agreements were therefore a blatant quid pro quo. Allergan only offered Sample Shipment
Agreements to physicians who already prescribed or agreed to prescribe its products.
Agreements were not offered to physicians who prescribed primarily Alcon products such as
Vigamox® or Nevanac®. For physicians with existing agreements who did not prescribe its
products in sufficient quantity or switched to a competitor’s products, Allergan threatened to
revoke or did cease fulfillment of their Sample Shipment Agreements.

165. Sample Shipment Agreements took the place of CCKs as the centerpiece of
Allergan’s marketing campaign for Acular LS® and Zymar®, and later for Acuvail®.
Recognizing the effectiveness of Sample Shipment Agreements as an inducement, Area Manager
Jon Weidner instructed Relator Wood to sign up as many physicians as possible — contingent,
of course, on those physicians’ agreement to prescribe Allergan products.

166. Just as they had previously done with regard to CCKs, sales representatives and
their managers continued to monitor the quantity of free samples provided to these physicians

relative to the quantity of Allergan products that they prescribed. In an email sent to his district

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on April 24, 2009, Area Manager Jon Weidner instructed sales representatives to “[m]onitor
samples of Acular on MOOSS” (Allergan’s online sample management program) and “make
sure we are not leaving more than what we are getting [prescribed].” With regard to Zymar®,
Weidner told sales representatives: “Do not over-sample/monitor samples on MOOSS/RX’s.”
He also instructed them, under the heading of “Zymar,” to “[a]dd value to Pred-Forte.” That
instruction apparently corresponds with Weidner’s direction with regard to Acular LS®, in this
same email, to “[I]everage Pred-Forte!!!!!'11!!!" See supra § 127.

167. Beyond providing general advice, Weidner and other Area Managers played an
active role in ensuring that their sales representatives achieved a sufficient return on investment
on free samples provided to physicians. Sample Shipment Agreements required not only the
signatures of the health care professional and sales representative but also that of the Area
Manager. Just as was the case with CCK Agreements, sales representatives usually obtained
verbal approval from Area Managers and then signed on their behalf. Relator Wood understood
that Weidner would not grant approval to Sample Shipment Agreements for physicians who did
not prescribe a significant quantity of Allergan products.

168. Kim Johnson, the Senior Territory Manager in Relator Wood’s territory,
recurrently provided similar instruction to strategically utilize drug samples as inducements. In
an email to Relator Wood on April 5, 2009, which Johnson sent in response to a shipment notice
of 100 bottles each of Pred Forte® and Acular LS® to Ohio Eye Associates, Johnson wrote,

We may want to confirm the need for Acular LS with Kelly at Dr.
Oh’s office. Also, we shipped them 244 Pred Forte for April.
Probably that is all they need for the next 3-4 months. We may
need to leverage the Pred down the road and we don’t want them

to stock pile it so we have nothing to negotiate.

(emphasis added).
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169. In another email to Relator Wood on April 5, 2009, this one in response to a

shipment notice of 120 bottles of Pred Forte® to Dr. Martin Markowitz, Johnson asked Relator

 

 

Wood,
Have we confirmed this number with this office. I thought I
remembered their numbers to be much lower — like 60. Possibly
they have picked up, but we don’t want to send in too much either
until we get a true commitment to keep using Zymar/Acular.
(emphasis added).

170. Ina final email sent to Relator Wood by Johnson on April 5, 2009, in response to
a shipment notice of 250 bottles each of Pred Forte®, Zymar®, and Acular LS®, which were
shipped to The Eye Center, Johnson wrote, “[w]le need to discuss the 250 Zymar and Acular. [|
don’t think this is something we want to ship to them because we will just lose prescriptions.”

171. Both Weidner and Johnson’s instructions to leverage mail-order samples as
inducements were not exceptional; rather, they were indicative of Allergan’s systematic use of
Sample Shipment Agreements, just as it had used CCKs, to induce physicians to prescribe its
drug products.

172. Because provision of free samples was contingent on physicians’ agreement to
prescribe Allergan products, Allergan only offered Sample Shipment Agreements to those who
prescribed its drugs. For example, physicians at Eye Care Associates in Youngstown, Ohio (Drs.
John Aey, Hai-Shuh Wang, Lyn Yakubov, Keith Wilson, Sergul Erzurum, Robert Gerberry,
Richard Wyzynski) had a long history of prescribing Alcon products and using Alcon surgical
equipment. They were therefore not offered free samples of Allergan drugs under a Sample
Shipment Agreement. In May 2010, the practice agreed to begin prescribing Zymar®, at which

point Allergan offered it a Sample Shipment Agreement. Dr. Aey signed two agreements, one for

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each of the practice’s clinic locations, and began receiving large quantities of Pred Forte®,

Zymar®/Zymaxid®, Acuvail®, Optive®, and FML® beginning in June 2010.

173. Likewise, Allergan ceased providing samples to physicians who failed to

prescribe its products in sufficient quantities:

Dr. Doug Ripkin, Clear Vision Centers, 1155 State Route 303, Streetsboro,
Ohio 44241. After Dr. Ripkin switched, in March 2009, from prescribing
entirely Zymar® to splitting his anti-infective prescriptions half-and-half
between Vigamox® and Zymar®, Allergan reduced his shipments of Pred
Forte® accordingly;

Dr. Bruce Jacobson, Ophthalmology Consultants, Inc., 36100 Euclid Avenue
Suite 450, Willoughby, Ohio 44094. After Dr. Jacobson began prescribing
Vigamox® and receiving Alcon patient care kits in April 2009, his Allergan
samples were terminated;

Cleveland Eye Clinic, 7001 S. Edgerton Rd., Suite B, Brecksville, Ohio
44141. In January 2010, the clinic began to prescribe Xibrom® instead of
Acular LS®/Acuvail®, at which point Allergan stopped providing it with Pred
Forte® for its cataract surgeries. (They were already prescribing Vigamox®.)
Drs. Laurence Karns, Gregory Gray, Jerry Macher of Eye Centers of Ohio,
6407 Frank Avenue NW North Canton, Ohio 44720, all switched to Alcon
products in February 2010, while Dr. Paul Turgeon continued to use Allergan
products. As a result, Allergan significantly decreased the quantity of Pred
Forte® shipped to Eye Center of Ohio to a quantity only sufficient to cover

Dr. Turgeon’s surgeries; and

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e Dr. James Martuccio, Warren Eye Clinic, Inc., 302 Niles Cortland Road North
East, Warren, Ohio 44484. In April 2010, Allergan ceased to provide Pred
Forte® after Dr. Martuccio began prescribing Alcon’s Nevanac® and
Vigamox®. Allergan continued provide free samples of Acuvail® in an
attempt to induce him to return to Allergan products.

174. In June 2010, Allergan announced that it would cease providing free product
samples to physicians due to liability concerns similar to those that had influenced it to cease
providing CCKs eighteen months before. Dave LeCause, Allergan’s Vice President of US Eye
Care, announced the change on a conference call with the entire sales force on June 18, 2010.
LeCause informed the sales force that the company needed to “change the way we do business so
Allergan is not giving the appearance of engaging in any quid pro quo.” “Things in the
industry,” LeCause said, “are not like they used to be.” Allergan is “operating in a heightened
state of awareness.” LeCause, as a twenty-year veteran of Allergan, was very familiar with the
Company’s Fraudulent Kickback Scheme. His comments that Allergan’s sampling scheme
created the “appearance” of a quid pro quo apparently stemmed from his understanding that, in
this case at least, appearance mirrored reality.

175. During a sales meeting on June 22, 2010, Allergan again announced to its sales
force that the Company would cease providing free drug samples. It also informed sales
representatives that anyone who put such a quid pro quo offer in writing (in a so-called
“homemade” sales tool) would be terminated. The sin, of course, was to have expressed the
inducement in writing, not to have had actually provided it, as Allergan had taught all its

ophthalmology sales representatives to do exactly this for years.

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176. As was the situation when Allergan terminated the CCK program, sales
representatives again expressed displeasure at the termination of the sampling program. Both
sales representatives’ response to the discontinuation of the sampling program, as well as
management’s explanation of that discontinuation, serve to emphasize the central and illicit role
it played in driving sales of Acular®, Acular LS®, Acuvail®, Zymar®, and even Restasis®.

177. During a “breakout session” with Area Manager Jon Weidner and sales
representatives from Relator Wood’s district, held on June 22, 2010, immediately following the
announcement of the discontinuation, Weidner and sales representatives discussed their
expectation that no longer providing physicians with samples would result in a significant
decline of Acuvail® and Zymaxid® prescriptions. Specifically referring to the expected decline
in Acuvail® and Zymaxid® prescriptions, Weidner stated, “That’s going to happen.” He
described the “surgical portfolio,” i.e., Acuvail® and Zymaxid®, as a “big concern,” and asked
sales representatives, “How many of those [accounts receiving Pred Forte®] is it really going to
make a huge, like a huge deal?” Sales representative Farley Dillinger responded, “All of them,”
and sales representative Ali Grumet responded, “I mean they’re all going to be pissed.”

178. Relator Wood’s district expected many of these physicians, in the absence of
Allergan’s kickbacks, would begin prescribing cheaper, generic alternatives to Acuvail® and
Zymaxid®, Kate Bergan asked the group whether they believed that doctors would react by
saying, “Well, I’m just, we’re just going to use generics. We’re just going to write all generics.”
Bergan continued, “I feel like we’re getting, we’re going to hear that, right?” Grumet and Phil
Edmondson as well as a number of other sales representatives answered, “Yes,” expressing the
group’s consensus. The conversation later continued:

Bergan: But don’t you think it’s going to be easier [for
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Edmondson:

Unidentified
speaker:

Unidentified
speaker:

Weidner:

Grumet:

Relator Wood:

Weidner:

179. The effectiveness of Allergan’s kickbacks was so substantial that those in
Relator’s district expected that their discontinuation would not only impact physicians’
willingness to prescribe Acuvail® and Zymaxid®, which were the primary targets of the
kickbacks, but would also have a “ripple effect” or “domino effect” that would impact
prescriptions of Restasis® as well.
Restasis® prescriptions as a “bigger deal” than the one expected in the surgical portfolio and
asked sales representatives, “[W]ho is going to truly be pissed to the point that it’s going to affect
our Restasis® conversions and business for a while?” Bergan responded, “Most of them.” At

another point Bergan stated that physicians are “not going to want to do us any favors. They’re

physicians] to continue to write [soon-to-be
generic] Zymar®?

They’ ll say, I’m not going to upgrade to
something that’s more expensive.

Or I’m not going to [cut off by next speaker]
They won’t get samples.

They’re not going to get resources from us and
that’s the [cut off by next speaker]

I think the bigger resource was the Pred Forte®.

But what about printing [patient instruction
sheets]? Will we print?

There is going to be [sic] accounts that we are

going to lose from this. There is no doubt that
[cut off by next speaker]

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Weidner actually referred to the expected decline in
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going to go through the same stages of anger and frustration that we did. ... I feel like it’s our
Restasis® conversation will either be completely not heard or [inaudible].”

180. Effectively summarizing the expected impact, Weidner commented, “I mean, |
wanted to start heavily drinking when I was on the conference call” during which the decision to
discontinue bulk provision of free drugs was announced. “I mean, literally.”

181. While it clearly followed from the anticipated decline in Acuvail®, Zymaxid®,
and Restasis® prescriptions that Allergan’s mass provision of free drugs functioned as a
kickback, Weidner and sales representatives discussed even more explicitly that Allergan’s
provision of drugs was, and had long been, a quid pro quo. Weidner stated,

There are no longer, they [Allergan managers] no longer want us

nor should we be doing any kind of quid pro quo type of stuff, or

you know, going after Alcon saying, we’ll give you a Pred

[Forte®] for this one. There’s not, the days are gone where we can

like provide 100% of Pred [Forte®] for an account
(emphasis added). Bergan described Allergan’s long-standing provision of CCKs and free drugs
as a “monster”: “I mean, this monster was created a long time before any of us got here, and it’s
been bit by bit chipped away,” referring to the discontinuation of CCKs, “and now this is the
final blow.” Maria Zanardo responded, “Right, for all of us that have been around for a while,
this was the way, the law of the land.”

182. The Fraudulent Kickback Scheme described above constitutes violations of the
AKS, made with the intent to induce physicians to prescribe Allergan drug products that were
reimbursed by Government Programs, through a pattern of corrupt and illegal conduct, in
violation of the federal False Claims Act, 31 U.S.C. § 3729. Moreover, Allergan’s kickbacks

caused pharmacies submitting claims to the Government to falsely certify compliance with

applicable laws and regulations, including that the claims were not tainted by illegal kickbacks.

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D. Bribing and Rewarding High Prescribers

183. As described in the preceding sections, Allergan provided CCKs and Sample
Shipment Agreements to a large number of physicians in order to induce them to prescribe its
drugs. However, for a small subset of the highest-prescribing cataract surgeons, Allergan offered
additional, “special” inducements to prescribe its drugs. Allergan provided these high-
prescribing cataract surgeons with substantial volumes of free drugs, including trade-size bottles
of Acular LS® and Zymar®, which were frequently valued at hundreds of thousands of dollars
per year.

1. Eye Centers of Ohio

184. Dr. Paul Turgeon is the lead surgeon for Eye Centers of Ohio of Canton, Ohio,
which is one of the country’s largest cataract surgery centers, performing between 200 and 250
cataract surgeries per month. Approximately 75% of the cataract surgeries performed by Eye
Centers of Ohio are performed on patients covered by Medicare or Medicaid.

185. Dr. Turgeon routinely prescribed both a topical anti-infective and topical NSAID
in conjunction with cataract surgery, and he was aware of the value of his business to Allergan
and Alcon. Lacking a strong clinical preference for either Allergan or Alcon drugs, Dr. Turgeon
routinely threatened to switch to Alcon products and prescribe Vigamox® and Nevanac® instead
of Zymar® and Acular LS®, if Allergan was unwilling to provide his practice with more
lucrative concessions in exchange for prescribing its drugs.

186. Around 2007, in order to induce Dr. Turgeon and Eye Centers of Ohio to continue
prescribing Allergan products rather than switch to prescribing Alcon products, Allergan agreed
to provide Eye Centers of Ohio with copious free, “trade-size” samples of Acular LS® to

provide to all its cataract patients. “Trade-size” samples are larger than usual free product

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samples, in this case 5 ml instead of the standard 1 ml. The 5 ml bottle was the same size as a
standard prescription of Acular LS® and sufficient for an entire course of therapy. The provision
of trade-size bottles, particularly in the quantity that Allergan provided them to Eye Centers of
Ohio, was a special concession that was not offered to smaller customers, and was only provided
to Eye Centers of Ohio out of fear of entirely losing its business to Alcon. In exchange for
receipt of these trade-size samples, Dr. Turgeon and his colleagues prescribed Zymar® in
conjunction with each cataract surgery.

187. A 5 ml bottle of Acular LS® has a retail cost of between $70 and $100, and
Allergan provided a bottle for use with each surgery performed at Eye Centers of Ohio. Allergan
therefore provided Eye Centers of Ohio with Acular LS® valued between $180,000 (200
surgeries/month x $70) and $300,000 (250 surgeries/month x $100) annually.

188. Recognizing the heavy cost of its inducement to Eye Centers of Ohio, in 2008
Allergan sought to stop providing Eye Centers of Ohio with free trade-size bottles of Acular
LS®. However, when told that Allergan planned to cease this special concession, Eye Centers of
Ohio threatened to stop prescribing Allergan drugs and switch to a competitor. In order to
prevent Eye Centers of Ohio from doing so, Allergan sales representative Kim Johnson obtained
special approval from Allergan management to continue providing the practice with substantial
quantities of free trade-size samples. This continuance was directly approved by External
Disease Marketing Director for Acular LS®, Mary Ellen Esgro. That Allergan wished to stop
providing these trade-size samples, and only continued to do so after being threatened, clearly
demonstrates that the trade-size samples were an inducement, only provided contingent on Eye

Centers of Ohio’s agreement to prescribe Zymar®.

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189. When Allergan launched Acuvail® in September 2009 in anticipation of generic
availability of Acular LS®, it reached a similar agreement with Dr. Turgeon and Eye Centers of
Ohio to continue receiving free trade-size samples of one Allergan product in exchange for their
agreement to prescribe another. In place of Acular LS®, Allergan began providing Eye Centers
of Ohio with free trade-size samples of Zymar® (5 ml) and Pred Forte® (10 ml), as well as
standard, non-trade-size samples of Acuvail® for use in conjunction with each cataract surgery.
In exchange for Allergan’s provision of these free product samples, Dr. Turgeon and other Eye
Centers of Ohio surgeons prescribed Acuvail® in conjunction with each cataract surgery.

190. Allergan similarly provided “special” inducements of trade-size samples of
Acular LS®, and later Zymar®, to approximately ten to twenty large cataract surgery centers
throughout the country.

191. In addition to free trade-size samples of Acular LS® and Zymar®, Eye Centers of
Ohio also received free Custom Care Kits (prior to December 2008), free Pred Forte®, free
patient instruction sheets, and free prescription pads, all of which were provided in exchange for
its agreement to continue prescribing Allergan drugs.

2. Ohio Eye Alliance

192. In early 2010, Allergan provided a similar “special” inducement to Dr. Richard
Lehrer in order to prevent him from switching to a competitor’s products. Dr. Lehrer is an
ophthalmologist at Ohio Eye Alliance, 985 S. Sawburg Ave, Alliance, Ohio. At the time, he split
his NSAID prescriptions between Acuvail® and Xibrom® and his anti-infective prescriptions
between Zymar® and Vigamox®, writing half his prescriptions for Allergan products and a

fourth each for Alcon and ISTA products.

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193. After trying Acuvail® for several months, in February 2010, Dr. Lehrer and his
surgical coordinator, Jan Hobson, as well as his optometrist intern, Dr. Liana Allabadi, informed
Relator Wood that Dr. Lehrer was disappointed with the efficacy of Acuvail® relative to Acular
LS®. Dr. Lehrer believed that Acuvail® did not suppress inflammation as well as Acular LS®
did. In an attempt to find a regimen of Acuvail® that he believed was as effective as Acular
LS®, Dr. Lehrer began prescribing Acuvail® at an increased post-operative dose of three times
daily. Dr. Lehrer, however, remained unsatisfied with the results.

194. In response to Dr. Lehrer’s dissatisfaction, and in an attempt to resolve his
concerns, Allergan’s Director of External Disease Monie Hussain personally met with Dr. Lehrer
at a meeting of the American Society of Cataract and Refractive Surgery, which was held in
Boston on April 9 through 14, 2010. Following the meeting, Hussain recommended that Dr.
Lehrer speak with Allergan’s Medical Director for Acuvail®, Dr. David Hollander, who Hussain
hoped would be able to address Dr. Lehrer’s concerns. Dr. Lehrer spoke to Dr. Hollander via
phone; however, his clinical concerns persisted. Nonetheless, Dr. Lehrer continued to prescribe
Acuvail® at a dose of three-to-four times per day in conjunction with approximately half his
cataract surgeries.

195. After hearing of Dr. Lehrer’s continued concerns, Hussain offered Dr. Lehrer 216
5 ml trade-size bottles of Acular LS®, in order to engender good will to induce him to continue
prescribing Zymar®, and hopefully, eventually, to prescribe Acuvail®. Hussain calculated that
that quantity of Acular LS® would be sufficient to last Dr. Lehrer for three months of cataract

surgeries. As of July 1, 2010, Dr. Lehrer had received 72 of the 216 bottles, enough for the

month of June.

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196. Hussain provided Dr. Lehrer with these trade-size bottles of Acular LS® in an
attempt to induce Dr. Lehrer to continue prescribing Allergan products. On information and
belief, Hussain’s attempt was successful, and Dr. Lehrer continued to prescribe Zymar®. After
Relator Wood provided the trade-size Acular LS® bottles to Dr. Lehrer, Area Manager Jon
Weidner complimented Relator Wood for “leveraging samples appropriately,” and for his
effective use of “cross-functional relationships within the organization” to obtain Hussain’s
assistance in the matter.

197. Allergan’s use of CCKs and Sample Shipment Agreements to induce physicians
to prescribe its brand-name drugs instead of generic alternatives was effective, as indicated by
the significant discrepancy in prescribing habits between physicians who were the recipients of
these inducements and those who were not. The Cleveland Clinic of Cleveland, Ohio, for
example, performs cataract surgeries but does not accept free samples. It utilizes largely generic
anti-infective and non-steroidal drugs in connection with its cataract surgeries. The Cleveland
Clinic’s use of generic anti-infective and non-steroidal drugs significantly lowers the cost of
drugs prescribed in conjunction with its cataract surgeries, thereby saving Government Programs
significant sums. While a number of factors drive physicians’ choice of medication, the
significant disjunction between the habits of physicians at one of the nation’s leading medical
centers and those to whom Allergan leverages its CCKs and product samples, is nonetheless
suggestive of the substantial influence of Allergan’s illicit promotional efforts, as well as the

significant cost incurred by Government Programs as a result.

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E. Allergan Provides Additional Inducements, Including Pre-Printed
Prescription Pads, Patient Instruction Sheets, and Contributions to
Physicians’ Favored Charities, to Induce Physicians to Prescribe Its
Drug Products

198. Although Allergan has ceased providing physicians with kickbacks of Custom
Care Kits and drug samples, the Company continues to provide other inducements to physicians
to prescribe its drugs. These ongoing inducements include free customized patient instruction
sheets; free customized prescription pads, with pre-printed prescriptions for Allergan drugs; and
contributions to physicians’ favored charities.

199. In conjunction with their cataract surgeries, most ophthalmologists provide
patients with an instruction sheet that outlines the pre- and post-operative drug regimens, and
provides other miscellaneous direction, e.g., not to eat on the night prior to surgery. These patient
instruction sheets are almost always customized so that they contain the individual physician or
clinic’s preferred prescribing regimen, as well as the physician or clinic’s name and/or logo. In
addition, the sheets are generally printed in color, on glossy paper, making them relatively
expensive. Despite the expense, ophthalmologists generally regard them as a necessity.

200. Allergan assisted physicians to design and provided them with these patient
instruction sheets, in exchange for physicians’ agreement to prescribe its drugs. Prior to
December 2008, an Allergan sales representative worked with a customer to design a customized
instruction sheet template. Once the template was finalized, the Allergan sales representative
then submitted an order for printing through JG Pads, 759 S. Broadway, Akron, OH 44311, and
the finished instruction sheets were shipped to the ophthalmologist. Ophthalmology practices
typically received 1,000 patient instruction sheets per shipment. Allergan paid for the costs of

both printing and shipping the instruction sheets.

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201. In December 2008, in response to revisions to the PhARMA and ADVAMED
guidelines, Allergan announced that sales representatives would no long be allowed to assist
physicians in the creation of Patient Instruction Sheets. Physicians, however, could still design
and order the instruction sheets themselves through the JG Pads website. As the PowerPoint
presentation announcing the change to sales representatives stated, “Allergan will pay for a
subscription to this site on behalf of our customers,” and “[t]here will be no cost to customer[s]
for this service.”

202. Allergan also provided physicians who prescribed its products with free,
customized, pre-printed prescription pads. Sales representatives assisted physicians to order the
pads, usually by faxing an order form to Allergan. The pads were pre-printed with the
physician’s name, as well as Allergan drug products. In some instance, the pads were also pre-
printed with instructions to use Zymar® or Acular LS® off-label, e.g., “use _ days prior to
surgery” or “use _ days after surgery.”

203. For example, the “Fax Order” form for the Cleveland Eye Clinic included an
order for pads pre-printed with the clinic’s logo, address, physician names, and prescriptions for
Acuvail®. The order was for 20 pads of 50 pages each, or 1,000 Acuvail® prescriptions.

204. The prescription pads are printed by JG Pads, the same company that prints the
patient instruction sheets. Allergan pays all costs associated with the pads, including shipping.
According to the JG Pads website, a standard order of 20 pads currently costs $53. Pads with
special security features are more expensive and can cost as much as $150.

205. Allergan used patient instruction sheets and pre-printed prescription pads to
induce physicians to prescribe its drugs. It only provided patient instruction sheets and pre-

printed prescription pads to physicians who prescribed its drugs in significant quantities.

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Physicians who prescribed largely Vigamox® and Nevanac® were not offered free patient
instruction sheets or pre-printed prescription pads, and Allergan revoked its provision of the
sheets and pads from physicians who had initially prescribed its products but subsequently
switched to a competitor’s. Just as with CCKs and Sample Shipment Agreements, managers
instructed sales representatives that both patient instruction sheets and pre-printed prescription
pads were tools to drive sales.

206. Ophthalmologists and ophthalmology practices in Relator Wood’s territory to
which Allergan provided free patient instruction sheets and pre-printed prescription pads
included: Drs. Jamie Zucker, Jeffrey Congeni, and Barbara Barchiesi of Canton Ophthalmology
Associates, Canton, Ohio; Dr. Gregory Eippert of Ophthalmic Physicians Incorporated, Mentor,
Ohio; Drs. Andrew Pederzolli and Bart Brine of Brine and Pederzolli, Alliance, Ohio;
Ophthalmology Consultants, Inc. of Willoughby, Ohio; and Ohio Eye Alliance, Inc. of Alliance,
Ohio. All of these ophthalmologists and ophthalmology practices treated Medicare and/or
Medicaid patients, and as a result of Allergan’s provision of kickbacks, prescribed Allergan
drugs that were reimbursed by Government Programs.

207. During the “breakout session” following Allergan’s announcement that it would
no longer provide physicians with large quantities of free drug products, Area Manager Jon
Weidner described to sales representatives how, lacking Pred Forte® to use as kickbacks, they
should continue to leverage “printing” (i.e., patient instruction sheets and pre-printed prescription
pads) as kickbacks. Instructing sales representatives how to respond to a hypothetical physician
planning to begin prescribing generics to instead continue prescribing Allergan’s products,

Weidner stated:

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You know, you kind of gotta like [tell physicians], it’s your

decision, but I would hope that you would look at the resources

that we can provide, from Zymaxid® rebates, printing. You don’t

want to go quid pro quo, but there’s a lot of support that we can

still give you.
Despite Weidner’s insistence that providing valuable “resources” and “support” in exchange for
physicians’ agreement to prescribe Allergan products does not constitute a “quid pro quo,” the
substance of this scenario clearly remains, nonetheless, a quid pro quo.

208. In addition to providing physicians with free instruction sheets and pre-printed
prescription pads, Allergan makes donations to physicians’ favorite charities in exchange for
those physicians’ agreement to prescribe its drug products. A spreadsheet sent to Relator by
Training Manager Bill Scruggs on November 26, 2008, shortly after Relator joined Allergan,
included a note that Allergan agreed, after meeting with Senior Vice President Joseph Schultz, to
give $10,000 to the favorite charity of Michigan ophthalmology clinic Anderson Eye to induce
Anderson Eye to prescribe Allergan’s drug products. Allergan has routinely leveraged similar
donations to favored charities to induce physicians to prescribe its drugs. Doing so is in violation
of the Anti-Kickback Statute and HHS OIG guidance, which describes “contributions determined
in any manner that takes into account past or expected prescriptions, orders, or purchases of
items or services payable by any Federal health care program” as a violation. See U.S.
Department of Health and Human Services, Office of Inspector General Advisory Opinion No.
08-02 (issued Jan. 29, 2008).

F. Allergan Provided Free and Below-Market-Rate Consulting Services

to Induce Ophthalmologists to Prescribe Restasis® and Other Drug
Products

209. Through its Eye Care Business Advisory Group (““ECBA”), as well as in select

instances through an external partner, Allergan has provided ophthalmologists and optometrists

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with free or below-market-rate consulting services as an inducement to prescribe its drugs. These
included Acular LS®, Acuvail®, Zymar®, and Zymaxid®; however, Restasis® was the primary
focus of this component of Allergan’s kickback strategy, and the Company made free provision
of consulting services a centerpiece of its campaign to increase sales of the drug. Allergan’s
purpose in providing these services was twofold: (1) to induce physicians to prescribe Allergan
drugs in exchange for the valuable consulting services provided by Allergan; and (2) to assist
physicians in constructing “dry eye practices,” as part of which physicians would then prescribe
large quantities of Restasis®.
1. Consulting Services Background

210. Allergan offers a menu of consulting services, which range in the degree of
support that they provide to offices. The most basic of these is Allergan Access®, which
Allergan describes as a “Web-based suite of practice management tools and resources” that
“combines the very best programs developed jointly by Allergan and BSM [C]onsulting ... .”
BSM Consulting, 936 Southwood Blvd., Suite 102, Incline Village, Nevada 8945, Allergan’s
external partner, describes itself as providing management solutions to a wide variety of health
care clients, including hospitals, physicians, health care personnel, and pharmaceutical and
device manufacturers. With specific regard to health care providers, BSM aims to assist
physicians in navigating the financial and operational challenges of their practices.

211. The Allergan Access® eLearning Center, just one of the many resources on the
site, includes in excess of fifty continuing education programs specifically designed for
ophthalmologists. Among these are the “Basics of Medical Practice Finance,” “Fundamentals of
Diagnosis Coding,” “How to Attract (Unwanted) Attention from Medicare,” “Documenting a

Patient’s Ocular History,” and “Dry Eye Disease.”
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212. Two Allergan Access® Utilization Reports, dated November 30, 2008, and
December 31, 2009, respectively, show that physicians in the Ohio area use the service regularly
as a part of their practices. The mean number of visits to the site by “Level 2 Subscribers” was
36 in 2008 and 24 in 2009. In 2008, the most frequent user of the site was Tri-State Centers for
Sight of Cincinnati, Ohio, which visited Allergan Access® 189 times during the first eleven
months of the year. Eye Care Associates of Greater Cincinnati, Inc., Cincinnati, Ohio, visited
Allergan Access® 155 times during 2008 and 72 times during 2009.

213. In addition to the online tools offered through Allergan Access®, the Company
also provides individualized, in-person consulting services through its internal consulting
division, Eye Care Business Associates (“ECBA”). Consultants working for ECBA are
employed directly by Allergan and are known as “business advisors.” As detailed in a handout
provided to sales representatives, ECBA provides a broad range of services, including online
practice management tools and resources; educational seminars; and in-person training for staff,
administrators, and management. Its training programs aim to help physicians’ staff “maximize
its potential through a variety of training and development tools that focus on leadership and
communication issues, telephone skills, patient counseling, management of the accounts
receivable process, job descriptions and work performance review, and much more.”

214. As described in greater detail below, while Allergan offered subscriptions to
Allergan Access® to nearly all physicians who agreed to prescribe its products, it was more
sparing in its provision of individualized consulting services through ECBA. Allergan limits its
offer of ECBA services to physicians who it believes will prescribe significant quantities of its

drugs, particularly Restasis®, as a result of receipt of those services.

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215. In certain instances, for exceptionally high-prescribing physicians, Allergan also
provides individualized consulting services through BSM Consulting, the same company that
assisted in the development of the Allergan Access® website. BSM provides similar services to
Allergan’s internal consulting group, but in some instances, its consultants possess a specific
expertise that is of value to a physician.

2. Allergan Required That Physicians Prescribe Its Products in
Exchange for Receipt of Its Consulting Services

216. As the preceding descriptions make evident, Allergan’s consulting services
provided significant value to physicians. In fact, a handout that gives an overview of Allergan’s
consulting services expressly refers to ECBA’s “valuable services.” Yet rather than charge
physicians for these “valuable services,” for years Allergan provided them free of charge.

217. Only recently, around June 2009, did Allergan begin charging for these services,
after realizing that free provision of valuable consulting services could expose the Company to
liability analogous to that in a recently settled case in which Allergan paid $600 million to settle
allegations, among others, that it used value-added reimbursement services to drive off-label
sales of Botox®. As ECBA Business Advisor Mike Driscoll explained Allergan’s decision to
begin charging for its consulting services to sales representatives in Relator’s district, “We don’t
want a target on our backs.”

218. Even when Allergan began charging for its consulting services, however, it
charged only a nominal fee that was considerably below the market rate. A Level I membership
costs approximately $500 and allows the practice use of Allergan Access® and its numerous
online tutorials. A Level II membership costs approximately $1,000 and allows the practice use

of Allergan Access®, plus entitles it to two in-person visits per year from an ECBA consultant.

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Even when charging, therefore, Allergan continues to gift consulting services of significant value
to physicians.

219. Allergan trains its sales representatives to emphasize that the Company provides
these services at below-market rates, and that even though physicians are paying Allergan a
nominal fee for the services, the Company is still essentially gifting physicians a significant
portion of the value of the consulting services. Both Jon Weidner and Mike Driscoll instructed
Relator and other sales representatives in his district to convey to physicians that an equivalent
external consultant, if paid at market rate, would cost physicians five to ten times more than the
ECBA consultant provided by Allergan.

220. Allergan provided these valuable services for free, and continues to provide them
at below-market rates, in order to induce physicians to prescribe Allergan drug products —
particularly Restasis®, but also Acular LS®, Acuvail®, Zymar®, and Zymaxid®. To implement
this strategy, Allergan managers specifically instructed sales representatives to leverage ECBA
consulting services to drive sales of Allergan drugs. ECBA services were targeted at specific
accounts that managers and sales representatives believed would prescribe greater quantities of
Allergan drugs as a result of their receipt of these services.

221. A spreadsheet sent to Relator Wood by Field Sales Trainer William Scruggs on
November 26, 2008, shortly after Relator first arrived at Allergan, described ECBA services in
multiple instances as part of an “Action Plan” to increase sales:

e Macomb Eye Care Specialists, Clinton Township, Michigan: The Action Plan
stated, “We have kit business, but they write 50% Vigamox, in office!

GOAL: 100%...clinical and value added. ECBA, Programs....” (all ellipses in

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original). Importantly, value-added services such as ECBA are included
alongside clinical messaging as a tactic to increase sales;

e Michigan Vision Institute, Flint, Michigan: The Action Plan stated, “Opened
practice Oct, 05. Picking up. Did OD program, in of[flice 3 days week. Will
be a large player Goal: ECBA and sell clinical advantages along [with]
est[ablishing a] lasting business relationship.” Again, ECBA is included
alongside clinical messaging as a tactic to increase sales; and

e DOC Optical Centers, Michigan: The Action Plan stated, “Opened office
April, 05 - Dec, 05 total of 465 lasik patients. 2006 claims to see 30 pats
week, 120 month. We see no data. Writes both Zymar and Restasis. Started
ref program w/in all DOCs 30 locations. A Quota of 2 ref per month. Goal:
Get them set with ECBA once data shows, and keep happy, could be top
account.” The narrative emphasizes that Allergan’s provision of ECBA
services was contingent on the practice prescribing its products (“once data
shows”).

222. On multiple occasions, during sales meetings, ECBA Business Advisor Mike
Driscoll met with sales districts for approximately an hour each in order to explain how to
leverage ECBA services as part of their sales details. Driscoll told sales representatives in
Relator’s district that ECBA services were reserved for Allergan’s “top accounts” and “best
customers.” The purpose of Allergan’s consulting services, Driscoll explained, is to have a
“unique offering in the marketplace,” something that no other eye care company offers, that will
differentiate Allergan from its competition and build loyalty and goodwill among these top

practices. Helping clinics in this way, he told them, will drive sales. Taken together, Driscoll’s
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instructions made clear to sales representatives that only physicians who used primarily Allergan
ophthalmic products would receive support from ECBA; customers who used Alcon or ISTA
products would not, unless they agreed to change to Allergan products.

223. In an email dated January 22, 2009, Area Manager Scott Youmans instructed
sales representatives in his district not to offer the services of ECBA consultant Bob Teale to an
account without first consulting Youmans to decide if that account would be an efficient use of
Teale’s services. Youmans stated that “we want to focus Bob’s services on specific accounts.
When we discuss the opportunity you’ve uncovered, we’ll decide how we should proceed... .”
Suggesting that ECBA services were essentially Allergan’s offer in exchange for inducing
ophthalmologists to prescribe Allergan drugs, he further instructed representatives to look
through the list of potential ECBA presentations to determine “what your ECBA can bring to the
table.” The list of attached presentations covered a wide variety of potential topics, similar to
those listed above as available on Allergan Access®, including “Financial Benchmarking the
Ophthalmology Practice,” “Strategic Planning,” “Marketing Your Practice,” and “Growing Your
Dry Eye Practice.” Signaling that this use of ECBA services was not unique to Youmans’
district, but rather was the standard practice throughout the company, Youmans copied both
Allergan’s Director of Sales, Stephanie Hayes, and Senior ECBA Manager Richard Morgan on
this email.

224. Similarly, on November 12, 2008, ECBA consultant Mike Driscoll sent an email
in which he thanked representatives for identifying customers who wished to focus on the

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“business of eye care.’” Driscoll had recently completed “ECBA Account meetings” with these
physicians and told representatives that “I am sure you will find that your customers will thank

you for delivering value to them.” Driscoll then recommended that sales representatives follow

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up with their physicians by reminding them of the value of Allergan’s consulting services by
saying, “Dr. Smith, I understand you attended AAO and met with Mike Driscoll, Eye Care
Business Advisor...did you find your meeting to be valuable?”

225. In Relator’s territory, practices that used Allergan Access® and ECBA consulting
services included Eye Centers of Ohio, North Canton, Ohio; Summit Ophthalmology, Akron,
Ohio; Canton Ophthalmology, Canton, Ohio; and Cleveland Eye Clinic, Cleveland, Ohio. All
were top Allergan customers.

226. Allergan’s strategy to leverage ECBA consulting services to increase
prescriptions of its drug products was effective, and as a result of its free or below-market-rate
provision of these services, Allergan successfully induced physicians to prescribe greater
quantities of its drug products, many of which were paid for by Government Programs. In
November 2008, the Cleveland Eye Clinic ceased prescribing entirely Allergan products (Acular
LS® and Zymar®) for its cataract patients and began splitting its prescriptions between Alcon
and Allergan products. The clinic indicated that it planned to soon switch to entirely Alcon
products. In order to prevent this switch, following a speaking event at the clinic’s new surgery
center, the head of the ECBA division Richard Morgan met with Thomas Chester, the clinic’s
optometrist. Morgan signed the clinic up for ECBA services, which on information and belief,
was instrumental in the clinic’s agreement to continue prescribing a mix of Allergan and Alcon
products, rather than switch entirely to Alcon products. Indeed, Chester later expressed great
appreciation to Relator for Allergan’s provision of the ECBA’s consulting services.

227. Asa further indication of ECBA’s success at driving sales of Allergan products,
sales representatives expressed considerable displeasure when the Company announced that it

would begin charging for the service, even though it only did so at well-below-market rates.

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Representatives regarded, and still regard, Allergan Access®, ECBA, and BSM Consulting
services among their most important tools to compete with Alcon. Because Alcon leverages its
medical device business to gain a competitive advantage for its pharmaceutical products,
providing consulting services as an inducement to physicians allows Allergan to, in effect, level
the playing field.

3. Allergan Used ECBA Services to Direct Physicians in the

Development of “Dry Eye Practices” with Prescribing of Restasis® at
Their Core

228. In addition to using consulting services as an outright inducement to physicians to
prescribe its products, Allergan also leverages these services to assist ophthalmologists and
optometrists in the creation of “dry eye practices” — i.e., practices that specialize in the
treatment of dry eye. These practices are naturally conducive to physicians’ prescribing of
Allergan’s Restasis®, and Allergan expects that physicians do so in exchange for its consulting
advice.

229. Prior to launch of Restasis®, ophthalmologists or optometrists did not generally
treat dry eye — at least not as a large part of their practices —- because doing so offered limited
opportunity for profit. Ophthalmologists preferred instead to focus their practices around
diseases that, when treated with surgical or other complex procedures, generated larger revenues.
For patients who did exhibit symptoms of dry eye, ophthalmologists and optometrists generally
recommended over-the-counter artificial tears.

230. This status quo — providers’ reluctance to specialize in treatment of dry eye
coupled with their proclivity to recommend over-the-counter artificial tears when they did —
constituted a significant impediment to sales growth for Restasis®, which was the first

prescription drug approved for the treatment of dry eye. To overcome that impediment, Allergan

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used its free and below-market-rate provision of ECBA consulting services to convince providers
that they could profitably prescribe Restasis® as part of a dry eye practice.

231. One ECBA presentation, described in an attachment to an email sent by Area
Manager J. Scott Youmans, was titled “Growing Your Dry Eye Practice.” Its listed objectives
included “The Dry Eye Potential,” “The Prevalence of Dry Eye Disease,” “Financial Opportunity
for a Practice,” and “Implementing a Dry Eye Standard of Care Plan: 4 Stages.” The “Standard
of Care Plan” appears to be, in part, an allusion to the prominent role that Allergan® expected
Restasis® to hold in the dry eye practice.

232. On April 24, 2009, Relator’s District Manager Jon Weidner sent sales
representatives in his district a “Continuing Education” piece, titled “Dry Eye Disease in the
Optometric Practice,” which described the “[o]pportunity” in the market for treatment of dry eye.
“[RJeimbursement for a dry eye evaluation can range from $40.00 to upwards of $125.00, with
additional payments for each subsequent visit.” The article notes that one to three follow up
visits may be required, “so optometrists’ net revenue for multiple dry eye visits can easily be in
the $200 to $700 range.”

233. Allergan trained sales representatives to explicitly emphasize to physicians the
profit they could make from prescribing Restasis® as part of a dry eye practice. Maria Zanardo,
a Field Sales Trainer who trained Relator Wood as part of his ongoing field training in 2010,
used a PowerPoint presentation and spreadsheet to show physicians precisely how much revenue
they could make for each patient visit and testing procedure, as well as for an overall course of
treatment. Zanardo’s single-slide PowerPoint presentation showed physicians that they could
receive $301 revenue per dry-eye patient, plus another potential $196 for installation of punctual

plugs, which are inserted into the tear ducts to block drainage. An accompanying spreadsheet

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titled “The Economical Dry Eye” demonstrated the yearly revenue that a physician could make
by developing a dry eye practice. The pre-filled values show that a physician treating 400
patients for dry eye will make $48,400 for the initial exam and tests, in addition to $71,600 for
follow-up visits, for a total of $120,000 annually.

234. While sales representatives were responsible for broaching the idea of a dry eye
practice, and in many instances demonstrating that it could be profitable, ECBA advisors were
integral to helping ophthalmologists and optometrists construct a successful one. Sales
representatives assured providers that Allergan ECBA advisors were “personal consultants” who
would ensure that their dry eye practice was efficiently organized to maximize revenues. In this
way, in Relator’s territory, ECBA advisors assisted the Novus Clinic in Tallmadge, Ohio, and
Summit Ophthalmology in Akron, Ohio, to construct dry eye practices.

235. Allergan also instructed physicians how to code for dry eye treatment in order to
maximize their revenue. A document titled “Senior Training Best Practices,” which Area
Manager Jon Weidner forwarded to sales representatives in his district, describes how to
facilitate construction of a dry eye practice by “encourag[ing] the doctor to lissamine green stain
EVERY p{atient| for one month.” The document continues that by coding 922.85 for “(e]xterior
photo with lissamine staining,” physicians will receive “37 dollars reimbursement [through
insurance] and [M]edicare, plus 2 more visits.”

236. To even further grow the revenue that ophthalmologists, and hence Allergan,
received through their dry eye practices, Allergan assisted ophthalmologists and optometrists in
finding patients for their new dry eye practices by sponsoring community-based patient
recruiting events. These events offered patients background information on dry eye disease and

encouraged those with symptoms to seek treatment. Allergan provided food, drinks, marketing,

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handouts, and general setup assistance. The events were usually non-branded, meaning Allergan
did not promote Restasis® and did not disclose that it was a sponsor. Relator did not himself
assist with patient recruiting events but knows of other sales representative in his district,
including Maria Zanardo, who did, and indicated that they were helpful in building physicians’
dry eye practices.

237. That Allergan determined it was profitable to sponsor non-branded patient
recruiting events is a testament to its expectation that prescribing of Restasis® would be a central
component of the dry eye practices it helped set up. Without exception, in Relator’s experience,
it was. Ophthalmologists and optometrists’ routine prescribing of Restasis® was in part the result
of its status as the only prescription dry eye treatment. But it was also the result of sales
representatives’ continual emphasis to providers of the value that Allergan gave to them by
helping them construct their dry eye practices. In this way, the evidence of the profitability of dry
eye practices that Allergan presented to providers served dual purposes: as described above, this
evidence proved necessary to convince them to set up a dry eye practice in the first place, but it
also emphasized, critically, the value of the consulting services being provided by Allergan.
While sales representatives were trained not to explicitly demand prescriptions of Restasis® in
exchange for ECBA’s services, this was nonetheless the implicit agreement. Sales
representatives mixed promotion of Restasis® with promotion of ECBA services, and it was
understood that ophthalmologists and optometrists who did not prescribe Restasis® would not

continue to receive the support of these ECBA services.

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4, Allergan’s Free and Below-Market-Rate Provision of Consulting
Services Resulted in Payments by Government Programs

238. Allergan was aware or reasonably should have been aware that a substantial
number of patients seeking treatment for both dry eye and cataract surgery are Medicare Part D
and Medicaid beneficiaries, and that as a result of the remuneration it paid to ophthalmologists
and optometrists in the form of free or below-market-rate consulting services, these
ophthalmologists and optometrists would and did prescribe Restasis®, Acular LS®, Zymar®,
and other Allergan products, which would be and were in turn reimbursed by Government
Programs.

G. Allergan Used PARx Reimbursement Services to Induce Physicians
to Prescribe Restasis® and Other Drug Products

239. Beginning in mid-2009, in conjunction with its provision of ECBA consulting
services, Allergan also provided many physicians with free reimbursement support services,
contracted through a third party called PARx Solutions, Inc. Allergan supplied PARx services in
order to relieve physicians of the potentially substantial cost of processing prior authorizations
for its drugs, and thereby induce physicians to prescribe greater quantities of those drugs. PARx
offered reimbursement assistance for all Allergan drug products; however, sales representatives
primarily promoted it, and subsequently it was primarily used, as a reimbursement aid for
Restasis®. As a result, insurance payors, including many Government Programs, paid for
prescriptions of Restasis® and other Allergan drugs that they otherwise would not have.

1, Overview of PARx

240. When Allergan first began marketing Restasis®, the drug was not included on
most managed care and PBM formularies. As such, payors would not automatically cover the
cost of a prescription for Restasis® but instead required a prior authorization. By mid-2009,

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when PARx was launched, many payors had eased their formulary restrictions, but in some
geographies outside of Relator’s territory, payors maintained prior authorization requirements
limiting the use of Restasis®.

241. A prior authorization is a request for an insurance company to pay for a drug for a
particular patient, even though the company’s standard policy may preclude payment for that
drug. An insurance company uses a prior authorization as a means to direct patients to more
appropriate and/or cost-effective therapies. Prior authorizations allow exceptions to that rule for
those patients for whom alternative therapies have been proven to be ineffective or pose too great
a risk of adverse events due to concomitantly taken medications or other extenuating
circumstances.

242. Generally the physician’s staff handles the submission of prior authorizations,
which are usually submitted to the patient’s insurance company by facsimile, by telephone, or,
increasingly, electronically. Staff members dedicate a considerable amount of time to filling out
and submitting the forms, as well as to responding to any follow-up issues raised by the payor.
Practices have increasingly added a staff member dedicated to processing prior authorizations,
which one study found result in a direct cost of $14.24 each to the health care provider. See
James L. Raper et al., Uncompensated Medical Provider Costs Associated with Prior
Authorization for Prescription Medications in an HIV Clinic, 51 Clinical Infectious Diseases 718
(2010). Factoring in the opportunity cost of work that staff could have instead performed in the
absence of the need to complete prior authorizations, the study concluded that the total cost per
prior authorization was actually $40.60. Jd. As payors increasingly curtail payments to providers

and squeeze their margins, these costs are significant.

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243. The prospect of routine prior authorizations was a particular impediment to
physicians’ willingness to prescribe Restasis® in those areas that maintained strict formulary
restrictions. Given that Allergan’s strategy to convince physicians to prescribe greater quantities
of Restasis® centered on convincing those physicians of the profitability of implementing a dry
eye practice, the prospect of routine prior authorizations significantly undermined that strategy
and represented a significant objection to prescribing Restasis®.

244. To mitigate this anticipated objection, Allergan implemented “PARx,” a prior
authorization assistance program through which Allergan assumed the costs of processing prior
authorizations for Restasis® and its other drugs. PARx, as the program was commonly referred
to at Allergan, is officially called Prior Authorization Support System, and is run by PARx
Solutions, Inc., based in Los Altos, California. PARx Solutions is in turn run by Bio-Ops, Inc.,
which is also based in Los Altos. A handout given to sales representatives describes PARX as
“help[ing] the provider verify patient insurance eligibility and streamlin[ing] the prior
authorization process for prescribed products and services not on formulary.” Similarly, a
“Training Overview” described the “Provider Benefits” of PARx, including “[u]niversal
insurance verification and prior authorization processed allowing for greater efficiencies for both
the physician and medical office staff.”

245. A “cheat sheet” sent to representatives by Ohio Area Manager Jon Weidner on
September 8, 2009, outlines how to set up and use a PARx account. In order to receive prior
authorization services from PARx, a physician must first sign a “Business Associate
Agreement,” which allows PARx to access protected patient information. Sign up also requires

submission of a “Provider Registration Form,” which the “cheat sheet” instructs that the sales

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representative should fill out on behalf of the physician. This form contains physician
information such as contact details, state license number, DEA number, and tax ID number.

246. Once these forms are submitted and the account is set up, staff can log onto the
system under the “provider” tab at www.parxsolutions.com. After clicking “Create New PA
Request” and selecting the appropriate product, the user is then promoted to enter the
information for the patient requesting the prior authorization. (This information is outlined in
detail in a slide deck attached to the email sent by Jon Weidner, referenced supra.) The
information is then transmitted electronically to PARx.

247. Once PARx receives the patient’s information, it handles the entire prior
authorization process. Its system automatically selects the appropriate prior authorization form
based on the patient’s insurance carrier and populates that form with patient and provider
information, including information for the requested drug. Most significantly, PARx’s staff
handles the less formulaic and most time-consuming aspects of the process, including “[d]rug
criteria research,” “[rleview of drug denials,” and “[flollow-up, [s]tatus [c]hecks & appeals.”
Patients are able to take prescriptions to any pharmacy, and most claims are approved in less
than twenty-four hours.

248. The entire service is funded by Allergan and provided free of charge to
physicians.

2. Allergan Specifically Targeted PARx To Physicians Who It Believed .
Would Prescribe the Most Restasis®

249. Allergan sought to leverage PARx’s valuable reimbursement services to most
effectively generate prescriptions of Restasis® and other drugs. Presumably due to the cost of

providing the service, however, there were only a limited number of PARx slots available in

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each territory; in Weidner’s territory, there were twenty available slots. These, then, were
allocated to the physicians who Allergan determined would prescribe the most drugs in exchange
for their receipt of free PARx services.

250. In an email dated April 1, 2009, Relator’s district manager, Jon Weidner, directed
sales representatives to allocate PARx slots to achieve the maximum return on investment for
Allergan, stating: “1. Target busy practices with physicians that utilize Restasis 2. Ask the staff
member who handles prior authorizations how many they typically do for Restasis, and on what
insurance plans 3. Do not commit to them yet, I would like to discuss each account with you
first!” Weidner described PARx as one of the “tools to help you get” to “our main goal” of
“FINDING NEW GROWTH!” He concluded that “[f]lawless execution of these tools” —
PARx among them — “‘is crucial to our goal of growing NMU’s [i.e., new prescriptions].”

251. In another email dated April 24, 2009, Weidner thanked sales representatives “for
finding the appropriate office that will benefit from this service that we can provide.”
Continuing, he described PARx as “a great resource and we need to really sell it and use it to
better our relationships with our key offices.” By offering PARx to the offices that would
receive the most value from it, Weidner sought to obtain the greatest number of Restasis®
prescriptions in return. “I would like to get the ball rolling so we [i.e., Allergan] can start to see
the benefit sooner rather than later” (emphasis added).

252. Weidner and other managers continually emphasized these same points to sales
representatives during sales meetings and teleconferences. PARx, just as the free consulting
services provided through ECBA and BSM, was to be utilized as a sales “tool,” and as such,
strategically used in the way that would most effectively induce physicians to prescribe

Allergan’s products.

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253. Because payors in Relator’s territory generally granted Restasis® favorable
formulary status and did not require prior authorizations, Relator did not regularly promote
PARx as part of his sales detail. However, Phillip Edmondson, a sales representative based in
Cincinnati, Ohio (and one of the top sales representatives in the Company), told Relator that he
had integrated PARx as a key component of his promotional message. For his exceptional sales
performance during 2010, Allergan gave Edmondson an award and a trip to Hawaii.

3. The Office of the Inspector General Has Issued Advisory Opinions
that Identify Problems with Free Reimbursement Support Services

254, The Office of Inspector General for the Department of Health and Human
Services (“OIG”) has provided insight into the legitimacy of reimbursement support services,
suggesting that they are highly susceptible to fraud and abuse in Federal Programs.

255. In one 2006 Advisory Opinion, the OIG responded to an inquiry regarding the
propriety of a seller of durable medical equipment (“DME”) offering free reimbursement
consulting services to some of its customers. See U.S. Department of Health and Human
Services, Office of Inspector General Advisory Opinion No. 06-16 (issued Oct. 3, 2006). The
“reimbursement consulting services” at issue included: (i) general claims submission
information, such as advice on how to code products; (ii) reviewing claims; (iii) helping to
appeal denied claims; and (iv) providing assistance related to medical justification for receiving
particular products. /d. at 2. The OIG concluded that these reimbursement services constituted, at
a base level, remuneration, and that because the DME suppliers were “in a position to generate
Federal health care program business” for their customers, the offering of such services “clearly”

implicated the Federal Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b). /d. at 4.

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256. The OIG further noted that the reimbursement services at issue “would be neither
limited in nature, nor free-standing,” concluding that the free services “would potentially confer
substantial independent value upon the DME supplier.” Jd. at 5. The OIG stated that any
assistance “securing Federal reimbursement for individual beneficiaries to receive particular
products could cause beneficiaries to receive greater quantities of, or more expensive” products
than they actually require. /d. In addition, such reimbursement services would tend to provide a
financial incentive to steer customers to purchase the supplier’s products, “even if products from
other manufacturers were less expensive or more appropriate.” Id.

257. The PARx reimbursement services provided by Allergan operate in a way that is
directly analogous to the DME scenario described in the OIG’s Advisory Opinion. As described
supra, PARx services “confer substantial independent value” upon physicians, as well as provide
financial incentives for physicians to prescribe Restasis® rather than suggest less expensive, and
in many cases more appropriate, over-the-counter remedies. In practice, Allergan’s provision of
PARx services free of cost to physicians has caused physicians to prescribe (and patients,
including Government beneficiaries, to use) Restasis® rather than suggest less expensive, and in
many cases more appropriate, over-the-counter remedies. Thus, as was the case in the DME
scenario evaluated by the OIG, PARx served as a “vehicle to pay unlawful kickbacks” to
physicians who were expressly selected by Allergan in order to increase sales.

258. Ina second Advisory Opinion, the OIG determined that any services, including
pre-authorization services, that save a physician’s office staff time, or that result in a realization
of savings, or that were designed to refer or induce the purchase of a manufacturer’s products,
could constitute unlawful remuneration and implicate the Federal Anti-Kickback Statute. See

U.S. Department of Health and Human Services, Office of Inspector General Advisory Opinion
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No. 10-04 (issued Apr. 30, 2010). Services provided by Allergan through PARx meet all three
of the preceding criteria.
4, Allergan Intended for Its Provision of Free Reimbursement Services

to Induce Physicians to Prescribe Restasis® and Other Drugs, and
Therefore Violated the Anti-Kickback Statute

259. Allergan’s provision of free reimbursement services through PARx precisely
mirrors the reimbursement services that the OIG’s advisory opinions found could implicate the
AKS. Further, while OIG’s advisory opinions were precluded by a lack of knowledge of the
sponsoring companies’ intent from finding that the programs in question did in fact violate the
AKS, in this case it is clear that Allergan did intend for its free provision of reimbursement
services to induce physicians to prescribe Restasis® and other drugs, and in turn to cause
Government Programs to reimburse for those prescriptions. Allergan’s repeated instructions to
sales representatives to allocate PARx services to high-prescribing and potentially high-
prescribing physicians who Allergan believed would write additional prescriptions as a result of
their receipt of these services, confirm that Allergan intended as much.

260. On information and belief, Amgen was successful in its intention to use PARx to
induce physicians to prescribe Restasis® and other drugs, which it knew or reasonably should
have known would cause Government Programs to reimburse for those prescriptions, and
therefore violated the federal AKS, 42 U.S.C. § 1320a-7b(b).

261. By engaging in the above-described Fraudulent Kickback Scheme, through a
pattern of corrupt and illegal conduct, with the intent to induce physicians to prescribe its drug
products that Allergan knew or should have known would be reimbursed by Government

Programs, Allergan violated the Federal AKS, 42 U.S.C. § 1320a-7b(b).

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262. The Fraudulent Kickback Scheme described above constitutes violations of the
AKS, made with the intent to induce physicians to prescribe Allergan drug products that were
reimbursed by Government Programs, through a pattern of corrupt and illegal conduct, in
violation of the federal False Claims Act, 31 U.S.C. § 3729. Moreover, Allergan’s kickbacks
caused pharmacies submitting claims to the Government to falsely certify compliance with
applicable laws and regulations, including that the claims were not tainted by illegal kickbacks.

VIII. THE FRAUDULENT MARKETING SCHEME WITH REGARD TO ACUVAIL®,
ZYMAR®, AND ZYMAXID®

A. Allergan Untruthfully Promoted Acuvail® as Superior to Other
Ketorolac Formulations for Treatment of Pain and Inflammation
Following Cataract Surgery

263. In late 2009, both Acular® and Acular LS® faced imminent competition from
generic equivalents. In order to stem a rapid loss of sales, Allergan sought to convert patients
from Acular® and Acular LS® to its recently approved follow-on formulation of ketorolac,
Acuvail®. The goal, as conveyed in an email forwarded by multiple district managers, was to
convert “ALL of our accounts from Acular LS to Acuvail.” In order to do so, Allergan claimed
that Acuvail® demonstrated superior safety and efficacy to other ketorolac formulations —
particularly Acular LS®, which had far greater sales than Acular® — despite the fact that there
is no substantive evidence demonstrating that Acuvail® is superior to either Acular® or Acular

LS®.

1. Allergan Trained Sales Representatives to Promote Acuvail® as
Superior to Acular® and Acular LS®

264. From August 24th through 27th, 2009, Allergan ophthalmology sales
representatives from across the country gathered for the “Acuvail™ Launch Meeting” at the

Hyatt Regency, in Dallas-Fort Worth, Texas, where Allergan trained sales representatives how to

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promote Acuvail®. Sales representatives were taught a promotional message that centrally
focused on superiority claims versus Acular LS®. As Relator Wood’s handwritten notes reflect,
representatives were told that Acuvail® was an “upgrade” from previous ketorolac formulations,
and that it demonstrates a “[d]ramatic difference” and “[b]ehaves different clinically” from these
other formulations. At another point during the meeting, again reflected in Relator Wood’s
handwritten notes, sales representatives were instructed to promote Acuvail® to
ophthalmologists as a “unique formulation [that] behaves differently and is engineered for
superior outcomes for your patients.”

265. Even prior to the launch meeting, this superiority message had been prefaced at
meetings and in emails, as managers repeatedly emphasized to sales representatives that they
should sell Acuvail® as an “upgrade” to Acular® and Acular LS®. During his introductory
presentation at the Dry Eye-External Disease National Sales Meeting, on June 22, 2010, Vice
President of Sales Joseph Schultz told sales representatives gathered from across the country that
“what we need to do with this portfolio is clearly continue to upgrade the Acular® users to
Acuvail®.,”.

266. On July 31, 2009, Senior Marketing Programs Associate Lori Bledsoe sent an
email to all ophthalmology sales representatives regarding preparations for the Acuvail® product
sample program. Bledsoe instructed representatives to “[blegin upgrading your customers to
ACCUVAIL [sic] now” and “[s]ubmit renewal contracts as your customers agree to upgrade to
ACUVAIL” (emphases added).

267. In an email sent on August 3, 2009, three weeks before the launch meeting,
ACUVAIL™ Senior Product Manager Mary Ellen Esgro provided ophthalmology sales

representatives across the country with an “ACUVAIL™ Launch Checklist,” which instructed

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them to “[flocus on upgrading the Diamond Targets to ACUVAIL NOW” (emphasis added).
“Diamond Targets” were high-prescribing physicians selected by management as early targets
for conversion to Acuvail®. The checklist also noted that “Diamond Targets can start upgrading
post-op sheets” to include Acuvail® rather than Acular LS® (emphasis added). Only three days
later, on August 6, 2009, Esgro sent another email in which she described a promotional visit as
an “ACUVAIL™ upgrade service call.”

268. At the launch meeting, sales representatives were trained to support managers’
assertions that Acuvail® was an “upgrade” to Acular® and Acular LS® by claiming that
Acuvail® was more tolerable than Acular LS®, and resulted in less burning and stinging. This
claim, however, was based largely on theory and lacked supporting clinical evidence. Managers
told sales representatives, and trained them to in turn tell physicians, that the lack of the
preservative BAK in Acuvail®, as well as the addition of carbomethylcellulose (“CMC”) (an
ingredient also found in over-the-counter artificial tears), resulted in superior tolerability of
Acuvail® versus Acular LS®. However, the only clinical evidence that supported Allergan’s
superiority claim was a phase I titration study, which was not adequate to provide a meaningful
clinical comparison of adverse events. Nonetheless, managers trained sales representatives to
claim that the study “showed Acuvail [was] more tolerable [than] Acular LS.”

269. Sales representatives were also trained to promote Acuvail® as more effective
than previous formulations of ketorolac, again based on theoretical benefits of the addition of
CMC. CMC, sales representatives were told, “increase[s] contact time [with] lower pH,” results
in “more drug to target tissues,” “prolongs drug retention,” and “promotes wound healing.” The
overall result, they were told, was that Acuvail® more effectively inhibits inflammation than

does Acular® or Acular LS®.
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270. Superiority claims also pervaded Allergan’s printed promotional materials, which
were based on the theme “A Cut Above Our Best.” The Acuvail® “Launch Packet” received by
sales representatives was titled “A Cut Above Our Best, The ketorolac molecule enhanced, the
NSAID advanced.” The front page displays four diamonds, increasing in size and clarity from
left to right. Under the last, largest, and brightest diamond is printed “Introducing Acuvail.” The
letter that follows, from senior Allergan managers, again describes Acuvail® as “a cut above
our best” (emphasis in original), and refers to the “exclusive benefits offered by ACUVAIL™.”

271. During the meeting, sales representatives engaged in role play exercises during
which they practiced using the Acuvail® sales aid to promote Acuvail® to physicians. The sales
aid, which was also based on the “Cut Above Our Best” theme, facilitated sales representatives’
delivery of the superiority messages on which they had been trained. Under the header
“Introducing your next NSAID,” the sales aid read “A Cut Above Our Best” and displayed three
diamonds, again ascending in size and clarity from left to right. Making the superiority message
even more explicit, a later page was titled “The Ketorolac Molecule Enhanced,” and described
Acuvail® as “Designed With Outcomes in Mind.”

272. An annotated version of the same sales piece stated that “ACUVAIL™
ophthalmic solution was a cut above our best in: “Outcomes,” “Innovation,” “Convenience,” and
“Comfort.” As support for each of these claims, the annotated sales piece cited the Acuvail®
Prescribing Information, despite the fact that the Prescribing Information contains no comparison
of Acuvail® to alternate formulations of ketorolac. As sales representatives were trained, the
targets of Allergan’s superiority claims were alternate formulations of ketorolac, not the vehicle,
sans active ingredient, against which Acuvail® was compared in its clinical registration trial. The

sales piece further instructed sales representatives, “[w]hen physicians ask what enhancements to

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the ACUVAIL™ formation allow the product to achieve this complete clearance, offer the
optimized pH as an explanation.” This “explanation” was indicative of the theoretical
justifications that Allergan used in lieu of actual clinical evidence to support its superiority
claims.

273. An annotated version of the Acuvail® Prescribing Information provided to sales
representatives included similar claims. The introduction instructed sales representatives that
“you are selling a diamond in the class of ophthalmic NSAIDs.” Accompanying comments
described Acuvail®’s pH as “[p]recisely engineered to help facilitate performance” and the
addition of CMC as “a crucial part of the ACUVAIL formulation” that provides “[i]mproved
patient comfort.” Again, Allergan trained its sales representatives that these comparisons of
Acuvail® were directed against alternate ketorolac formulations, not against the vehicle to which
Acuvail® was actually compared in clinical trials.

274. As described infra in part 3 of this section, both Allergan’s safety and efficacy
superiority claims were false, misleading, and unsupported by any substantive clinical evidence.
Nonetheless, multiple Allergan managers, including Vice President of Sales Dave LeCause, as
well as regional and district managers from across the country, witnessed and did not object as
these superiority claims were continually reiterated to sales representatives and became the core
of their promotional message to physicians.

2. Earnings Calls Confirm That Allergan’s Senior Management Was
Responsible for the Implementation of the Acuvail® Superiority
Campaign

275. As indicated by the presence of senior managers as well as regional and district

managers from across the country at the Acuvail® Launch Meeting, Allergan’s management was

not only aware of, but supported, the unsubstantiated superiority claims made by the Company’s

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sales representatives. Earnings call transcripts confirm that Allergan’s senior management
regarded these superiority claims as an integral component of its strategy to convert all Acular®
and Acular LS® prescriptions to Acuvail® prior to generic availability of the former.

276. The “Presentation Summary” of a July 31, 2009, earnings call, which was held
shortly before the launch of Acuvail®, stated that “ACUVAIL has the advantage of ... very low
level of burning and stinging upon application vs. Acular....” Transcript, Event Brief of Q2
2009 Allergan Earnings Conference Call — Final (July 31, 2009), available at LEXIS FD (Fair
Disclosure) Wire.

277. On a later call following the launch of Acuvail, Allergan Chairman and CEO
David Pyott told investors, “ACUVAIL is perceived as a real product improvement relative to
Acular, ... with additional comfort due to its formulation....” Transcript, Q3 2009 Allergan
Earnings Conference Call — Final (Oct. 29, 2009) , available at LEXIS FD (Fair Disclosure)
Wire. To the extent that physicians “perceived” Acuvail®’s formulation as an “improvement
relative to Acular,” they did so only because Allergan had systematically and illegally promoted
to them that it was.

278. In another call, Pyott stated that “full emphasis is being placed on the product
advantages of our latest generation product, ACUVAIL.” Transcript, Q4 2009 Allergan
Earnings Conference Call — Final (Feb. 4, 2010), available at LEXIS FD (Fair Disclosure) Wire.

3. Allergan’s Claims that Acuvail® Was Superior to Acular® and
Acular LS® Were False and Misleading

279. Despite the centrality of superiority claims to its promotion of Acuvail®, Allergan
lacked substantial evidence or substantial clinical experience to support them. While the

annotated sales aid received by sales representatives cited Acuvail®’s Prescribing Information as

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evidence that Acuvail® demonstrated superior outcomes to other formulations of ketorolac, in
fact, Acuvail® was only studied in comparison to, and shown to be superior to, its delivery
vehicle, not an alternate formation of ketorolac. No well-controlled, head-to-head studies were
conducted comparing Acuvail® to alternate formations of ketorolac.

280. Instead, as described above, Allergan based its superiority claims on the theory
that the lack of BAK and addition of CMC resulted in increased tolerability and efficacy. Such
theoretical justifications, however, fail to perceive the myriad complexities in the body’s reaction
to any drug, and in addition, may be subject to manipulation by those with a vested interest in the
outcome. It is for these reasons that the FDA requires clinical evidence of a drug’s observed
rather than predicted effect.

281. The only clinical evidence that supports Allergan’s claim that Acuvail® results in
less burning and stinging than Acular LS® is a phase I titration study. Early-stage titration
studies are designed to determine an appropriate dose for a drug; however, they do not contain
sufficient patients and are not otherwise suitable to make a meaningful comparison of adverse
event profiles between drugs.

282. On August 25, 2010, the FDA sent Allergan a Warning Letter, citing the
Company for its misleading promotion of Acuvail® as superior to alternate formulations of
ketorolac. The letter was sent specifically in regard to a print advertisement, similar to the one
described supra, that portrayed Acuvail® as “The Ketorolac Molecule Enhanced.” The FDA
wrote that the advisement “misleadingly suggests that Acuvail confers more therapeutic benefits
and has been ‘enhanced’ in comparison to other ketorolac products or other ocular non-steroidal

anti-inflammatory drugs (NSAIDS)” (emphasis added). The letter continued,

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FDA is not aware of any substantial evidence or substantial clinical

experience to support claims implying that Acuvail has been

‘enhanced’ in any way or is superior to other ocular ketorolac

products or other ocular NSAIDs in treating pain and inflammation

following cataract surgery, or in any other outcomes, including

enhanced patient comfort.
The FDA also criticized Allergan for its misleading citation of the Acuvail® Prescribing
Information as evidence that Acuvail® resulted in “’enhanced patient comfort,” stating that the
Prescribing Information “does not include any supportive evidence.” On the contrary, “the
adverse reactions section of the [Prescribing Information] specifically states that patients using
Acuvail experienced adverse events, such as ocular pain, headache, and blurred vision (1-6% of
patients), which could undermine patient comfort.”

283. Contrary to Allergan’s repeated claims and the tenuous findings of its titration
study, other evidence suggests that Acuvail® actually results in more burning and stinging than
Acular LS®. As conveyed in the drugs’ respective Prescribing Information, in clinical trials,
patients taking Acuvail® reported a 1.5% incidence of burning and stinging, while patients
taking Acular LS® reported no burning and stinging. While this comparison is indirect, given the
lack of other reliable evidence, it does cast doubt on the accuracy of Allergan’s superiority claim.

284. Anecdotal evidence also supports that Acular LS® is better tolerated than
Acuvail®. On multiple occasions, Relator made sales calls to physicians who dosed themselves
with Acuvail® and Acular LS® in order to judge their relative tolerability. Those who did so
consistently described Acular LS® as the more comfortable of the two ketorolac formulations.
Relator has also dosed himself with both products and concurs with the opinions of these

physicians: while he found Acular LS® to feel roughly equivalent to an artificial tear, Acuvail®

resulted in noticeable discomfort.

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4, Allergan Used Bonus Payments to Incentivize Sales Representatives to
Promote Acuvail® as Superior to Acular LS®

285. Allergan leveraged bonus payments as an incentive to sales representatives to
deliver to physicians the unsubstantiated superiority claims that it had trained them to deliver.
Beginning in 2010, immediately following the launch of Acuvail, Allergan changed the incentive
compensation for the Blue and Gold teams so that 25% of their potential incentive compensation
was based on total units of Acuvail® prescribed. Likewise, 20% of area managers’ incentive
compensation was based on total units of Acuvail® prescribed. Neither sales representatives nor
area managers received any additional compensation for additional prescriptions of Acular® or
Acular LS®, leaving them, as Allergan intended, with a strong incentive to promote Acuvail® as
superior to Acular® and Acular LS®.

5. Allergan’s False and Misleading Promotion Caused Physicians to
Prescribe Acuvail® Instead of Cheaper Generic Alternatives

286. In the absence of Allergan’s misleading and untruthful claims that Acuvail® was
superior to Acular® and Acular LS®, there would have been little if any reason for physicians to
prescribe Acuvail® instead of the cheaper, generic equivalent of Acular LS® with which they
were familiar. It was, however, physicians’ lack of any such impetus to change their prescribing
habits that necessitated Allergan to fabricate an impetus in order preserve market share in the
face of generic competition. As a result of its fabrication, physicians prescribed and Government
Programs reimbursed prescriptions of Acuvail® that they had no reason to, and otherwise would

not have prescribed and reimbursed.

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B. Allergan Promoted Zymar® and Zymaxid® Off-Label for Prevention
of Endophthalmitis in Conjunction with Cataract Surgery

287. Allergan extensively promoted Zymar® and Zymaxid® for routine use pre- and
post-cataract surgery to prevent endophthalmitis. It did so despite the FDA’s limited approval of
both drugs for only the treatment of bacterial conjunctivitis, and despite the lack of substantial
clinical evidence showing that Zymar® and Zymaxid® were effective for prevention of
endophthalmitis. On the contrary, the available clinical evidence demonstrates that Zymar® does
not reach sufficiently high concentrations in the relevant portions of the eye to effectively
prevent endophthalmitis, and no evidence demonstrates that the increased active ingredient in
Zymaxid® remedies Zymar®’s failure. Nonetheless, Allergan leveraged its sales representatives,
paid speakers, advertorials, and selective dissemination of clinical literature to mislead
ophthalmologists into believing that both drugs were effective for this off-label use, and thereby
established prophylactic use of topical antibiotics in conjunction with cataract surgery as the
standard of care.

1. Clinical Evidence Demonstrates that Zymar® and Zymaxid® Are
Ineffective for Prevention of Endophthalmitis

288. Ophthalmologists’ prescribe topical anti-infective agents in conjunction with
cataract surgery primarily in order to prevent exogenous endophthalmitis, which is an
inflammation of the ocular cavities caused by the direct introduction of bacteria or other
infectious agent. Most cases of endophthalmitis related to cataract surgery result from
contamination by patients’ own conjunctival flora — i.e., bacteria on the surface of the eye,
which enter the interior of the eye during surgery. Staphylococcus epidermidis and
Staphylococcus aureus are responsible for most cases of endophthalmitis in conjunction with

cataract surgery. Though rare — estimates of incidence vary but are generally around 0.2% —

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endophthalmitis is an extremely serious complication that is difficult to treat even when detected
early, and may result in blindness.

289. In the United States, the use of topical antibiotics for the prevention of
endophthalmitis is common despite the lack of credible evidence supporting this practice.
Because of the rarity of the disease, multi-center controlled clinical trials would be difficult to
conduct; however, even smaller trials have failed to provide clinical support of topical
antibiotics’ effectiveness for prevention of endophthalmitis. The only large trial of the
effectiveness of a topical antibiotic for the prevention of endophthalmitis that included a clinical
outcome measure, found that the topical antibiotic was at best minimally effective.

290. Lacking substantial evidence, in order to promote Zymar® and Zymaxid® for
prevention of surgically related endophthalmitis, Allergan has relied on retrospective analyses
and selective use of “proof-of-principle” studies (i.e., studies suggesting that prophylaxis should
work, even in the absence of direct evidence that it does). The retrospective analyses, however,
were too marred by confounding variables to reach meaningful conclusions, and a more holistic
survey of available proof-of-principle studies provides strong evidence that Zymar® and
Zymaxid® are not effective for this use.

(a) Zymar® does not reach sufficient concentrations in the
aqueous humor to effectively prevent endophthalmitis

291. Bacterial conjunctivitis — which the FDA has approved Zymar®, Zymaxid®,
and other topical anti-infectives to treat based on substantial clinical evidence — is a disease of
the surface of the eye. As such, in cases of bacterial conjunctivitis, topically administered
antibiotics easily reach the site of infection at relatively high concentrations. In contrast,

endophthalmitis is caused by infection in the aqueous and/or vitreous humors, which requires

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that a topically administered anti-infective substantially penetrate the eye in order to be effective.
Moreover, it must be able to reach the interior in great enough quantity to resist dilution caused

by the rapid turnover of intraocular fluids, particularly in the vitreous humor.

 

Aqueous humor

    

Conjunctiva Vitreous humor

 

Anatomy of the eye.

 

 

 

292. The available clinical evidence shows that Zymar® does not reach a sufficient
concentration in the aqueous humor, let alone in the vitreous humor, to prevent endophthalmitis.
A recent prospective, randomized study of three topical antibiotics found that none (including
gatifloxacin 0.3%, the active ingredient in Zymar®) reached the concentration in the aqueous
humor necessary to prevent endophthalmitis. Eric D. Donnenfeld et al., Human aqueous humor
concentrations of besifloxacin, moxifloxacin, and gatifloxacin after topical ocular application,
37 J. Cataract & Refractive Surgery 1082 (2011). Patients were administered one drop of
medication 60 minutes prior to surgery, based on the assumption that antibiotic “concentrations

at 60 minutes would reasonably approximate the maximum drug levels achieved in aqueous

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humor after dosing.” Jd. at 1086. Aqueous humor samples were obtained immediately prior to
surgery, and the concentrations of antibiotics in these samples were compared to the MICoo of
Staphylococcus epidermidis and Staphylococcus aureus, the most common causes of surgically
related endophthalmitis. MICo9 stands for “minimal inhibitory concentration” and is the

concentration necessary to kill or prevent the reproduction of 90% of the given bacteria.

 

 

 

 

 

 

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Figure 1. Ratio of fluoroquinolone Counin in the aqueous humor to Figure 2. Ratio of fluoroquinolone Cynmin in the aqueous humor to
MICw for methicillin-susceptible $ epidermidis and S aureus isolates MiICoq for methicillin-resistant and fluorequinolone-resistant § epi-
from recent ocular infections (ratios were identical in both species). dermidis (A) and § aureus (B) isolates from recent ocular infections.
MICog values were 0.06 pg/mL, 0.125 pg/mL, and 0.25 pg/mL for MiCuq values for besifloxacin, moxifloxacin, and gatifloxacin, respec-
besifloxacin, moxifloxacin, and gatifioxacin, respectively, for both tively, were 4 pg/mL, 64 pe/ mL, and 128 pg/ mL against $ epidermi-
5 epidermidis and S aureus.” dis and 4 pg/ml, 32 pg/mL, and 64 pg/mL against 5 aureus?!
Donnenfeld et al., at 1086.

 

 

 

293. As seen in the graph above, gatifloxacin reached only 50% of the MICoo for
antibiotic-susceptible strains of Staphylococcus epidermidis and Staphylococcus aureus. Id.
Gatifloxacin fell even further short of the “mutant prevention concentration” (“MPC”), which is
the concentration necessary to prevent the development of antibiotic resistance among surviving
bacteria, and is generally eight to ten times the MICo9. More troubling, with regard to
increasingly prevalent strains of antibiotic-resistant bacteria, gatifloxacin reached only 0.1% and
0.2% of the MIC for Staphylococcus epidermidis and Staphylococcus aureus, respectively. Id.

294. These concentrations, the authors concluded,

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were insufficient to expect therapeutic efficacy against the recent

drug-resistant pathogens often identified in postoperative

endophthalmitis. This is a critical finding because resistance to

fluoroquinolones (older and newer fluoroquinolones) among gram-

positive isolates from endophthalmitis cases has increased in the

past decade from approximately 30% to as much as 50%.
Id. at 1087. Neither more frequent dosing or the addition of BAK (a preservative that may also
increase antibiotic potency) would be sufficient to remedy these substantial shortfalls. Id.
Recommending against postoperative use of topical antibiotics for prevention of
endophthalmitis, the authors stated that “intention should be directed toward eradication of the
causative pathogens on the ocular surface before they gain entry to the eye.” Jd. at 1088.

295. A number of other studies support the conclusions of the Donnenfeld study that
Zymar® does not reach sufficient concentrations in the aqueous humor to prevent
endophthalmitis. In one such study, even Zymar® dosed four times in the hour prior to cataract
surgery reached an average concentration of only 0.77 ug/ml, far less than the MIC of
fluoroquinolone-resistant Staphylococcus aureus of 3.5 ug/ml. Sirel Giir Giingor et al., Aqueous
humor penetration of moxifloxacin and gatifloxacin eye drops in different dosing regiments
before phacoemulsification surgery, 95 Brit. J. Ophthalmology 1272, 1273-74 (2011). Zymar®
did exceed the MICs of various non-resistant bacteria, id. at 1274, although it only managed to
do so at a dosing frequency that far exceeds what is practical and safe for long-term pre- and
post-surgical use, as Allergan recommended that ophthalmologists prescribe. The study
demonstrated that reduced dosing frequency substantially lessened the intraocular concentration
that Zymar® achieved. Jd. at 1273.

296. A study by Teshigawara et al. similarly found that gatifloxacin administered four

times in a two-hour pre-surgical period failed to reach the MICoo of major pathogens of

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endophthalmitis including Enterococcus faecalis (MICo9: 0.50), Propionibacterium acnes
(MICop: 0.50), Pseudomonas aeruginosa (MICo9: 1.0), Staphylococcus epidermidis (MICo9: 1.0),
and methicillin-resistant Staphylococcus aureus (MICg: 64). Takeshi Teshigawara et al.,
Penetration of Gatifloxacin Eye Drops into the Aqueous Humor in Humans, 15 Ocular
Immunology and Inflammation 309, 312 (2007). “The mean concentration of [gatifloxacin] in
[the] aqueous humor was 0.485 + 0.328 ng/mL.” Jd. Although the study does not explicitly state
so, gatifloxacin failed by an even greater margin to reach the MPC for all the preceding bacteria,
as well as non-methicillin-resistant Staphylococcus aureus (MICo90: 0.12).

297. Similar findings were presented by Dianne H. Kim et al., Aqueous Penetration
and Biological Activity of Moxifloxacin 0.5% Ophthalmic Solution and Gatifloxacin 0.3%
Solution in Cataract Surgery Patients, 112 Am. Academy Ophthalmology 1992 (2005).

298. In the Harper study, the authors recovered 59 specimens of coagulase-negative
staphylococcal bacteria, which had been retrieved from endophthalmitis patients and preserved
in a specimen bank. Tom Harper et al., In Vitro Efficacy and Pharmacodynamic Indices for
Antibiotics against Coagulase-Negative Staphylococcus Endophthalmitis Isolates, 114 Am.
Academy Ophthalmology 871 (2007). These preserved bacterial specimens were then tested to
determine their susceptibility to antibiotics, including gatifloxacin, and that susceptibility was
then compared to the mean aqueous concentration of the antibiotics observed in other clinical
literature.

299. The study found that topically administered gatifloxacin failed to achieve the
concentration necessary to inhibit the tested bacteria, reaching only 34% of the MICs, and a
mere 2% of the MICoo. Jd. at 873. “[T]he most favorable clinical outcomes occur when the

pharmacokinetic index (Cmax/MICo99) is approximately 8 to 10,” id, meaning that gatifloxacin

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would need to reach a concentration 400 to 500 times higher than it actually did in order to
achieve this ideal clinical outcome. The authors conclude that “the current study suggests that the
fluoroquinolones may not offer ideal prophylaxis against [coagulase-negative staphylococcal
bacteria], the most common organism isolated in postoperative endophthalmitis. The use of
perioperative antibiotics is widespread despite the lack of evidence and controversy surrounding

their use.” Jd. at 874.

(b) Zymar® does not reach sufficient concentrations in the
vitreous humor to effectively prevent endophthalmitis

300. The preceding studies examined the ability of gatifloxacin to reach adequate
concentration in the aqueous humor; however, endophthalmitis is an infection of the whole eye,
and in order to best prevent infection, a topical antibiotic needs to also reach adequate
concentration in the vitreous humor. Allergan’s own training manual, titled “Ocular Infections,”
noted that “the most common site of endophthalmitis is in the vitreous cavity of the eye....” As
such, “[t]he best prophylaxis for postoperative endophthalmitis would be an antibiotic that
reaches therapeutic levels in the vitreous humor.” Patrick Costello et al., Vitreous Penetration of
Topical Moxifloxacin and Gatifloxacin in Humans, 25 Retina 1, 4 (2005). Given gatifloxacin’s
failure to reach sufficient concentration in the aqueous, it is unsurprising that gatifloxacin also
failed to reach sufficient concentration in the vitreous, which is located posterior to the aqueous.

301. In the Costello study, two groups of patients were administered gatifloxacin at
different dosing frequencies; the first group was administered three doses in the hour preceding
cataract surgery, and the second self-administered gatifloxacin four times daily for three days
preceding surgery. Jd. at 2. In both groups, the vitreous concentration of gatifloxacin at the time

of surgery was “lower than the MICoo for the commonest bacterial pathogens.” Jd. at 3. In the

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group administered gatifloxacin immediately prior to surgery, the vitreous concentration
averaged 0.001 ug/ml, and in the extended three-day-dosing group, the vitreous concentration
averaged 0.008 ug/ml. In comparison to the MICo9 of Staphylococcus aureus (MIC: 0.11
ug/ml) and Staphylococcus epidermidis (MICoo: 0.09 ug/ml), the concentrations reached by
gatifloxacin “were 11 to 220 times below their respective MICoo levels.” Jd. at 4. Although the
study does not explicitly note as much, it may be extrapolated that these concentrations were
approximately 110 to 2200 times below the mutant prevention concentration, which is
approximately eight to ten times the MICo9.

302. These results only further the author’s introductory comment that “[t]here is
currently no strong evidence to suggest that the administration of preoperative topical antibiotics
reduces the incidence of postoperative endophthalmitis.” Jd. at 3. Rather, the evidence firmly
supports that pre- and post-surgical administration of gatifloxacin does not prevent post-surgical
endophthalmitis.

(c) There is no evidence to show that Zymaxid® reaches sufficient

concentrations in the aqueous and vitreous humors to prevent
endophthalmitis

303. All the studies examining the concentration reached by gatifloxacin in the
aqueous and vitreous humors concern the 0.3% concentration of the drug (i.e., the concentration
in Zymar®), No published studies examine the concentration reached by Zymaxid®
(gatifloxacin 0.5%) in the aqueous and vitreous humors. However, while the higher
concentration of active ingredient in Zymaxid® undoubtedly allows Zymaxid® to achieve
intraocular concentrations greater than those achieved by Zymar®, given the degree by which
Zymar® failed to achieve the concentrations needed to serve as an effective prophylaxis, it is

almost certain that Zymaxid®’s increased concentration is insufficient to remedy Zymar®’s

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failure. Even if Zymaxid® reached increased concentrations in the aqueous and vitreous that
were perfectly proportionate to its increase in active ingredient relative to Zymar® — i.e., a 66%
increase — the intraocular concentrations reached by Zymaxid® would still fall far short of the
MICo9 and MPC of methicillin-resistant staphylococci in the aqueous humor, as well as MICo9
and MPC of both resistant and non-resistant bacteria in the vitreous humor. As such, available
evidence supports that Zymaxid® is similarly ineffective for prophylaxis of postsurgical
endophthalmitis.

(d) Retrospective analyses do not provide substantial evidence that

use of topical antibiotics in conjunction with cataract surgery
prevents endophthalmitis

304. As described in greater detail infra, Allergan trained its sales representatives to
promote and distribute the Jensen study, Michael K. Jensen, Third-and fourth- generation
fluoroquinolones: Retrospective comparison of endophthalmitis after cataract surgery performed
over 10 years, 34 J, Cataract & Refractive Surgery 1460 (2008), to ophthalmologists as evidence
of Zymar®’s effectiveness for prevention of postsurgical endophthalmitis, as well as its
superiority to Vigamox® for this use.

305. As a retrospective analysis, however, rather than a prospectively designed trial,
the Jensen study was ill-equipped to provide meaningful evidence of the conclusions that
Allergan used it to promote. Retrospective analyses lack randomization among treatment groups,
and it is therefore difficult to determine if observed differences among groups were caused by
the variable of interest (in this case, the topical antibiotic chosen), or if those differences were
instead caused by one of innumerable other variables that influence outcomes. Correlation

between the variable of interest and other unmeasured variables may, and frequently does, result

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in systematic bias, creating the impression that the studied variable drove the observed outcome,
when in actuality that outcome was driven by other unobserved variables.

306. The endophthalmitis rate among cataract surgery patients is affected by numerous
variables, including local bacteria species, the preoperative sterilization regimen, and the skill of
the performing surgeon, among others. The values of many of these variables change with time.
The significant variance in the endophthalmitis rates observed in the Jensen study, even between
adjacent time periods, reasonably implies that a host of factors contributes to patients’ surgical
outcomes. For instance, from March 1, 2001, through May 30, 2002, all studied patients received
the third-generation fluoroquinolone ofloxacin and experienced an endophthalmitis rate of 0.30
cases per 1,000 patients. From July 1, 2002, through August 30, 2003, patients continued
receiving ofloxacin but the observed endophthalmitis rate quadrupled to 1.29 cases per 1,000
patients.

307. This massive variance in endophthalmitis rates made the Jensen study’s
conclusion highly sensitive to the study’s design and (since it was a retrospective study lacking
in predefined outcome measures) to the author’s decisions. In a published comment, James P.
McCulley expressed suspicion that Jensen, “a well-known paid speaker for Allergan,” had
manipulated the study’s design in order to produce a favorable result for Zymar®. James P.
McCulley, Comment, Fluoroquinolones and postoperative endophthalmitis, 35 J. Cataract &
Refractive Surgery 206 (2009). McCulley’s suspicion appeared to be heightened by the study’s
“several serious flaws,” including its “meager statistical analysis,” the opacity of much of its

analysis, and its failure to consider numerous potentially “confounding factors.” Jd.

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(e) The only large prospective trial that examined effectiveness of
a topical antibiotic for prophylaxis of endophthalmitis using a
clinical-outcome endpoint found that a topical antibiotic was at
best minimally effective for the prevention of endophthalmitis

308. Due to the rarity of postsurgical endophthalmitis, prospective clinical trials
examining the prophylactic effectiveness of topical antibiotics require large patient populations,
and would therefore be extremely expensive to conduct. The only prospective clinical trial that
has been conducted was a European study, which compared the effectiveness of topical
administration of an antibiotic, versus intraocular injection of an antibiotic, versus no treatment.
Peter Barry et al., ESCRS study of prophylaxis of postoperative endophthalmitis after cataract
surgery, 32 J. Cataract & Refractive Surgery 407 (2006). 13,698 patients were randomized
among four treatment groups to receive either (1) an intraocular injection of the cephalosporin
antibiotic cefuroxime combined with perioperative topical application of the third-generation
fluoroquinolone levofloxacin; (2) only topical application of levofloxacin; (3) only intraocular
injection of cefuroxime; or (4) no prophylactic treatment. Jd. at 408.

309. The study concluded that there was no statistically significant difference in
endophthalmitis rates between patients who received topical antibiotics and those who received
no prophylactic treatment. Jd. at 409.

310. In contrast, patients who received an intraocular injection of cefuroxime
experienced such superior results that the trial was halted early. Jd. The clear superiority of the
inttaocular route of administration, which results in a higher intraocular concentration of
antibiotic, demonstrates the importance of a high concentration to effective prophylaxis. This in

turn bolsters the proof-of-principle analysis supra, that Zymar® and Zymaxid®’s failure to

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achieve sufficient concentrations in the aqueous and vitreous humors makes them ineffective for
prophylaxis of endophthalmitis.
(f) Numerous experts have concluded that no substantial evidence

supports use of topical antibiotics in conjunction with cataract
surgery for the prevention of endophthalmitis

311. Despite the ostensible ubiquity of studies examining the effectiveness of
gatifloxacin for prevention of postsurgical endophthalmitis, these studies are of such poor quality
that even in aggregate, they fail to provide evidence of the effectiveness of Zymar® or
Zymaxid® for this use. On the contrary, the available evidence supports the conclusion that
Zymar® and Zymaxid® are ineffective for this use. A number of experts, having examined the
whole of the evidence, agree.

312. A widely-cited study from 2002 examined all of the clinical evidence available to
support common methods of prophylaxis of endophthalmitis. Thomas A. Ciulla et al., Bacterial
Endophthalmitis Prophylaxis for Cataract Surgery, 109 Ophthalmology 13 (2002). It determined
that the only prophylactic measure to receive an intermediate clinical recommendation of “B,”
meaning the recommendation was found to be “moderately important to clinical outcome,” was
administration of pre-operative povidone-iodine, a very cheap antiseptic available since the mid-
1950s. Id. at 17. All topical antibiotics received the lowest recommendation of “C,” meaning
“cannot be definitely related to clinical outcome.” Jd. at 18.

313. Another review concluded similarly that there was lacking evidence of topical
antibiotics’ effectiveness as prophylaxis for endophthalmitis. Thomas J. Liesegang,
Perioperative Antibiotic Prophylaxis in Cataract Surgery, 18 Cornea 383, 390 (1999). The study
noted that, given the limited ability of topical antibiotics to maintain sufficiently high

concentrations in the anterior of the eye, administration of topical antibiotics “serves mainly to

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alter conjunctival flora.” Jd. “Conjunctival flora” refers to bacteria located on the membrane of
the eye, which would generally be responsive to the alternative prophylaxis of povidone-iodine.
Even so, Liesegang concluded any potential usefulness of topical antibiotics for this purpose is
limited to administration immediately preceding the operation: “there is no rationale in the
general or ophthalmic literature supporting the use of postoperative antibiotics, especially after
24 h[ours].” Jd. at 393.

314. An editorial written by Oliver Schein in 2007, four years after the introduction
and widespread adoption of Zymar®, determined that there was still “no sound evidence base”
for the regular use of topical antibiotics pre- and post-cataract surgery. Oliver D. Schein,
Prevention of Endophthalmitis after Cataract Surgery: Making the Most of the Evidence, 114
Ophthalmology 831, 831 (2007). As the basis for his conclusion, Schein referred not only to the
dearth of any credible affirmative evidence of topical antibiotics efficacy for this use, but also to
the results of two large European studies (one of which is discussed supra), which “both suggest
that perioperative topical antibiotics confer minimal or no benefit.” Jd.

315. These unbiased experts therefore reached the same conclusion that was presented
in the preceding argument, that there is inadequate evidence to support routine use of Zymar®
and Zymaxid® for prevention of endophthalmitis. However, as described below, Allergan
misleadingly skewed the available clinical evidence to promote that Zymar® and Zymaxid® had
been shown to be effective for this use.

2. Allergan Used Paid “Advertorials” to Promote Zymar® to
Ophthalmologists for the Prevention of Endophthalmitis

316. Allergan used “advertorials” to promote Zymar® off-label as effective for the

prevention of endophthalmitis in conjunction with cataract surgery, and to recommend that

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ophthalmologists therefore prescribe Zymar® as an integral part of patients’ pre- and post-
surgical regimens. Advertorials are Allergan-sponsored supplements to industry trade magazines
that include articles written by paid Allergan consultants or by ghostwriters under the name of
paid Allergan consultants. These articles were, in effect, promotional pieces for Zymar® and
other Allergan products, and routinely presented selective or otherwise misleading depictions of
the available clinical evidence. However, because these promotional articles were presented in a
format that mirrored that of the overall trade magazine, and because the authors’ financial
relationships with Allergan were disclosed either not at all or only in fine print, the advertorials
presented a facade of scientific merit, which made them all the more effective as promotional
pieces for off-label use of Allergan’s products.

317. In April 2006, Allergan sponsored a supplement to EyeWorld, which describes
itself as the “News Magazine of the American Society of Cataract & Refractive Surgery,” an
influential and academic association of ophthalmic surgeons. The paid supplement included the
article Gatifloxacin Effectively Prevents Endophthalmitis by Luis E. Fernandez de Castro, in
which de Castro summarized a study that he conducted regarding the effectiveness of Zymar® to
prevent endophthalmitis in New Zealand white rabbits. In the study, which was unpublished at
the time, rabbits were administered saline solution in one eye and gatifloxacin in the other, and
then injected with a non-antibiotic-resistant form of Staphylococcus aureus. Eyes treated with
gatifloxacin “demonstrated significantly less inflammation, infection, and culture positive
endophthalmitis compared to those of the control animals.” The authors extrapolated that “[t]his
indicates that topical prophylaxis with gatifloxacin can reach levels in the anterior chamber that
can reduce bacterial numbers,” although they did not state what the actual intraocular

concentration were or how those concentrations compared to the MICo9 for the bacteria

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responsible for most cases of endophthalmitis. The authors also did not note that a number of
dissimilarities between rabbit and human eyes, including rabbits’ larger conjunctival sac, thinner
cornea, reduced tear production, and lower blink rate, all result in higher drug penetration and
concentration than in the human eye. As such, the article’s omission to reference the already
published Kim study, see § 297 — which was conducted in human subjects and found that the
aqueous concentration of gatifloxacin was significantly lower than the MICoo for
fluoroquinolone-resistant bacteria, as well as significantly lower than the mutant prevention
concentration for fluoroquinolone-sensitive bacteria — is particularly glaring. The supplement
did not disclose whether Dr. de Castro or any of the other authors received consulting or
speaking fees or other financial compensation from Allergan.

318. In August 2006, Allergan sponsored another supplement to EyeWorld titled
Optimizing Cataract Outcomes. The supplement included an article by John Wittpenn, M.D.,
titled Preventing Endophthalmitis, which began, “The single best management of
endophthalmitis is prevention,” and stated that “numerous studies have demonstrated that both
gatifloxacin (Zymar, Allergan) and moxifloxacin (Vigamox) achieve aqueous concentrations
higher than the MICo9 levels for organisms commonly implicated in ocular infections.” In
support of this statement, the article cited four trials, although only one of these (McCulley)
actually measured the aqueous concentration of gatifloxacin. Contrary evidence is not
referenced. The article concluded that “we have better drugs today to prevent endophthalmitis
than we had 10 years ago.” The supplement also included continuing medical education credit,
which included the question, “Which of the following is true regarding post-surgical
endophthalmitis?” Based on the information in Dr. Wittpenn’s article, the answer is (b):

“Fourth-generation fluoroquinolones such as gatifloxacin and moxifloxacin attain intraocular

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levels high enough to kill typical pathogens.” Dr. Wittpenn received “a retainer, ad hoc fees, or
other consulting income from Allergan, Inc.’ Even though ACCME and FDA guidelines
prohibited the supplement from being promotional in nature because CME credit was offered,
the supplement was nonetheless blatantly promotional, as well as off-label.

319. In February 2008, Allergan sponsored an insert to Cataract & Refractive Surgery
Today titled Best of Source: Superior Outcomes through Refractive and Cataract Education. The
leading article by Eric D. Donnenfeld, M.D., was titled Methicillin-Resistant Staphylococci in
Cataract and Refractive Surgery. As Donnenfeld noted in the article, methicillin-resistant
Staphylococcus aureus and Staphylococcus epidermidis account for the majority of
endophthalmitis outbreaks in conjunction with cataract surgery. In response to this threat,
Donnenfeld recommended that cataract surgeons prescribe gatifloxacin. He cited the Moshirfar
study, Majid Moshirfar et al. Endophthalmitis after Uncomplicated Cataract Surgery with the
Use of Fourth-Generation Fluoroquinolones, 114 Ophthalmology 686 (2007), as “the first
clinical evidence that cataract patients’ incidence of endophthalmitis was approximately 50%
lower for those who received gatifloxacin 0.3% compared with moxifloxacin ophthalmic
solution 0.5%...” Donnenfeld did not note that the Moshirfar study was a retrospective analysis,
meaning its methodology was therefore significantly flawed; that it did not include a placebo
comparator; and, most misleadingly (given Donnenfeld’s claim that gatifloxacin resulted in 50%
fewer cases of endophthalmitis compared to moxifloxacin) that there was no statistically
significant difference between treatment groups. Donnenfeld nonetheless concluded that “[u]ntil
I see a human endophthalmitis study with different results, I will consider this one the best guide
for choosing an antibiotic,” thereby foregoing any discussion of whether antibiotics were

effective in the first place. In fact, Donnenfeld presents the ESCRS study, which is the best
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evidence that topical antibiotics are ineffective for treatment of endophthalmitis, see {J 308-10,
as evidence of the general effectiveness of antibiotics for prevention of endophthalmitis, noting
that the study showed a “78% reduction of endophthalmitis with intracameral cefuroxime.”
However, he misleadingly omits that the study demonstrated no comparative benefit for topical
antibiotics, which were the topic of Donnenfeld’s article. This same Donnenfeld article was
again included in a March 2008 supplement to Cataract & Refractive Surgery Today titled
Premium Cataract Surgery (Not just for premium IOLs.).
3. Allergan Trained Its Sales Representatives To Falsely and

Misleadingly Promote That Zymar® and Zymaxid® Are Effective for
Prevention of Endophthalmitis

320. Recognizing that Zymar® and Zymaxid®’s on-label markets for bacterial
conjunctivitis were relatively small, Allergan trained its sales representatives to promote both
drugs for prevention of endophthalmitis, despite evidence that they were ineffective for this use.

321. For example, in 2006, Allergan paid Kathy Osvath from The Wellington Group,
Inc., a medical education and communications company located at 390 Claymont Drive,
Earlysville, Virginia, to develop training materials, which were then provided to the entire
Zymar® sales force. Allergan used these materials to provide sales representatives with
background on endophthalmitis, in preparation for their promotion of Zymar® for that use to
cataract surgeons. The materials explained that endophthalmitis is

an ocular infection that occurs when bacteria or toxins make their
way to the inside of the eye during the surgical procedure.
Although endophthalmitis is rare (estimated to range between 5
and 10 cases per 10,000) the rates appear to be increasing, possibly

due to the increase in clear corneal incisions. Half of all affected
patients end up with marked loss of visual acuity.

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Acknowledging the lack of clinical evidence supporting use of Zymar® for prevention of
endophthalmitis, the materials nonetheless stated that its use was “generally believed” to be
appropriate for this use:

Because endophthalmitis is generally caused by organisms that are

normally found within the patient’s own flora (two strains of

Staphylococcus: aureus and epidermidis, commonly found in the

eyelids, are responsible for 80% to 90% of all endophthalmitis

cases), and because it is so difficult to perform well-controlled

studies to investigate the cause of endophthalmitis, health care

providers have little evidence-based data on how best to prevent

the development of the condition. However, it is generally believed

that_a combination of topical antibiotic and_anti-inflammatory

agents should be administered to the patient _before, during, and

after_ocular surgery, accompanied by the implementation of a

number of perioperative and environmental precautions
(emphasis added). Again, despite the lack of supporting evidence, Allergan reinforced that “the
current practice is to use appropriate-spectrum topical antibacterial agents such as
fluoroquinolones [like Zymar®] both before and after surgery to help prevent postoperative
infections such as endophthalmitis and keratitis.”

322. As part of his new-hire training for Zymar®, Relator Wood was trained on
multiple types of eye infections, including endophthalmitis. A PowerPoint presentation from this
training noted that endophthalmitis “[o]ften occurs as a complication of cataract surgery.”
Relator Wood’s “Basic Training” materials posed the question, “Why Have Ophthalmologists
Moved to Fourth-Generation Fluoroquinolones?” like Zymar® and Zymar®. In response, sales
representatives were trained that Zymar® had “distinct advantages” in the prevention of
endophthalmitis.

323. During Relator Wood’s new-hire training, managers trained sales representatives

that the two bacteria responsible for most cases of postoperative endophthalmitis are

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Staphylococcus epidermidis and Staphylococcus aureus, and that Zymar® effectively eradicates
both pathogens. Following the instruction of their trainers, sales representatives then engaged in
role play exercises during which they practiced conveying that same information to physicians,
then asking the physicians, “Why wouldn’t you use Zymar® to prevent endophthalmitis?” This
was a key message in sales representatives’ detailing of Zymar®, and sales representatives
practiced delivering it as part of role play exercises at numerous sales meetings that Relator
Wood attended while employed by Allergan.

324. The instructions provided to sales representatives were in violation of Allergan’s
own Compliance Manual, which states that “[a]ll Allergan promotional programs, activities and
associated materials must be consistent with FDA-approved product labeling.” Compliance
Manual at 11. The Compliance Manual also directs that all free samples must be provided with
the intention that they will be used on-label:

Allergan must provide all samples with the intent that the health

care professional will administer the drug for uses consistent with

our FDA-approved product labeling. Samples should not be given

to any health care professional who is reasonably certain to use the

drug in an off-label manner.
Compliance Manual at 98. Contrary to its own directive, Allergan instructed its sales
representatives to provide Zymar® and Zymaxid® samples to numerous physicians who
Allergan was aware performed exclusively cataract surgery.

4. Allergan Selectively Used the Jensen Study to Misleadingly Promote

That Zymar® and Zymaxid® Are Effective for Prevention of
Endophthalmitis

325. The Jensen study was a retrospective analysis, conducted by a regular paid
speaker for Allergan, that concluded Zymar® was both effective and superior to Vigamox® for

prevention of endophthalmitis in conjunction with cataract surgery. As described supra in part 1

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of this section, J 304-07, the study was greatly flawed, and Allergan’s selective use of it to
promote Zymar® as effective for prevention of endophthalmitis was highly misleading.

326. Nevertheless, Allergan trained its sales representatives to use this and other
Washington Legal Foundation (“WLF”) reprints as a key part of their sales details to
ophthalmologists. Relator Wood’s notes from a training session, reflecting what sales
representatives were instructed, describe off-label WLF reprints such as the Jensen study as “1/2
[representatives’] main selling points.” During role play exercises at multiple sales meetings,
representatives practiced, under the direction of their managers, proactively using the Jensen
study to promote Zymar® as both effective and superior to Vigamox® for prevention of
endophthalmitis in conjunction with cataract surgery.

327. Ina presentation to the Allergan sales force dated January 19, 2009, Sales Trainer
Michael Sweeney directed sales representatives to use the Jensen study to promote Zymar® as
superior to Vigamox® for the prevention of endophthalmitis: “This article can be used both as
evidence of clinical superiority for 4" generation fluoroquinolones versus 3™ generation
fluoroquinolones, as well as significant evidence that Zymar® (gatifloxacin) is superior to
Vigamox® (moxifloxacin) in preventing endophthalmitis.”

328. By not providing sales representatives with any information to the contrary,
managers implied to representatives that the Jensen study represented definitive evidence of
Zymar®’s effectiveness for this off-label use. Sales representatives were not provided with, did
not include in their role plays, and did not inform ophthalmologists that additional evidence
showed that Zymar® was not effective for prophylaxis of endophthalmitis. As such, Allergan’s
promotional messages not only violated FDA regulations prohibiting proactive off-label

promotion, but also violated FDA regulations requiring fair balance.

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329. In addition to training sales representatives to incorporate the off-label message of
the Jensen study into the verbal promotion of Zymar®, Allergan shipped thousands of reprints of
the Jensen study, which sales representatives were instructed to proactively provide to cataract
surgeons, whether or not those surgeons initiated discussion of the use of Zymar® for prevention
of endophthalmitis. Based on directions received from sales and marketing management,
Allergan’s sales representatives have provided thousands of copies of the Jensen Study to health
care professionals throughout the country. This is just one example of Allergan’s illegal use of
reprints in the off-label promotion of Zymar®.

330.  Allergan’s use of the Jensen study to proactively promote Zymar® for off-label
use violated the Company’s own compliance policy, which restricts sales representatives’ use of
journal reprints (including “WLF Reprints”) in the promotion of its drug products:

e “Allergan representatives must only disseminate pre-approved reprints. Do
not detail any part of the reprint for the health care professional, including the
title or the names of the authors.

e “Allergan representatives must provide reprints in their original envelope. Do
not open, highlight or add detail to reprints.

e “Sales representatives may not use either on-label or off-label reprints to
prompt a physician to ask an off-label question or to start an off-label
discussion.”

Compliance Manual at 14.

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5. Allergan Promoted Zymar® and Zymaxid® to Cataract Surgeons,
Who Do Not Treat Bacterial Conjunctivitis

331. In furtherance of its Fraudulent Marketing Scheme, Allergan provided its sales
representatives with “call lists” of ophthalmologists to whom representatives were instructed to
promote Zymar®. The ophthalmologists on these call lists included cataract and refractive
surgeons who Allergan knew did not treat Zymar® and Zymaxid®’s on-label indication of
bacterial conjunctivitis, but rather, as Allergan again knew, would prescribe the drugs as a result
of Allergan’s off-label promotion for the prevention of endophthalmitis. Signaling the centrality
of this off-label promotional message to Allergan’s overall promotion of Zymar® and
Zymaxid®, representatives’ call lists did not even include primary care physicians, who treat the
majority of cases of the drugs’ on-label indication of bacterial conjunctivitis.

332. By directing ophthalmology sales representatives to dedicate their promotional
efforts to physicians who prescribed Zymar® and Zymaxid® almost exclusively for off-label
use, Allergan reinforced the message that sales representatives learned during training, that they
were expected to promote Zymar® and Zymaxid® off-label for the prevention of
endophthalmitis in conjunction with cataract surgery.

6. Allergan Incentivized Its Sales Representatives to Promote Zymar®
and Zymaxid® Off-Label

333. To further incentivize sales representatives as part of its Fraudulent Marketing
Scheme, Allergan implemented quota and bonus programs that rewarded sales representatives
for promoting Zymar® and Zymaxid® off-label, to physicians who Allergan knew only
prescribed Zymar® and Zymaxid® off-label. The quota and bonus programs were instituted and
have been applied to sales representatives, district managers, regional managers, and vice

presidents. Sales-based bonuses and pay increases constitute a significant portion of total

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compensation for Allergan’s sales personnel, and Allergan knows that its quota and bonus
programs create a strong incentive for sales representatives to promote Zymar® and Zymaxid®
off-label and for sales managers to ensure that sales representatives do so.

334.  Allergan’s quota system required that ophthalmology sales representatives
promoted Zymar® and subsequently Zymaxid®, to all physicians on their call lists regardless of
specialty. Bonus payments were rewarded based on sales of Zymar® or Zymaxid®. Because, as
Allergan knew, the physicians on representatives’ call lists did not and would not prescribe
Zymar® or Zymaxid® for on-label use, the only way that sales representatives could achieve the
targets set by Allergan, and subsequently receive incentive payments, was to promote Zymar®
and later Zymaxid® for off-label use.

335. Allergan set sales representatives’ quotas based, in part, not just on the quantity of
Zymar® and Zymaxid® already prescribed in their territory but on the total quantity of all anti-
infectives, including Vigamox®. Because, as Allergan knew, the vast majority of Vigamox®
prescriptions written by ophthalmologists were for off-label use, sales representatives were
required to promote Zymar® and Zymaxid® off-label in order to “convert” these Vigamox®
prescriptions to Zymar® or Zymaxid®, and thereby reach their sales quota.

336. It is largely the result of Allergan’s incentive scheme that sales representatives
long promoted Zymar®, and later Zymaxid®, off-label for the prevention of endophthalmitis.

7. Allergan Used Paid Speakers to Conceal and Extend Its Off-Label
Promotion of Zymar® and Zymaxid®

337. Allergan knew that under FDA laws and regulations it was not permitted to use
promotional speaker programs to initiate discussion of off-label uses of Zymar® or Zymaxid®.

According to its own Compliance Manual, such promotional programs “must be consistent with

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FDA-approved product labeling and must be accurate, true and balanced.” Compliance Manual
at 76. Off-label information may only be shared “in response to an unsolicited request for such
information from a health care professional.” Jd. at 77.

338. Nevertheless, as part of its Fraudulent Marketing Scheme, Allergan routinely used
paid experts to influence ophthalmologists to prescribe Zymar® and Zymaxid® off-label for the
prevention of endophthalmitis in conjunction with cataract surgery. These paid speakers were
known as “Key Opinion Leaders,” meaning they were physicians who influenced the opinions
and prescribing practices of their peers.

339. Before Allergan paid a physician to give a promotional presentation for Zymar®
or Zymaxid®, that physician was required participate in Allergan-sponsored training. Tellingly,
these training programs were coordinated by Allergan’s sales and marketing department, not its
medical affairs department. The training sessions typically occurred at resort-style locations and
included extensive instruction on off-label uses of Zymar® or Zymaxid®, including for the
prevention of endophthalmitis in conjunction with cataract surgery. Speakers-to-be were paid to
participate in these off-label training sessions.

340. Allergan selected the topics for its speakers’ presentations. Although it had its
own approved slide deck that it provided for speakers’ use, Allergan routinely permitted speakers
to incorporate their own slides, which often described off-label uses and data. Paying physicians
to give these off-label promotional presentations for Zymar® and Zymaxid® was a common and
widely-accepted sales practice at Allergan.

341. For example, Dr. Mitchell Jackson, founder and Medical Director of Jackson Eye
in Lake Villa, Illinois, and a Key Opinion Leader and consultant to Allergan, was a regular

speaker for Allergan at numerous promotional programs throughout the country. Jackson was an

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ophthalmologist specializing in cataract and refractive surgeries who gave on average fifty to
one-hundred speaker programs for Allergan each year. He was paid $2000 per program.

342. For example, on December 8, 2009, Jackson gave a program at Johnny’s
Downtown Restaurant, 1406 West 6th Street, Cleveland, Ohio, to eight ophthalmologists. The
primary topic of the program was Acuvail®, but during the presentation, as was his regular
practice, Jackson discussed his routine off-label use of Zymar® pre- and post-operatively for
prophylaxis of endophthalmitis in cataract and refractive surgeries. Jackson’s off-label
promotion was proactive, i.e., not in response to a question from the audience.

343. Despite their official responsibility for doing so, during his time at Allergan,
Relator Wood never witnessed another sales representative or manager object to a speaker’s
proactive discussion of off-label content during a paid promotional presentation. Were he to have
objected to a speaker’s proactive discussion of off-label content, Relator Wood believes that he
would have been reprimanded by his manager, and potentially fired.

IX. ALLERGAN’S ILLEGAL MARKETING AND KICKBACK ACTIVITIES

CAUSED THE SUBMISSION OF FALSE CLAIMS TO FEDERAL PROGRAMS
AND QUI TAM STATES

344. Defendant’s Fraudulent Kickback Scheme was successful and played a substantial
role in securing hundreds of thousands of prescriptions for Allergan’s drugs in exchange for
Allergan’s distribution of free drug products and supplies. As a result, improper and illegal
claims were submitted for reimbursement by Government Programs, and those claims were
reimbursed.

345. Defendant Allergan’s Fraudulent Marketing Scheme served its intended purpose
of inducing doctors to write off-label prescriptions for Zymar® and Acular LS® and inducing

the submission of claims for reimbursement of those prescriptions by Government Programs. As

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Allergan intended, Government Programs subsequently did, in fact, reimburse those claims for
off-label uses.

346. At least in part as a result of Allergan’s illegal sales and marketing practices,
Zymar® and Acular LS® have been heavily used off-label for the treatment of Medicaid,
Medicare Part D, Veteran’s Administration, and other Federal Program participants.

347. Allergan knew, and expected, that its schemes would result in Government
Program reimbursements for its drugs. Allergan closely tracked the various third party payors
that reimbursed its drug products. These sources included government payers such as Medicaid
and Medicare. For the Allergan drugs that were reimbursed by Government Programs under
retail and/or mail-order pharmacy benefit programs, Allergan’s unlawful schemes resulted in
misbranded or tainted prescriptions that were presented to these pharmacies. These pharmacies
then submitted these false or fraudulent prescription claims to the federal or state program
responsible for approving and facilitating reimbursement of the false claims.

348. In the case of Medicaid, retail pharmacies were engaged in providing
pharmaceutical services to Medicaid recipients throughout the United States. Many of the retail
pharmacy services are provided under contractual agreements with the Qui Tam States through
their Medicaid provider licensure program, whereby the pharmacies agree to provide
pharmaceuticals to the Qui Tam States’ Medicaid patients, and the Qui Tam States in turn
reimburse the pharmacies for their costs plus a fixed dispensing fee meant to provide the
pharmacies with a profit for providing services to Medicaid patients.

349. Pharmacies periodically (e.g., once per day) submit their Medicaid claims for
reimbursement by “batching them” and submitting them electronically to the Qui Tam States (or

in some cases, claims are initially submitted to Medicaid Managed Care plans). These claims

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include the claims for off-label prescriptions for the Allergan drugs as well as claims tainted by
Allergan’s illegal kickbacks. As such, the pharmacies unwittingly make false certifications and
false claims directly to the Qui Tam States concerning Medicaid reimbursement on a daily (or
periodic) basis.

350. As part of each electronic claim, the pharmacies affix their unique Medicaid
provider identification numbers, which serve as electronic stamps indicating that (as Medicaid
providers) they are in compliance with all applicable federal and state laws. The pharmacies are
then reimbursed on a monthly basis by the Qui Tam States for all approved claims.

351. The Qui Tam States are not financially responsible for paying one-hundred
percent of the pharmacies’ claims for reimbursement. Medicaid is a joint federal-state program
that provides health care benefits for certain groups, primarily low-income and disabled persons.

352. The federal involvement in Medicaid includes providing matching funds and
ensuring that the states comply with minimum standards in the administration of the program.
The federal share of states’ Medicaid payments, known as the Federal Medical Assistance
Percentage (““FMAP”), is based on each individual state’s per capita income compared to the
national average. Among the states, the FMAP is at least 50 percent, and in some instances, as
high as 77 percent. Through the FMAP process, state Medicaid administrators obtain the Federal
Government’s share of the pharmacies’ reimbursements by submitting a quarterly Form 64 to
CMS. For this reason, claims submitted to state Medicaid agencies, including those in the Qui
Tam States, are presented to the Federal Government within the meaning of the FCA.

353. The federal government pays Medicaid claims through a continuing line of credit
certified by the Secretary of the Treasury in favor of the state payee. 42 C.F.R. § 430.30(d)(3),

(4). The federal government authorizes the state payee “to draw Federal funds as needed to pay

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the Federal share of disbursements.” 42 C.F.R. § 430.30(d)(3). The state can draw down on
those funds only to pay the Medicaid claims of health care providers. 42 C.F.R. § 430.30(d). The
funds made available to the state thus remain federal funds, in a Federal Reserve account, until
they are drawn by the state and used to pay the pharmacies’ claims.

354. The Federal Government also “approves,” within the meaning of the FCA, the
claims submitted and paid through the Medicaid program. When a state presents its Form 64
(i.e., the quarterly report of actual expenditures) to CMS, the amounts of any fraudulent claims
the state paid will be included in those reports. Based on the information in the reports, CMS
determines and approves whether the claims that the state paid with federal funds were
appropriate. If CMS determines that certain claims paid by the state were improper, CMS may
recoup the amount of the erroneously expended funds by reducing the amount of money
provided to the state during the next quarter. Because the Form 64 constitutes the United States’
means for approving and paying the amount of federal funds expended by the state, these reports
overstate the amount of federal funds to which the state was entitled by the amount fraudulently
paid.

355. These are, therefore, false records or statements knowingly caused to be made or
used by Allergan to get false claims paid and approved by the United States in connection with
the Medicaid program.

356. In the case of Medicare, retail pharmacies were engaged in providing
pharmaceutical services to Medicare Part D recipients throughout the United States. Many of the
retail pharmacy services are provided under contractual agreements with Medicare Part D
contractors, whereby the pharmacies agree to provide pharmaceuticals to Medicare-eligible

patients, and the Part D contractors reimburse the pharmacies for their costs plus a fixed

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dispensing fee meant to provide the pharmacies with a profit for providing services to Medicare
patients.

357. In 2006, with the advent of Medicare Part D, for beneficiaries dually eligible for
both Medicaid and Medicare programs, the pharmacies’ false claims for reimbursement were
submitted to contractors designated by and under contract with the United States as Medicare
Prescription Drug Plans (“PDPs”). Allergan’s schemes inflated Medicare Advantage Prescription
Drug Plans (““MA-PDPs”) and PDP drug costs, thereby causing increased Medicare Part D drug
costs.

358. Effective January 1, 2006, Medicare Part D prescription drug coverage for
eligible senior enrollees has been provided through MA-PDPs and stand-alone PDPs
administered by private companies, usually health insurers or pharmacy benefit managers. These
Part D programs are subsidized by the federal government, which covers the cost of drug
payments. The false or fraudulent drug claims were then included in drug utilization data
submitted by plan sponsors to CMS through Prescription Drug Event (“PDE”) records.

359. These false claims embedded within the PDE records were then paid or approved
by CMS pursuant to the Medicare Prescription Drug, Improvement, and Modernization Act of
2003. CMS makes payments to plan sponsors on a monthly basis through estimated subsidy
payments and, where needed, at year-end as a result of the payment reconciliation process. The
reconciliation process compares estimated subsidy payments made to plan sponsors throughout
the year with the cost data submitted by plan sponsors through PDE records to determine any

additional residual payments required by CMS to be paid to MA-PDPs and PDPs.

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360. CMS payments made through the Part D subsidy process, or as a result of
additional residual payments to MA-PDPs and PDPs, included payments for false claims that
were knowingly caused to be submitted as a result of Allergan’s unlawful schemes.

361. Allergan knew that its unlawful schemes would cause third parties to create
materially false records, statements, or claims that would be used to improperly obtain
reimbursement or payment from Government Programs, including Medicaid and Medicare.

X. ALLERGAN CAUSED GOVERNMENT PROGRAM PROVIDERS TO FALSELY
CERTIFY COMPLIANCE WITH THE LAW

362. As described in this Second Amended Complaint, Allergan not only caused
pharmacies to submit false claims, Allergan also caused physicians and pharmacies to falsely
certify their compliance with applicable laws which require express and implied certifications of
compliance with conditions of payment.

363. Allergan also caused physician-providers to falsely certify their compliance in
connection with their receipt of kickbacks, including free drugs, supplies, and related
inducements in connection with Allergan’s promotion of dry eye practices.

364. As to Medicaid, state Medicaid provider agreements include requirements that
participating pharmacies and physician providers comply with all laws, rules, and regulations
governing the Medicaid program, including compliance with the AKS. These agreements also
include provisions that the pharmacies agree that the submittal of any claim by or on behalf of
the pharmacy will constitute a certification that the medical services for which payment is
claimed were furnished in accordance with the requirements of Medicaid, and that the

information submitted in, with, or in support of the claim is true, accurate, and complete.

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365. The Medicaid program expressly prohibits reimbursement for claims that are for
off-label indications — i.e., are not medically necessary — and claims submitted as a result of
kickbacks. As alleged in this Second Amended Complaint, Allergan’s illegal schemes caused the
Medicaid-participating pharmacies and physician-providers to falsely certify their compliance
with all laws, rules, and regulations governing the Medicaid program, including the anti-
kickback laws, which prohibit an entity from knowingly and willingly offering, paying,
soliciting, or receiving any remuneration to induce the referral of individuals or the purchase of
items or services for which payment may be made under Medicare, Medicaid, or other federal or
state health programs. These certifications were express, were a condition of payment or
reimbursement by Government Programs, and were material to the government’s decision to pay
or reimburse for the Allergan drugs.

366. As to Medicare, physician-providers must sign agreements in which they agree to
abide by all applicable Medicare laws and regulations, and certify their understanding that
reimbursement of claims under Medicare is conditioned on compliance with the AKS. These
certifications are also included in the claim forms themselves, see, e.g., Forms CMS-855A and
CMS855I. Thus, reimbursement for Medicare requires compliance with the Anti-Kickback
Statute.

367. As to Medicare for the pharmacies and Medicare Part D contractors, they are
required to abide by and certify compliance with all laws, rules, and regulations governing the
Medicare program. See e.g. 42 C.F.R. § 423.505(k)(3). When submitting claims data to CMS for
payment, Part D plans (and their subcontractors) must certify that the claims data is true and
accurate to the best of their knowledge and belief, which includes the absence of any false claims

such as those prohibited by the False Claims Act. As alleged in this Second Amended
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Complaint, Allergan’s illegal schemes caused the Medicare Part D plans to falsely certify their
compliance with all laws, rules, and regulations governing the Medicare program, including the
False Claims Act and the anti-kickback statute, 4 U.S.C. § 1320a-7b(b). These certifications
were express, were a condition of payment or reimbursement by Government Programs, and
were material to the government’s decision to pay or reimburse for the Allergan drugs.

368. Allergan knowingly caused pharmacies and Part D plans to falsely certify
compliance with applicable laws, rules, and regulations, which caused state and federal
Government Programs to reimburse or pay for Allergan’s drugs not otherwise eligible for
reimbursement or payment.

XI. ALLERGAN ACKNOWLEDGED ITS VIOLATION OF THE ANTI-KICKBACK
STATUTE AND CHANGED ITS BUSINESS PRACTICES

369. Inaseries of steps — in late 2008, June 2010, and finally again in January 2011
— Allergan announced it was changing its long-standing business practices of providing free
CCKs, and free drug shipments, out of concern that they were illegal.

370.  Allergan’s first change occurred in late 2008, when it announced to its sales force
via conference calls that it would cease providing CCKs to ophthalmologists, since providing the
kits could be viewed as an inducement to use Allergan products. According to a PowerPoint
presentation, dated November 13, 2008, which Allergan presented to its sales force regarding the
decision (a) CCKs would no longer be available; (b) sales representatives would no longer be
able to assist physicians to create "patient instruction sheets," although Allergan continued to pay
for them, as well as the free prescription pads, through the JG Pads website; and (c) large
quantities of free drugs would only be available for the top 1,000 accounts through "Direct

Sample Ship" agreements (the 1,000-account limit was quickly dropped due to push-back from

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sales personnel). In the presentation, Allergan acknowledged that its long-standing business
practice of providing free CCKs to ophthalmologists was unlawful: "[P]hysician's acceptance of
free kits can be interpreted as being in violation of Federal Anti-Kickback statutes."

371. In lieu of the free kits, Allergan announced its new policy was to charge its
ophthalmologist customers a fee for each kit or part thereof. However, Allergan continued its
business practice of proving free drug shipments, customized prescription pads, customized patient
instruction sheets, and free consulting and reimbursement assistance.

372. Then, as described above, on or about June 18, 2010, Allergan announced to its
sales force that Allergan would no longer continue to provide free drug shipments to physicians
because the practice may be interpreted by the government as an illegal inducement. As a result,
Allergan reduced the quantity of free drugs it provided physicians to conform with the industry
standard of providing limited “samples,” including ones of Zymaxid®, as it sought to convert all
Zymar® patients to Zymaxid®.

373. This announcement was reinforced at the June 21, 2010, Allergan National Sales
Meeting in Memphis, Tennessee, which Relator Wood attended. There, Allergan’s Vice
President of Sales, Joseph Schultz elaborated on Allergan’s discontinuance of free drug
shipments. Also in attendance at this meeting were Zymaxid® Product Manager Luke
Greenwalt, Relator Wood’s manager Jon Weidner, and sales representatives Kimberly Mautte,
Phillip Edmonson, Kim Johnson, Scott Meredith, Farley Dillinger, Kate Bergan, and Alison
Grumet.

374. At the Zymaxid® Breakout Workshops, the sales force, including Relator Wood,
was trained on, and practiced role plays to (1) inform doctors of Allergan’s abrupt

discontinuation of providing free drugs, including Pred Forte® samples; (2) anticipate and

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counter strong objections to the same; and (3) convince cataract surgeons to begin prescribing
Zymaxid® rather than soon-to-be generic Zymar® for prevention of endophthalmitis.

375. Allergan did not, however, change its practice of providing free customized
prescription pads and patient instruction sheets. In addition, Allergan continued its policy of
providing free or reduced-cost consulting services and reimbursement assistance to induce
prescriptions of its eye care drugs, including Restasis®.

376. On Monday, January 17, 2011, Allergan informed its sales representatives that
they would no longer be sampling, detailing, or supporting Pred Forte®, Acuvail®, and
Zymaxid®, and would no longer be paid a bonus or commission on these products. Allergan
explained to its sales force that the promotion was “not profitable,” and claimed that, after
paying for royalties, samples, rebates, and JG Pads printing, the net profit was no longer worth
the investment in resources or time. That admission signals both the centrality and effectiveness
of Allergan’s illegal provision of CCKs and mass quantities of drugs to its overall promotional
strategy — that is, it was only the provision of inducements to physicians that made promotion
of Acuvail® and Zymaxid®, and before them Acular LS® and Zymar®, profitable.

XII. ALLERGAN FALSELY CERTIFIES ITS COMPLAINCE WITH CALIFORNIA
HEALTH AND SAFETY CODE SECTIONS 119400 AND 119402

377. Despite its adoption of a compliance program, since 2005, Allergan has falsely
certified its compliance with the State of California’s “Comprehensive Compliance Program,”
which requires an effective compliance program, as required by the PhRMA Code, and
California Health and Safety Code §§ 119400 and 119402.

378. Allergan has publicly represented that it is committed to establishing and

maintaining a comprehensive and effective compliance program in accordance with California

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Health and Safety Code §§ 119400 and 119402 and the "Compliance Program Guidance for
Pharmaceutical Manufacturers," published by the Office of Inspector General, U.S. Department
of Health and Human Services (the "HHS-OIG Guidance"). Allergan has misleadingly boasted
that its U.S. Healthcare Law Compliance Program is one of the key components of its
commitment to the highest standards of corporate conduct.

379. Allergan’s California Health and Safety Code compliance declarations falsely
stated that on or before July 1, 2005, Allergan had managed its operations and dealings with
California medical or health professionals in compliance with its Comprehensive Compliance
Program and California Health and Safety Code §§ 119400 and 119402.

380. Allergan’s declarations of compliance have been misleading and deceptive in
certifying that Allergan was not aware of any violations of its Comprehensive Compliance
Program relating to California medical or health professionals on or after 2005 “that have not
been addressed and corrective action taken.” Allergan’s declaration is an admission that it had
not been in compliance, as it had needed to address “violations” requiring “corrective action.”

381. Allergan’s also artfully drafted its 2010 re-certification of compliance to foist
blame for compliance violations onto its employees. Allergan’s claim that rogue employees bore
responsibility for compliance violations was untrue: as described in this Second Amended
Complaint, Allergan’s senior management itself designed and instructed sales representatives to
implement the Fraudulent Kickback and Marketing Schemes. Nonetheless, Allergan’s
certification expressly blames its employees for any violations, while concealing management’s
responsibility for the fraudulent schemes, which the Company only began to modify in late 2008:

“By making this declaration, Allergan is not asserting that in all

circumstances it can prevent individual employees from conduct
that deviates from its policies. Allergan expects employees to

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comply with its Comprehensive Compliance Program and has
made a good faith effort to enforce its Comprehensive Compliance
Program, prevent violations, and address any inappropriate
conduct that may occur.”

382. Allergan’s certification of compliance with California Health and Safety Code §§
119400 and 119402 was false, misleading, and intended to cover up Allergan’s corporate-wide
policies as described in this Second Amended Complaint. That false and misleading certification
caused the State of California to pay or reimburse for Allergan’s drug products, which were
otherwise ineligible for payment or reimbursement.

XII. ALLERGAN’S FRAUDULENT KICKBACK SCHEME VIOLATED

ALLERGAN’S OBLIGATIONS UNDER THE MEDICAID BEST PRICE
STATUTE

383. As described above, Allergan’s Fraudulent Kickback Scheme resulted in the
provision of multiple free Allergan drug products through its CCK program and Sample
Shipment Agreements. These were not “samples” provided to educate ophthalmologists on the
use of drug products, as contemplated by the Prescription Drug Marketing Act. Rather, Allergan
supplied ophthalmologists with large shipments of its drug products, intending that these
shipments would induce ophthalmologists to prescribe more or different Allergan products to
their patients. These large shipments included 5 ml “trade-size” bottles and large orders of 1 ml
bottles of Acular®, Acular LS®, Acuvail®, Zymar®, Pred Forte®, Optive® and Refresh®
brand products, which were sent directly to ophthalmologists during the relevant time periods
alleged herein, contingent on the ophthalmologists’ prescribing of additional Allergan drug

products.

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384. Despite the large size of these shipments of Allergan drug products (which
Allergan referred to as “samples”), ophthalmologists were never billed or invoiced for these
products.

385. Not only did Allergan provide samples to induce sales, for certain of its “high
prescribers,” as described ‘herein, Allergan provided free trade-size bottles of its drug products,
which were sufficient to treat cataract patients for their entire regimen of care. As such, these
trade sizes were hardly intended to allow the doctor and patient to “try out” the Allergan
products; rather, they were “free goods” and were clearly intended to induce the prescribing of
other Allergan drug products.

386.  Allergan’s Fraudulent Kickback Scheme was a multi-faceted marketing program
that supplied large shipments of free drugs (along with free shipping), free physician supplies,
and free practice management consulting services to Allergan’s physician, surgery center, and
hospital customers.

387. But for Allergan’s provision of free drugs, supplies, and services, Allergan’s
customers would have purchased at least some of these drugs, supplies, and services. The free
drugs were thus a discount or price concession on the Allergan drugs which were intended to
(and did) induce prescribing of the Allergan drug products, and/or were contingent on future
discounts.

388. Cataract surgeons use Allergan’s Zymar® in different ways, as it may be
administered pre-operatively, peri-operatively, and/or post-operatively. During the relevant time
period, Zymar was used or was made available for use during cataract surgeries. For example,

certain physician customers requested from Relator to have Zymar 5 ml samples on hand to keep

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in the operating room at their respective ambulatory surgery centers. These surgery centers
include Cleveland Eye Clinic, Brecksville Surgery Center, and Lippy Surgery Center.

389. The precise drugs that Allergan provided as part of its inducement scheme, as
well as which prescriptions it received in return, varied from practitioner to practitioner. The
constant among all the various iterations of inducements and prescriptions written in exchange
for those inducements was just that: they were all inducements, and as such, Allergan’s provision
of free drugs was always contingent on the recipient’s agreement to write concomitant
prescriptions for Allergan drug products. The following were common scenarios, although not
the only scenarios, of drugs that Allergan provided and the prescriptions that were written in
return:

a. Allergan provided free Pred Forte® (10 ml) and Acular LS® (1 ml),
contingent on the health care professional writing prescriptions for Acular
LS® (5 ml) and Zymar® (5 ml). The overall course of treatment in this
scenario would entail pre-operative use of Zymar® for three days, as well
as post-operative use of Pred Forte® for two to four weeks, Acular LS®
for one to four weeks, and Zymar® for seven days.

b. Allergan provided free Pred Forte® (10 ml) and Acular LS® (5 ml),
contingent on the health care professional writing a prescription for
Zymar® (5 ml). The overall course of treatment in this scenario would
entail pre-operative use of Zymar® for three days, as well as post-
operative use of Pred Forte® for two to four weeks, Acular LS® for two

to four weeks, and Zymar® for seven days.

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c. Allergan provided free Pred Forte® (10ml) and Zymar® (5 ml),
contingent on the health care professional writing a prescription for
Acuvail® (30 single-use vials, 0.4 ml each). The overall course of
treatment in this scenario would entail pre-operative use of Zymar® for
three days, as well as post-operative use of Pred Forte® for two to four
weeks, Acuvail® for two to four weeks, and Zymar® for seven days.
After introducing Acuvail® to replace Acular LS®, Allergan changed its
provision of drugs to Dr. Paul Turgeon (Eye Centers of Ohio, Canton,
Ohio) from scenario (b) to scenario (c). While Dr. Turgeon continued to
receive inducements from Allergan to prescribe its drugs, under the new
arrangement, he received free Zymar® instead of Acular LS®, and in
exchange prescribed Acuvail® instead of Zymar®.

d. Allergan provided free Pred Forte® (5 ml) and Acular LS® (1 ml),
contingent on the health care professional writing prescriptions for Acular
LS® (5 ml) and Zymar® (5 ml). The overall course of treatment in this
scenario would entail pre-operative use of Zymar® for three days, as well
as post-operative use of Pred Forte® for two to four weeks, Acular LS®
for two to four weeks, and Zymar® for seven days. Dr. Richard Lehrer
(Ohio Eye Alliance, Canton and Alliance, Ohio) received this regimen.
Dr. Lehrer, who split his prescriptions evenly between Allergan and Alcon
products, preferred the 5 ml rather than 10 ml size of Pred Forte®, because

he believed it prevented patients from using too much. The 1 ml samples

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of Acular LS® were given to some patients immediately after surgery in
the Alliance surgery center, as were samples of Zymar® on occasion.

€. Allergan provided free Pred Forte® (10 ml) and Acular LS® (1 ml),
continent on the health care professional writing prescriptions for Acular
LS® (5 ml) and Zymar® (5 ml). The overall course of treatment in this
scenario would entail pre-operative use of Zymar® for three days, as well
as post-operative use of Pred Forte® for two to four weeks, Acular LS®
for two to four weeks, and Zymar® for seven days. This was the most
common scenario, and notable participants included Drs. William Wiley,
Shamik Bafna, and Thomas Chester of the Cleveland Eye Clinic (multiple
locations in Ohio) and Dr. Zafar Sheik of Warren Ophthalmology,
Warren, Ohio. The ophthalmologists occasionally used Zymar®
intraoperatively and frequently requested, and were provided with,
samples of Zymar® (5 ml) to keep in the operating rooms of their
ambulatory surgery centers (Brecksville Surgery Center for the Cleveland
Eye Clinic, and the Lippy Surgery Center for Warren Ophthalmology). In
one instance, Lilly Surgery Center called Relator Wood to request 5 ml
samples of Zymar® for intraoperative use. After obtaining the physician’s
signature at the clinic, Relator delivered the samples to the surgery center,
where members of the staff asked him how they could purchase Zymar®
directly from Allergan, so they would not have to be entirely reliant on the

samples from Allergan. Area Manager Jon Weidner instructed Relator to

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continue providing Zymar® samples to the surgery center instead of
informing them how to purchase the drug directly.

f. Allergan provided free Pred Forte® (10 ml), Zymar® (1 ml), and
Acuvail® (5 single-use vials, 0.4 ml each), contingent on the health care
professional writing a prescription for Zymar® (5 ml). The overall course
of treatment in this scenario would entail pre-operative use of Zymar® for
three days, as well as post-operative use of Pred Forte® for two to four
weeks, Zymar® for seven days, and Acuvail® for seven days (only in
high-risk patients or those for which it was otherwise necessary). Drs.
Wang, Yakubov, Aey, Wilson, and Erzurum of Eye Care Associates
(Youngstown, Ohio) participated in this scenario. Eye Care Associates
had previously prescribed Alcon’s Vigamox® in exchange for free
samples of Omnipred® (10 ml), but decided to begin prescribing Zymar®
after Alcon ceased providing free samples of Omnipred® in April 2010.
The inducements provided by Allergan precisely mirrored those that had
previously been provided by Alcon.

390. As the above bundling examples illustrate, Allergan knew and expected that a
substantial number of the prescriptions written by ophthalmologists for Allergan products was
the direct result of Allergan’s Fraudulent Kickback Scheme.

391. According to the Medicaid national rebate agreement, of which Allergan is a
signatory, Average Manufacturer Price (“AMP”) must include the free samples that Allergan
provided contingent on the prescribing of additional Allergan drugs. AMP is calculated as “Net

Sales divided by the number of units sold, excluding free goods (i.e., drugs or any other items

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given away, but not contingent on any purchase requirements).” See Medicaid Sample Rebate
Agreement at 1, available at https://www.cms.gov/MedicaidDrugRebateProgram/downloads
/rebateagreement.pdf (emphasis added).

392. The reality of the nature of the work of Allergan’s territory managers, as it has
been carried out for decades, is that the relevant “purchasers” are not the end-users (i.e., the
patients) of Allergan’s drugs but, rather, the prescribing physicians on whom the Allergan
territory managers call. That is because the patient is not at liberty to choose personally which
prescription pharmaceutical he or she desires. As such, the patient cannot be fairly characterized
as the “buyer.” Instead, it is patient’s physician, who is vested with both a moral and legal duty
to prescribe medication appropriately, who selects the medication and is the appropriate focus of
the sales promotion. The “sale” of Allergan’s drug products is thus the exchange of non-binding
commitments between the Allergan territory manager and the physician at the end of each
successful call. Through such commitments, Allergan will provide its products (induced through
ample kickbacks described herein) and the doctor will then prescribe; for all practical purposes,
this is a sale.

393. Allergan has itself explicitly recognized that its customer is the physician. In the
PowerPoint presentation, titled “2009 External Disease Update,” which announced the
discontinuation of CCKs to the entire ophthalmology sales force, Allergan continually referred to
physicians as its customers — e.g., “[w]e will sell the Patient Care Kits ... to our customers for
fair market value,” “[c]ustomers will have the opportunity to choose from two kit
configurations,” “[a] customer can now go online directly at GJ Pads to personally design their

Patient Instruction Sheets.” In context, each of the preceding statements plainly refers to the

physician.

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394. Because Allergan appreciated who the “real” buyer has been, it structured its sales
force and its marketing tactics to accommodate this unique sales environment. When an Allergan
territory manager details a doctor, he or she attempts to obtain the absolute maximum
commitment from his or her “buyer”—a non-binding commitment from the ophthalmologist to
prescribe one of Allergan’s assigned products.

395. Allergan thus promoted its drugs for sale to health care professionals, and
provided abundant quantities of free samples to induce such sales.

396. Allergan’s calculation of the AMP for the “sale” of these drugs to health care
professionals, which omitted its free drugs contingent on prescribing additional Allergan drugs,
and which Allergan reported to Medicaid, was false. Section 1927(c)(1)(C)Gi)() of the Social
Security Act specifies that Best Price must include free goods that are contingent on any
purchase requirement. Thus, only those free goods that are not contingent on any purchase
requirements may be excluded from Best Price.

397. Allergan’s provision of free products contingent on sales to ophthalmologists
should have been reported as the new Best Price on Zymar®, Acular LS®, Pred Forte®, Acular,
Acuvail®, and Optive® and Refresh® brand eye drops. Based upon available Medicaid payment
records, Medicaid did not receive Allergan’s Best Price, which Allergan was required to report to
Medicaid, but did not.

398. Pursuant to the Best Price Agreement, the “Best Price” Allergan was obligated to
report should have been “inclusive of cash discounts, free goods, volume discounts, and rebates.

...” Allergan was obligated to adjust the “Best Price” “if cumulative discounts, rebates, or
other arrangements subsequently adjust the prices actually realized.” As such, Allergan was

obligated to report the “free goods” alleged herein, which it did not.
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399. Since it began in 1990, the Best Price reporting system has essentially operated as
an honor system, under which manufacturers like Allergan are trusted to report their accurate
Best Prices on a quarterly basis and then pay the states the correct Medicaid rebates. From the
outset, CMS conducted only limited checks for reporting errors in manufacturer-reported drug
prices and only reviewed price-determination methods when manufacturers requested
recalculations of prior rebates. Allergan was thus on its honor to fairly report Best Price and
AMP consistent with the law and the rebate agreements it had entered into with the Government.

400. At all times material hereto, Allergan had active Medicaid rebate agreements.
Allergan’s Medicaid rebate labeler codes under the Best Price Program were 00023 and 11980.

401. At all material times hereto, Allergan participated in the Medicaid Drug Rebate
Program, 42 U.S.C. § 1396r-8, which is part of the federal Medicaid Program, Title XIX of the
Social Security Act, 42 U.S.C. §§ 1396-1396v. As a participant in the Medicaid Drug Rebate
Program, pursuant to its rebate agreement with HCFA, now known as the Centers for Medicare
and Medicaid Services (“CMS”), its drug products were covered by state Medicaid plans that
provided medical assistance for outpatient prescription drugs. 42 U.S.C. §§ 1396a(10)(A),
1396d(a)(12), and 1396r-8(a)(1). Under the Medicaid Drug Rebate Program and its rebate
agreement with HCFA, Allergan generally agreed: (i) to report quarterly to HCFA its true AMP
and, for single source and innovator multiple source drugs, the “Best Price” for its drug products,
as defined by 42 U.S.C. §§ 1396r-8(k)(1) and 1396r-8(c)(I)(C); and (ii) to pay quarterly accurate
rebates to each state based on the product of (a) the units of each dosage form and strength paid
for under the State Medicaid plan during the rebate period as reported by the state, and (b) the

greater of the difference between the average manufacturer price and “Best Price,” or a minimum

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rebate percentage of the average manufacturer price, as further defined in 42 U.S.C. § 1396r-
8(c)()).

402. At all material times, Allergan participated in the 340B Program, 42 U.S.C. §
256b, which is part of the Public Health Service (“PHS”) Act, 42 U.S.C. §§ 201-300gg-92.
Under the 340B Program and their agreements with HHS, Allergan generally agreed that the
amount that it required the “covered entities,” as set forth under § 340B(a)(4) of the PHS Act, to
pay for drug products would not exceed the AMP, as reported to HCFA in the previous calendar
quarter, minus a specified rebate percentage that was derived in part from the Medicaid rebate
paid by Allergan in the preceding calendar quarter for each drug, as further described in 42
USS.C. § 256b(a).

403. Medicaid’s reimbursements of the Allergan free drug products provided to
ophthalmologists during the relevant period were as follows:

A. Zymar®: From 2003-2009, Medicaid paid $38,437,801.73. Unit prices
ranged as follows: $8.01 to $14.30. (The Unit Price figures do not include
several outlier quarters where the data seems to be incorrect (i.e., the 3
quarter of 2006 where the Unit Price of Zymar® is $215.52)

B. Acular LS®: From 2004-2009, Medicaid paid $32,473,608.41. Unit
prices ranged as follows: $10.59 to $20.88.

C. Acular®: From 2003-2007, Medicaid paid $59,967,789.35. Unit prices
ranged as follows: $10.28 to $20.72.

D. Acuvail®: Since® Acuvail was approved in July of 2009, the CMS
website only lists Medicaid sales for Q3 and Q4 of 2009. Total Medicaid

Reimbursements for 2009 (Q3-Q4): $28,500.36. Unit price was $5.17.
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E. Pred-Forte®: From 2003-2009, Medicaid paid $2,334,052.50. Unit prices
ranged as follows: $3.10 to $4.78.
F, Optive®: From 2007-2009, Medicaid paid $ 132,643.98. Unit prices
ranges as follows: $0.32 to $0.64.
G. Refresh®: From 2005-2009, Medicaid paid $1,167,711.61 (Figure does
not include the 3" quarter of 2006, which looks to be outlier information).
Unit prices ranges as follows: $0.31 to $0.36.
H. Refresh Plus®: From 2005-2009, Medicaid paid $1,280,532.66. Unit
prices ranged as follows: $0.26 to $0.44.
I. Refresh Tears®: From 2006-2009, Medicaid paid $1,411,581.28. Unit
prices ranged as follows: $0.37 to $0.52.
J. Refresh PM®: From 2005-2009, Medicaid paid $439,548.18. Unit prices
ranged as follows: $1.85 to $2.54.
Relator Wood has provided the Government with full tables for each drug for each available
quarter during the relevant time period.

404. Medicaid thus did not receive the Best Price (i.e., the “free goods” price) that
Allergan was providing to ophthalmologists. Allergan knowingly (or with reckless disregard for
the truth) made, used, or caused to be made or used, false records or statements to get false or
fraudulent claims paid or approved by the Government. Specifically, for each quarter noted
above, and continuing through the present, Allergan knowingly (or in reckless disregard of the
truth) submitted false quarterly statements to CMS of its Best Prices on the Allergan products to
reduce improperly its rebate obligations to the States under the Best Price Program. Allergan’s

false quarterly statements of its Best Prices caused the States to submit false and inflated

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submissions to the Federal Government for reimbursement of Medicaid expenditures in violation
of 31 U.S.C. § 3729(a)(2), (a)(7).

405. Allergan was required to certify its compliance with applicable law, including the
Medicaid Rebate program. Allergan’s knowing failure to comply renders its certifications false,
either expressly or impliedly.

406. The false reports of Best Price by Allergan trigger liability under the FCA and its
state counterparts. Under the Best Price statute, Allergan was to report its truthful prices to the
Secretary, who in turn reported these prices to the states, who then invoiced Allergan the amount
of Best Price rebates that were owing. Under the FCA and the State Qui Tam counterparts,
Allergan is liable even if it did not make a false statement itself directly to the state “Medicaid
agency,” so long as a direct or indirect result of its conduct was causing a false statement to be
made to the state Medicaid agency.

407. Because Allergan knowingly, and in reckless disregard for the truth, made false
reports of Best Price or the AMP to the Secretary, then the “unit rebate amounts” or “URAs,”
which represent the products of calculations performed on AMP’s and Best Prices which were
Allergan’s responsibility to report, were also false. As such, (1) Allergan knowingly, and in
reckless disregard for the truth, made, used, or caused to be used Best Price or AMP statements
or records made to CMS to conceal, avoid, or decrease an obligation to the United States; (2) the
statements or records were false; and (3) Allergan knew that the statements or records were false.

408. By virtue of the false or fraudulent claims that Allergan knowingly caused to be
presented, the United States and the Qui Tam States have suffered actual damages and are

entitled to recover treble damages plus a civil monetary penalty for each false claim.

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XIV. ALLERGAN’S FRAUDULENT KICKBACK SCHEME VIOLATED THE STARK
LAW

409. The Medicare/Medicaid Self-Referral Statute, 42 U.S.C. § 1395nn ef seg., known
as the “Stark Law,” prohibits a pharmaceutical manufacturer from paying remuneration to
physicians for referring Medicare or Medicaid patients to the manufacturer for certain
“designated health services,” including outpatient prescription drugs, where the referring
physician has a nonexempt “financial relationship” with that manufacturer. 42 U.S.C. §
1395nn(a)(1), (h)(6).

410. Allergan’s financial relationships included written contracts with referring
physicians to provide free shipments of CCKs, written contracts with referring physicians to
provide Allergan drug shipments, agreements with referring physicians to provide ECBA
consulting services, and agreements with referring physicians to provide Allergan Access®, all at
no charge.

411. Allergan’s conduct as described in this Second Amended Complaint repeatedly
violated the Stark Law, which in turn resulted in violations of the False Claims Act, because
Allergan’s unlawful remuneration and services to prescribing physicians with which it had a
financial relationship induced those physicians to prescribe Allergan’s drug products.

412. The Stark Law provides that Allergan shall not cause to be presented a Medicare
or Medicaid claim for prescriptions in violation of the Stark Law. The Stark Law also prohibits
payment of claims for prescriptions rendered in violation of its provisions. 42 U.S.C.
§1395nn(a)(1), (g)(1).. Thus all Medicare and Medicaid payment of claims for prescriptions

tainted by Allergan’s Stark Law violations were ineligible for payment.

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413. In addition, Allergan’s conduct as described in this Second Amended Complaint
caused health care providers, including pharmacies and PDPs, to falsely certify compliance with
the Stark Law, in violation of the False Claims Act.

XV. ALLERGAN’S RETALIATION AGAINST RELATOR WOOD

414. On July 6, 2010, Allergan terminated Relator Wood’s employment in retaliation
for his whistle-blowing activities. Prior to July 6, 2010, Relator Wood received favorable
performance reviews, and had never been subject to any disciplinary action. Rather than act on
Relator Wood’s reports of compliance violations, Allergan chose to use Relator Wood as a
scapegoat to cover Allergan’s long-standing illegal conduct.

415. Relator Wood’s termination was a direct result of Allergan corporate policies that
valued profits over lawful behavior. In accordance with these policies, in April 2010, Relator
Wood prepared a written proposal, embodied in a simple informal term sheet, for Novus Clinic, a
group of ophthalmologists, in order to win back Novus’ business from rival Alcon, since Alcon
was discontinuing its free provision of the topical steroid Omnipred®. The written term sheet
was similar in form to term sheets that Relator Wood had prepared in the past, that other
Allergan sales representatives had prepared, and that Relator Wood’s own managers had
approved. Allergan would later refer to Relator Wood’s proposal as a “home-made sales piece.”

416. The Novus Clinic proposal included terms that were entirely consistent with
existing Allergan policy that fostered and condoned the Fraudulent Marketing and Fraudulent
Kickback Schemes. As to the Fraudulent Marketing Scheme, the proposal included the
promotion of Zymaxid® for off-label use in cataract surgeries. As to the Fraudulent Kickback

Scheme, the the term sheet proposed that for every Zymar® prescription Novus would write, it

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would receive a free 10 ml bottle of Pred Forte® and a free 1 ml bottle of Zymar®, in addition to
a supply of pre-printed Zymar® prescription pads.

417. Relator Wood’s Area Manager, Jon Weidner, had previously approved similar
verbiage related to the distribution of free Allergan drugs, and was present for many negotiations
of these terms with ophthalmology clinics, similar to the negotiations with the Novus Clinic. As
such, Relator Wood was only doing what his manager had in the past encouraged and approved.

418. Shortly after giving the proposal to Novus Clinic, Relator Wood was notified that
an Alcon sales representative had lodged a complaint against him, based on this offer to provide
free drugs to Novus Clinic. Alcon had itself only ceased using free drugs to induce physicians to
prescribe its ophthalmic drugs in conjunction with cataract surgery in January 2010, and the
Alcon sales representative’s complaint was likely promoted by the recognition that, without
being able match Allergan’s offers of kickbacks to physicians, he was placed at a competitive
disadvantage.

419. Relator Wood was summoned to attend conference call on June 15, 2010, with
three Allergan lawyers: Damon Burrows, Kimberly Denham, and Ryan Brown. During this call,
Relator Wood was asked questions about the Novus proposal. Relator Wood responded that he
had merely prepared a summary proposal for Novus Clinic, that the proposal was entirely
consistent with Allergan’s schemes to “win” business, and that he was only following company
policy, including directions he had been given by his manager Jon Weidner and others.

420. The next day, June 16, 2010, during a field ride with his Area Manager, Jon
Weidner, Relator Wood discussed the conference call where he was summoned to discuss the
Novus Clinic proposal. Relator Wood then showed Weidner the Novus Clinic proposal sheet.

Weidner responded that the sheet did not look like a home-made sales piece, but rather looked

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like a summary of Relator Wood’s discussions with Novus Clinic to promote Allergan products,
and was in line with Allergan’s long-standing business practices. According to Weidner, Relator
Wood’s only mistake was to put the Allergan proposal in writing and in an email. As such,
Weidner predicted that Relator Wood would only receive a written warning from Allergan.

421. Relator Wood later obtained information that a sales representative in Salt Lake
City, Utah, Matt Nielsen, had also been accused of creating a “home-made sales piece.” Nielsen
was apparently fired by Allergan (along with his manager, who was also fired), but was offered
“hush” money by Allergan due to the fact that he had a recorded voice mail from his manager
directing him to engage in this practice. Nielsen also apparently provided Allergan’s Human
Resources and Compliance Departments with documents that evidenced Allergan’s illegal and
fraudulent schemes.

422. Allergan’s continuing policy of bribing ophthalmologists, while rival Alcon had
only recently discontinued the same policy, created an environment in which its principal
competitor could accuse Allergan sales representatives of violating the law, though they were
only following their managers’ instructions. Relator Wood was thus unfairly caught in middle of
the Allergan-Alcon competition and Allergan’s own illegal practices. These illegal practices
were the subject of considerable spin by Allergan trainers. Notably, Allergan misled Relator
Wood and its sales force into believing that providing the free kickbacks to physicians described
in this complaint was lawful, as long as the sales representatives themselves believed that it
benefitted the patient.

423. Allergan thus unfairly singled out Relator Wood as a scapegoat to use as an

excuse to cover up its own widespread, unlawful conduct.

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424. Allergan’s written compliance rules encourage employees to express any
concerns that they may have about certain Allergan practices without fear of retaliation. In
reliance on this purported protection, Relator Wood reported his concerns about the illegal
sampling and kickback scheme to Allergan’s Compliance Department, as well as to the
company’s Human Resources department.

425. Prior to his termination on July 6, 2010, Relator Wood relied upon Allergan’s
reporting policy and provided the aforementioned Allergan personnel with specific information
regarding sampling directives and activities that he believed, in good faith, were in violation of
Allergan’s policies and federal law insofar as the company had for many years (i) provided
inducements to health care professionals with the intent to influence these persons to recommend
or purchase health care products that may be reimbursed by a federal health care program;
(ii) provided something to health care professionals in exchange for any implicit or explicit
agreement or understanding to use, purchase, order, recommend, prescribe or dispense any
Allergan product; and (iii) improperly used prescription drug samples other than in response to a
licensed practitioner’s written request.

426. In response to his complaints, on July 6, 2010, Relator Wood’s supervisors
retaliated against him by terminating his employment.

427. It is no coincidence that Relator Wood was terminated just after he internally
reported his managers and other personnel for violating company policy and federal laws relating
to illegal sampling and kickbacks.

428. Plainly, Allergan sought to (and did) intimidate, punish, and retaliate against
Relator Wood for his lawful and proper decision to follow company policy and report what he

(accurately) considered to be illegal directions and activities by his supervisors and Allergan. As

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such, the company improperly retaliated against Relator Wood as a result of his whistle-blowing
activity.

429. Asa direct result of Allergan’s unlawful retaliation, Relator Wood has suffered,
and continues to suffer, severe emotional distress.

430. Relator Wood was discharged, threatened, harassed, and discriminated against by
Allergan because of his lawful acts in investigating and reporting compliance violations. As
such, Relator Wood is entitled to reinstatement, two times the amount of his back pay, interest on
the back pay, and compensation for all damages allowed by law, including but not limited to
special damages, and damages for emotional distress, sustained as a result of his unlawful
termination.

COUNTI
(Violation of False Claims Act, 31 U.S.C. § 3729(a)(1); 31 U.S.C. § 3729(a)(1)(A))'

431. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

432. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to the
United States of America false or fraudulent claims for payment or approval for the Allergan
drugs, in violation of 31 U.S.C. § 3729(a)(1); 31 U.S.C. § 3729(a)(1)(A).

433. As a result of Defendant’s actions, as set forth above, the United States of

America has been, and may continue to be, severely damaged.

 

' To the extent wrongdoing occurred after May 20, 2009, the Second Amended Complaint should be deemed to
include violations of the Federal False Claims Act’s recent amendments.

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COUNT II
Violation of False Claims Act, 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B 2

   

434. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

435. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to the payment of false or fraudulent claims, in
violation of 31 U.S.C. § 3729(a)(2); 31 U.S.C. § 3729(a)(1)(B).

436. The United States of America, unaware of the falsity of the claims and/or
statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,
paid and may continue to be paying or reimbursing for the Allergan drugs, including Zymar®
prescribed to patients enrolled in Federal Programs.

437. As a result of Defendant’s actions, as set forth above, the United States of
America has been, and may continue to be, severely damaged.

COUNT III
(Violation of False Claims Act, 31 U.S.C. § 3729(a)(3); 31 U.S.C. § 3729(a\(1)(C))°

438. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.
439. As detailed above, Defendant knowingly conspired, and may still be conspiring,

with the various health care professionals identified and described herein (as well as other

 

? To the extent wrongdoing occurred after May 20, 2009, the Second Amended Complaint should be deemed to
include violations of the Federal False Claims Act’s recent amendments.
* To the extent wrongdoing occurred after May 20, 2009, the Second Amended Complaint should be deemed to
include violations of the Federal False Claims Act’s recent amendments.

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unnamed co-conspirators) to commit acts in violation of 31 U.S.C. §§ 3729(a)(1) & (a)(2); 31
U.S.C. §§ 3729(a)(1)(A) & (a)(1)(B). Defendant and these health care professionals committed
overt acts in furtherance of the conspiracy as described above.

440. As a result of Defendant’s actions, as set forth above, the United States of
America has been, and may continue to be, severely damaged.

COUNT IV
(Violation of False Claims Act, 31 U.S.C. § 3729(a)(7); 31 U.S.C. § 3729(a)(1(G))

441. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

442. As alleged in detail above, Allergan knowingly avoided or decreased its
obligation to pay or transmit money to the Government. Specifically, Allergan: (i) made, used, or
caused to made or used, a record or statement to conceal, avoid, or decrease an obligation to the
United States; (ii) the records or statements were in fact false; and (iii) it knew that the records or
statements were false.

443. As a result of Defendant’s actions as set forth above, the United States of America
has been, and may continue to be, severely damaged.

COUNT V
(Violation of False Claims Act, 31 U.S.C. § 3730(h))

444. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.
445. Asa result of Relator’s lawful acts in furtherance of protected activities in the

investigation and reporting of fraud, Defendant retaliated against Relator.

 

* To the extent wrongdoing occurred after May 20, 2009, the Second Amended Complaint should be deemed to
include violations of the Federal False Claims Act’s recent amendments.

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446. Relator’s termination of employment was a direct result of Defendant’s retaliatory
acts, causing Relator to suffer, and continue to suffer, substantial financial and emotional damage
in an amount to be proven at trial.

COUNT VI
(Violation of California False Claims Act)

447. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

448. This is a civil action brought by Relator, on behalf of the State of California,
against Defendant under the California False Claims Act, Cal. Gov’t Code § 12652(c).

449. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims for payment or approval, in violation of Cal. Gov’t Code § 12651(a)(1).

450. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to false or fraudulent claims, in violation of Cal.
Gov’t Code § 12651(a)(2).

451. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made

or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

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money to the State of California, or its political subdivisions, in violation of Cal. Gov’t Code
§ 12651(a)(7).

452. The State of California, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state and state subdivision funded health insurance
programs,

453. Asa result of Defendant’s actions, as set forth above, the State of California
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT VII
(Violation of Colorado Medicaid False Claims Act)

454. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

455. This is a civil action brought by Relator, on behalf of the State of Colorado,
against Defendant under the Colorado Medicaid False Claims Act, Colo. Rev. Stat. § 25.5-4-
306(2).

456. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented, or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Colorado, or its political subdivisions, false or fraudulent
claims for payment or approval, in violation of Colo. Rev. Stat. § 25.5-4-305(a).

457. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

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made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to false or fraudulent claims, in violation of Colo.
Rev. Stat. § 25.5-4-305(b).

458. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Colorado, or its political subdivisions, in violation of Colo. Rev. Stat.
§ 25.5-4-305(f).

459. The State of Colorado, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state and state subdivision funded health insurance
programs.

460. Asaresult of Defendant’s actions, as set forth above, the State of Colorado and/or
its political subdivisions have been, and may continue to be, severely damaged.

COUNT VIII
(Violation of Connecticut False Claims Act)

461. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

462. This is a civil action brought by Relator, on behalf of the State of Connecticut,
against Defendant under the Connecticut False Claims Act for Medical Assistance Programs,

Conn. Gen. Stat. § 17b-301d.

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463. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented, or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Connecticut, or its political subdivisions, false or fraudulent
claims for payment or approval under a medical assistance program administered by the
Department of Social Services, in violation of Conn. Gen. Stat. § 17b-301b(1).

464. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to secure the payment or approval by the State of
Connecticut, or its political subdivisions, false or fraudulent claims under a medical assistance
program administered by the Department of Social Services, in violation of Conn. Gen. Stat.
§ 17b-301b(2).

465. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Connecticut, or its political subdivisions, under a medical assistance
program administered by the Department of Social Services, in violation of Conn. Gen. Stat.
§ 17b-301b(7).

466. The State of Connecticut, or its political subdivisions, unaware of the falsity of
the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-

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related management services for recipients of state and state subdivision funded health insurance
programs.

467. Asa result of Defendant’s actions, as set forth above, the State of Connecticut
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT IX
(Violation of Delaware False Claims and Reporting Act)

468. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

469. This is a civil action brought by of Relator, on behalf of the State of Delaware,
against Defendant under the Delaware False Claims and Reporting Act, Del. Code Ann. tit. 6,
§ 1203(b).

470. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Delaware, or its political subdivisions, false or fraudulent
claims for payment or approval, in violation of Del. Code Ann. tit. 6, § 1201(a)(1).

471. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claims paid or approved by the State
of Delaware, or its political subdivisions, in violation of Del. Code Ann. tit. 6, § 1201(a)(2).

472. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

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made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Delaware, or its political subdivisions, in violation of Del. Code Ann. tit. 6,
§ 1201(a)(7).

473. The State of Delaware, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health care programs funded by the State of
Delaware.

474. Asa result of Defendant’s actions, as set forth above, the State of Delaware
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT X
(Violation of District of Columbia False Claims Act)

475. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

476. This is a civil action brought by Relator, on behalf of the District of Columbia,
against Defendant under the District of Columbia False Claims Act, D.C. Code § 2-308.15(b).

477. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented, or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the District, or its political subdivisions, false or fraudulent claims for

payment or approval, in violation of D.C. Code § 2-308.14(a)(1).

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478. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
used or caused to be used, and may continue to use or cause to be used, false records or
statements to get false claims paid or approved by the District, or its political subdivisions, in
violation of D.C. Code § 2-308.14(a)(2).

479. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made or used, or caused to be made or used, and may still be making or using or causing to be
made or used, false records or statements to conceal, avoid, or decrease an obligation to pay or
transmit money to the District, or its political subdivisions, in violation of D.C. Code § 2-
308.14(a)(7).

480. The District of Columbia, or its political subdivisions, unaware of the falsity of
the claims and/or statements made by Defendant, and in reliance upon the accuracy of these
claims and/or statements, paid, and may continue to pay, for prescription drugs and prescription
drug-related management services for recipients of health insurance programs funded by the
District.

481. Asa result of Defendant’s actions, as set forth above, the District of Columbia
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XI
(Violation of Florida False Claims Act)

482. Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

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483. This is a civil action brought by Relator, on behalf of the State of Florida, against
Defendant under the Florida False Claims Act, Fla. Stat. § 68.083(2).

484. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Florida, or its agencies, false or fraudulent claims for payment
or approval, in violation of Fla. Stat. § 68.082(2)(a).

485. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claims paid or approved by the State
of Florida, or its agencies, in violation of Fla. Stat. § 68.082(2)(b).

486. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Florida, or its agencies, in violation of Fla. Stat. § 68.082(2)(g).

487. The State of Florida, or its agencies, unaware of the falsity of the claims and/or
statements made by Defendant, and in reliance on the accuracy of these claims and/or statements,
paid, and may continue to pay, for prescription drugs and prescription drug-related management
services for recipients of health insurance plans funded by the State of Florida or its agencies.

488. Asaresult of Defendant’s actions, as set forth above, the State of Florida and/or

its agencies have been, and may continue to be, severely damaged.

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COUNT XII
(Violation of Georgia False Medicaid Claims Act)

489. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

490. This is a civil action brought by Relator, on behalf of the State of Georgia, against
Defendant pursuant to the Georgia False Medicaid Claims Act, Ga. Code Ann. § 49-4-168.2(b).

491. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to the
Georgia Medicaid program false or fraudulent claims for payment or approval, in violation of
Ga. Code Ann. § 49-4-168.1(a)(1).

492. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claims paid or approved by the
Georgia Medicaid program, in violation of Ga. Code Ann. § 49-4-168.1(a)(2).

493. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Georgia, or its political subdivisions, in violation of Ga. Code Ann. § 49-4-

168.1(a)(7).

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494. The State of Georgia, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

495. As aresult of Defendant’s actions, as set forth above, the State of Georgia and/or
political subdivisions have been, and may continue to be, severely damaged.

COUNT XI
(Violation of Hawaii False Claims Act)

496. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

497. This is a civil action brought by Relator, on behalf of the State of Hawaii, against
Defendant under the Hawaii False Claim Act, Haw. Rev. Stat. § 661-25.

498. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Hawaii, or its political subdivisions, false or fraudulent claims
for payment or approval, in violation of Haw. Rev. Stat. § 661-21(a)(1).

499. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made and used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claims paid or approved by the State

of Hawaii, or its political subdivisions, in violation of Haw. Rev. Stat. § 661-21(a)(2).

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500. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Hawaii, or its political subdivisions, in violation of Haw. Rev. Stat. § 661-
21(a)(7).

501. The State of Hawaii, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state funded health insurance programs.

502. Asaresult of Defendant’s actions, as set forth above, the State of Hawaii and/or
its political subdivisions have been, and may continue to be, severely damaged.

COUNT XIV
(Violation of Illinois False Claims Whistleblower Reward and Protection Act)

503. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

504. This is a civil action brought by Relator, on behalf of the State of Illinois, against
Defendant under the Illinois False Claims Whistleblower Reward and Protection Act, 740 II.
Comp. Stat. 175/4(b).

505. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly

presented, or caused to be presented, and may still be presenting or causing to be presented, to an

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officer or employee of the State of Illinois, or a member of the [Illinois National Guard, false or
fraudulent claims for payment or approval, in violation of 740 Ill. Comp. Stat. 175/3(a)(1)(A).

506. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using, or causing to be made
or used, false record or statements material to get false or fraudulent claims paid or approved by
the State of Illinois, or its political subdivisions, in violation of 740 Ill. Comp. Stat.
175/3(a)()(B).

507. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using, or causing to be made
or used, false records or statements material to conceal, avoid or decrease an obligation to pay or
transmit money to the State of Illinois, or its political subdivisions, in violation of 740 Ill. Comp.
Stat. 175/3(a)(1)(G).

508. The State of Illinois, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of those claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state funded health insurance programs.

509. Asa result of Defendant’s actions, as set forth above, the State of Illinois and/or

its political subdivisions have been, and may continue to be, severely damaged.

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COUNT XV
(Violation of Indiana False Claims and Whistleblower Protection Act)

510. Relator incorporates herein by reference the preceding paragraphs of the Second

 

Amended Complaint as though fully set forth herein.

511. This is a civil action brought by Relator, on behalf of the State of Indiana, against
Defendant under the Indiana False Claims and Whistleblower Protection Act, Ind. Code § 5-11-
5.5-4(a).

512. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

‘the information involved, or with actual knowledge of the falsity of the information, knowingly
or intentionally presented, or caused to be presented, and may still be presenting or causing to be
presented, false claims to the State of Indiana, or its political subdivisions, for payment or
approval, in violation of Ind. Code § 5-11-5.5-2(b)(1).

513. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
or intentionally made, used, or caused to be made or used, and may still be making, using, or
causing to be made or used, false records or statements to obtain payment or approval of false
claims from the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-
5.5-2(b)(2).

514. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
or intentionally made, used, or caused to be made or used, and may still be making, using, or

causing to be made or used, false records or statements to avoid an obligation to pay or transmit

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money to the State of Indiana, or its political subdivisions, in violation of Ind. Code § 5-11-5.5-
2(b)(6).

515. The State of Indiana, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of those claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state funded health insurance programs.

516. As aresult of Defendant’s actions, as set forth above, the State of Indiana and/or
its political subdivisions have been, and may continue to be, severely damaged.

COUNT XVI
(Violation of Louisiana Medical Assistance Programs Integrity Law)

517. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

518. This is a civil action brought by Relator, on behalf of the State of Louisiana’s
medical assistance programs, against Defendant under the Louisiana Medical Assistance
Programs Integrity Law, La. Rev. Stat. Ann. § 46:439.1.

519. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented, or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims, in violation of La. Rev. Stat. Ann. § 46:438.3(A).

520. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly

engaged in misrepresentation, and may still be engaging in misrepresentation, to obtain, or

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attempt to obtain, payment from medical assistance programs funds, in violation of La. Rev. Stat.
Ann. § 46:438.3(B).

521. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
submitted, and may continue to submit, claims for goods, services or supplies which were
medically unnecessary or which were of substandard quality or quantity, in violation of La. Rev.
Stat. Ann. § 46:438.3(D).

522. The State of Louisiana, its medical assistance programs, political subdivisions
and/or the Department, unaware of the falsity of the claims and/or statements made by
Defendant, or their actions as set forth above, acted in reliance, and may continue to act in
reliance, on the accuracy of Defendant’s claims and/or statements in paying for prescription
drugs and prescription drug-related management services for medical assistance program
recipients.

523. Asa result of Defendant’s actions, as set forth above, the State of Louisiana, its
medical assistance programs, political subdivisions and/or the Department have been, and may
continue to be, severely damaged.

COUNT XVII
(Violation of Maryland False Health Claims Act)

524. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

525. This is a civil action brought by Relator, on behalf of the State of Maryland,
against Defendant under the Maryland False Health Claims Act of 2010, Md. Code Ann., Health-

Gen. § 2-604.

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526. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims for payment or approval, in violation of Md. Code Ann., Health-Gen. § 2-
602(a)(1).

527. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to false or fraudulent claims, in violation of Md.
Code Ann., Health-Gen. § 2-602(a)(2).

528. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still me making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Maryland, or its political subdivisions, in violation of Md. Code Ann.,
Health-Gen. § 2-602(a)(8).

529. The State of Maryland, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid for prescription drugs and prescription drug-related management services
for recipients of health insurance programs funded by the state or its political subdivisions.

530. As a result of Defendant’s actions, as set forth above, the State of Maryland

and/or its political subdivisions have been, and may continue to be, severely damaged.

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COUNT XVIII
(Violation of Massachusetts False Claims Act)

531. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

532. This is a civil action brought by Relator, on behalf of the Commonwealth of
Massachusetts, against Defendant under the Massachusetts False Claims Act, Mass. Gen. Laws
ch. 12 § 5C(2).

533. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims for payment or approval, in violation of Mass. Gen. Laws ch. 12 § 5B(1).

534. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to obtain payment or approval of claims by the
Commonwealth of Massachusetts, or its political subdivisions, in violation of Mass. Gen. Laws
ch. 12 § SB(2).

535. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit

money to the Commonwealth of Massachusetts, or its political subdivisions, in violation of

Mass. Gen. Laws ch. 12 § 5B(8).

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536. The Commonwealth of Massachusetts, or its political subdivisions, unaware of
the falsity of the claims and/or statements made by Defendant, and in reliance on the accuracy of
these claims and/or statements, paid, and may continue to pay, for prescription drugs and
prescription drug-related management services for recipients of health insurance programs
funded by the state or its political subdivisions.

537. Asa result of Defendant’s actions, as set forth above, the Commonwealth of
Massachusetts and/or its political subdivisions have been, and may continue to be, severely
damaged.

COUNT XIx
(Violation of Michigan Medicaid False Claims Act)

538. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

539. This is a civil action brought by Relator, on behalf of the State of Michigan,
against Defendant under the Michigan Medicaid False Claims Act, Mich. Comp. Laws
§ 400.610a(1).

540. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made or caused to be made, and may still be making or causing to be made, false statements or
false representations of material facts in an application for Medicaid benefits, in violation of
Mich. Comp. Laws § 400.603(1).

541. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of

the information involved, or with actual knowledge of the falsity of the information, knowingly

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made or caused to be made false statements or false representations of a material fact for use in
determining rights to a Medicaid benefit, in violation of Mich. Comp. Laws § 400.603(2).

542. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
concealed or failed to disclose, and may still be concealing or failing to disclose, an event
affecting its initial or continued right to receive a Medicaid benefit, or the initial or continued
right of any other person on whose behalf Defendant has applied for or is receiving a benefit
with intent to obtain a benefit to which Defendant were not entitled or in an amount greater than
that to which Defendant were entitled, in violation of Mich. Comp. Laws § 400.603(3).

543. Defendant, in possession of facts under which they are aware or should be aware
of the nature of their conduct and that their conduct is substantially certain to cause the payment
of a Medicaid benefit, knowingly made, presented or caused to be made or presented, and may
still be presenting or causing to be presented, to an employee or officer of the State of Michigan,
or its political subdivisions, false claims under the Social Welfare Act, Mich. Comp. Laws
§§ 400.1-400.122, in violation of Mich. Comp. Laws § 400.607(1).

544, The State of Michigan, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

545. As a result of Defendant’s actions, as set forth above, the State of Michigan

and/or its political subdivisions have been, and may continue to be, severely damaged.

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COUNT XX
(Violation of Minnesota False Claims Act)

546. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

547. This is a civil action brought by Relator, on behalf of the State of Minnesota,
against Defendant under the Minnesota False Claims Act, Minn. Stat. § 15C.05(a).

548. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Minnesota, or its political subdivisions, false or fraudulent
claims for payment or approval, in violation of Minn. Stat. § 15C.02(a)(1).

549. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claim paid or approved by the State
of Minnesota, or its political subdivisions, in violation of Minn. Stat. § 15C.02(a)(2).

550. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Minnesota, or its political subdivisions, in violation of Minn. Stat.

§ 15C.02(a)(7).

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551. The State of Minnesota, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of state and state subdivision funded health insurance
programs.

552. Asa result of Defendant’s actions, as set forth above, the State of Minnesota
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXI
(Violation of Montana False Claims Act)

553. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

554, This is a civil action brought by Relator, on behalf of the State of Montana
against, Defendant under the Montana False Claims Act, Mont. Code Ann. § 17-8-406(1).

555. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Montana, or its political subdivisions, false or fraudulent
claims for payment or approval, in violation of Mont. Code Ann. § 17-8-403(1)(a).

556. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get false or fraudulent claims paid or approved by the State

of Montana, or its political subdivisions, in violation of Mont. Code Ann. § 17-8-403(1)(b).

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557. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Montana, or its political subdivisions, in violation of Mont. Code Ann.
§ 17-8-403(1)(g).

558. The State of Montana, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health insurance programs funded by the state or
its political subdivisions.

559. Asaresult of Defendant’s actions, as set forth above, the State of Montana and/or
its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXII
(Violation of Nevada False Claims Act)

560. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

561. This is a civil action brought by Relator, on behalf of the State of Nevada, against —
Defendant under the Nevada False Claims Act, Nev. Rev. Stat. § 357.080(1).

562. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false

claims for payment or approval, in violation of Nev. Rev. Stat. § 357.040(1)(a).

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563. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to obtain payment or approval of false claims, in violation of
Nev. Rev. Stat. § 357.040(1)(b).

564. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Nevada, or its political subdivisions, in violation of Nev. Rev. Stat.
§ 357.040(1)(g).

565. The State of Nevada, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health insurance programs funded by the state or
its political subdivisions.

566. Asa result of Defendant’s actions, as set forth above, the State of Nevada and/or
its political subdivisions have been, and may continue to be, severely damaged.

COUNT XxIll
(Violation of New Jersey False Claims Act)

567. Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

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568. This is a civil action brought by Relator, on behalf of the State of New Jersey,
against Defendant pursuant to the New Jersey Fraud False Claims Act, N.J. Stat. Ann. § 2A:32C-
5(b).

569. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
or intentionally presented or caused to be presented, and may still be presenting or causing to be
presented, to an employee, officer or agent of the State of New Jersey, or to any contractor,
grantee, or other recipient of State funds, false or fraudulent claims for payment or approval, in
violation of N.J. Stat. Ann. § 2A:32C-3(a).

570. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to made or used, and may still be making, using or causing to be made or
used, false records or statements to get false or fraudulent claims paid or approved by the State of
New Jersey, or its political subdivisions, in violation of N.J. Stat. Ann. § 2A:32C-3(b).

571. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of New Jersey, or its political subdivisions, in violation of N.J. Stat. Ann.
§ 2A:32C-3(g).

572. The State of New Jersey, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

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and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

573. Asa result of Defendant’s actions, as set forth above, the State of New Jersey
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXIV
(Violation of New Mexico Medicaid False Claims Act)

574. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

575. This is a civil action brought by Relator, on behalf of the State of New Mexico,
against Defendant under the New Mexico Medicaid False Claims Act, N.M. Stat. Ann. § 27-14-
7(B).

576. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to the
State of New Mexico, or its political subdivisions, false or fraudulent claims for payment under
the Medicaid program, in violation of N.M. Stat. Ann. § 27-14-4(A).

577. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to obtain false or fraudulent claims under the Medicaid
program paid for or approved by the State of New Mexico, or its political subdivisions, in

violation of N.M. Stat. Ann. § 27-14-4(C).

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578. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of New Mexico, or its political subdivisions, relative to the Medicaid
program, in violation of N.M. Stat. Ann. § 27-14-4(E).

579. The State of New Mexico, or its political subdivisions, unaware of the falsity of
the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health insurance programs funded by the state or
its political subdivisions.

580. Asa result of Defendant’s actions, as set forth above, the State of New Mexico
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXV
(Violation of New York False Claims Act)

581. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

582. This is a civil action brought by Relator, on behalf of the State of New York,
against Defendant under the New York False Claims Act, N.Y. State Fin. Law § 190(2).

583. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly

presented or caused to be presented, and may still be presenting or causing to be presented, to an

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officer, employee or agent of the State of New York, or its political subdivisions, false or
fraudulent claims for payment or approval, in violation of N.Y. State Fin. Law § 189(1)(a).

584. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to get a false claim paid or approved by the State of New
York, or its political subdivisions, in violation of N.Y. State Fin. Law § 189(1)(b).

585. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of New York, or its political subdivisions, in violation of N.Y. State Fin. Law
§ 189(1)(g).

586. The State of New York, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health insurance programs funded by the state or
its political subdivisions.

587. As aresult of Defendant’s actions, set forth above, the State of New York and/or

its political subdivisions have been, and may continue to be, severely damaged.

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COUNT XXVI
(Violation of North Carolina False Claims Act)

588. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

589. This is a civil action brought by Relator, on behalf of the State of North Carolina,
against Defendant under the North Carolina False Claims Act, N.C. Gen. Stat. § 1-608(b).

590. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims for payment or approval, in violation of N.C. Gen. Stat. § 1-607(a)(1).

591. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to false or fraudulent claims, in violation of N.C.
Gen. Stat. § 1-607(a)(2).

592. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of North Carolina, or its political subdivisions, in violation of N.C. Gen. Stat.
§ 1-607(a)(7).

593. The State of North Carolina, or its political subdivisions, unaware of the falsity of

the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

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and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of health insurance programs funded by the state or
its political subdivisions.

594. As aresult of Defendant’s actions, as set forth above, the State of North Carolina
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXVII
(Violation of Oklahoma Medicaid False Claims Act)

595. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

596. This is a civil action brought by Relator, on behalf of the State of Oklahoma,
against Defendant pursuant to the Oklahoma Medicaid Fraud False Claims Act, Okla. Stat. tit.
63, § 5053.2(B)(1).

597. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an
officer or employee of the State of Oklahoma, or its political subdivisions, false or fraudulent
claims for payment or approval, in violation of Okla. Stat. tit. 63, § 5053.1(B)(1).

598. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made or caused to be made, and may still be making or causing to be made, false records or
statements to get false or fraudulent claims paid or approved by the State of Oklahoma, or its

political subdivisions, in violation of Okla. Stat. tit. 63, § 5053.1(B)(2).

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599. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Oklahoma, or its political subdivisions, in violation of Okla. Stat. tit. 63,
§ 5053.1(B)(7).

600. The State of Oklahoma, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

601. As a result of Defendant’s actions, as set forth above, the State of Oklahoma
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXVIII
(Violation of Rhode Island False Claims Act)

602. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

603. This is a civil action brought by Relator, on behalf of the State of Rhode Island,
against Defendant pursuant to the Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-4(b).

604. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to an

officer or employee of the State of Rhode Island or a member of Rhode Island’s National Guard,

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false or fraudulent claims for payment or approval, in violation of R.I. Gen. Laws § 9-1.1-
3(a)(1).

605. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made or caused to be made, and may still be making or causing to be made, false records or
statements to get false or fraudulent claims paid or approved by the State of Rhode Island, or its
political subdivisions, in violation of R.I. Gen. Laws § 9-1.1-3(a)(2).

606. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the State of Rhode Island, or its political subdivisions, in violation of R.I. Gen. Laws
§ 9-1.1-3(a)(7).

607. The State of Rhode Island, or its political subdivisions, unaware of the falsity of
the claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

608. As a result of Defendant’s actions, as set forth above, the State of Rhode Island
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXIx
(Violation of Tennessee Medicaid False Claims Act)

609. Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

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610. This is a civil action brought by Relator, on behalf of the State of Tennessee,
against Defendant under the Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-
183(b).

611. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to the
State of Tennessee, or its political subdivisions, false or fraudulent claims for payment under the
Medicaid program,, in violation of Tenn. Code Ann. § 71-5-182(a)(1 (A).

612. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false or fraudulent records or statements to get false or fraudulent claims under the
Medicaid program paid for or approved by the State of Tennessee, or its political subdivisions, in
violation of Tenn. Code Ann. § 71-5-182(a)(1)(B).

613. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false or fraudulent records or statements to conceal, avoid or decrease an obligation to
pay or transmit money to the State of Tennessee, or its political subdivisions, relative to the
Medicaid program, in violation of Tenn. Code Ann. § 71-5-182(a)(1)(D).

614. The State of Tennessee, or its political subdivisions, unaware of the falsity of the

claims and/or statements made by Defendant, and in reliance on the accuracy of these claims

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and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of the Medicaid program.

615. Asa result of Defendant’s actions, as set forth above, the State of Tennessee
and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXX
(Violation of Texas Medicaid Fraud Prevention Act)

616. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

617. This is a civil action brought by Relator, on behalf of the State of Texas against,
Defendant under the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann.
§ 36.101 (a).

618. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made or caused to be made, and may still be making or causing to be made, false statements or
misrepresentations of material fact that permitted Defendant to receive a benefit or payment
under the Medicaid program that was not authorized or that was greater than the benefit or
payment that was authorized, in violation of Tex. Hum. Res. Code Ann. § 36.002(1).

619. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
concealed or failed to disclose, or caused to be concealed or not disclosed — and may still be
concealing or failing to disclose, or causing to be concealed or not disclosed — information that

permitted Defendant to receive a benefit or payment under the Medicaid program that was not

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authorized or that was greater than the payment that was authorized, in violation of Tex. Hum.
Res. Code Ann, § 36.002(2).

620. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, caused to be made, induced or sought to induce, and may still be making, causing to be
made, inducing or seeking to induce, the making of false statements or misrepresentations of
material fact concerning information required to be provided by a federal or state law, rule,
regulation or provider agreement pertaining to the Medicaid program, in violation of Tex. Hum.
Res, Code Ann. § 36.002(4)(B).

621. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, and may still be making, claims under the Medicaid program for services or products that
were inappropriate, in violation of Tex. Hum. Res. Code Ann. § 36.002(7)(C).

622. The State of Texas, or it political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance on the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-
related management services for recipients of Medicaid.

623. Asaresult of Defendant’s actions, as set forth above, the State of Texas and/or its
political subdivisions have been, and may continue to be, severely damaged.

COUNT XXXI
(Violation of Virginia Fraud Against Taxpayers Act)

624. Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

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625. This is a civil action brought by Relator, on behalf of the Commonwealth of
Virginia, against Defendant under the Commonwealth of Virginia Fraud Against Taxpayers Act,
Va. Code Ann. § 8.01-216.5(A).

626. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, false
or fraudulent claims for payment or approval, in violation of Va. Code Ann. § 8.01-216.3(A)(1).

627. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements material to false or fraudulent claims, in violation of Va.
Code Ann. § 8.01-216.3(A)(2).

628. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used or caused to be made or used, and may still be making, using or causing to be made
or used, false records or statements to conceal, avoid, or decrease an obligation to pay or transmit
money to the Commonwealth of Virginia, or its political subdivisions, in violation of Va. Code
Ann, § 8.01-216.3(A)(7).

629. The Commonwealth of Virginia, or its political subdivisions, unaware of the
falsity of the claims and/or statements made by Defendant, and in reliance upon the accuracy of
these claims and/or statements, paid, and may continue to pay, for prescription drugs and
prescription drug-related management services for recipients of state funded health insurance

programs.

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630. As a result of Defendant’s actions, as set forth above, the Commonwealth of
Virginia and/or its political subdivisions have been, and may continue to be, severely damaged.

COUNT XXXII
(Violation of Wisconsin False Claims for Medical Assistance Law)

631. Relator incorporates herein by reference the preceding paragraphs of the Second
Amended Complaint as though fully set forth herein.

632. This is a civil action brought by Relator, on behalf of the State of Wisconsin,
against Defendant under the Wisconsin False Claims for Medical Assistance Law, Wis. Stat.
§ 20.931(5)(a).

633. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
presented or caused to be presented, and may still be presenting or causing to be presented, to
any officer, or employee, or agent of the State of Wisconsin, or its political subdivisions, false or
fraudulent claims for medical assistance, in violation of Wis. Stat. § 20.931(2)(a).

634. Defendant, in reckless disregard or deliberate ignorance of the truth or falsity of
the information involved, or with actual knowledge of the falsity of the information, knowingly
made, used, or caused to be made or used, and may still be making, using, or causing to be made
or used, false records or statements to obtain approval or payment of false claims for medical
assistance, in violation of Wis. Stat. § 20.931(2)(b).

635. The State of Wisconsin, or its political subdivisions, unaware of the falsity of the
claims and/or statements made by Defendant, and in reliance upon the accuracy of these claims
and/or statements, paid, and may continue to pay, for prescription drugs and prescription drug-

related management services for recipients of state funded health insurance programs.

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636. Asa result of Defendant’s actions, as set forth above, the State of Wisconsin

and/or its political subdivisions have been, and may continue to be, severely damaged.

PRAYER FOR RELIEF

WHEREFORE, Relator prays for judgment against Defendant as follows:

A. That Defendant be ordered to cease and desist from submitting any more false
claims, or further violating 31 U.S.C. § 3729 et seq.; Cal. Gov’t Code § 12650 et seg.; Colo. Rev.
Stat. § 25.5-4-304 et seg.; Conn. Gen. Stat. § 17b-301a et seg.; Del. Code Ann. tit. 6, § 1201 et
seqg.; D.C. Code § 2-308.13 et seq.; Fla. Stat. § 68.081 et seg.; Ga. Code Ann. § 49-4-168 et seq.;
Haw. Rev. Stat. § 661-21 et seq.; 740 Ill. Comp. Stat. § 175/1 et seq.; Ind. Code § 5-11-5.5 et
seq.; La. Rev. Stat. Ann. § 46:439.1 et seg.; Md. Code Ann., Health-Gen. § 2-601 et seg.; Mass.
Gen. Laws ch. 12, § 5A et seg.; Mich. Comp. Laws § 400.601 et seg.; Minn. Stat. § 15C.01 et
seq.; Mont. Code Ann. § 17-8-401 et seg.; Nev. Rev. Stat. § 357.010 et seg.; N.J. Stat. Ann.
§ 2A:32C-1 et seg.; N.M. Stat. Ann. § 27-14-1 et seg.; N.Y. State Fin. Law § 187 et seg.; N.C.
Gen. Stat. § 1-605 et seg.; Okla. Stat. tit. 63, § 5053 et seg.; R.I. Gen. Laws § 9-1.1-1 ef seq.;
Tenn. Code Ann. § 71-5-181 et seg.; Tex. Hum. Res. Code Ann. § 36.001 et seg.; Va. Code Ann.
§ 8.01-216.1 et seg.; and Wis. Stat. § 20.931 et seq.

B. That judgment be entered in Relator’s favor and against Defendant in the amount
of each and every false or fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a),
plus a civil penalty of not less than five thousand ($5,000) or more than ten thousand dollars
($10,000) per claim as provided by 31 U.S.C. § 3729(a), to the extent such multiplied penalties

shall fairly compensate the United States of America for losses resulting from the various

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schemes undertaken by Defendant, together with penalties for specific claims to be identified at
trial after full discovery;

Cc. That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.
§§ 3730(d) and 3730(h), Cal. Gov’t Code § 12652(g)(4), Colo. Rev. Stat. § 25.5-4-306(4), Conn.
Gen. Stat. § 17b-301le(e), Del. Code Ann. tit. 6, § 1205, D.C. Code § 2-308.15(f), Fla. Stat.
§ 68.085, Ga. Code Ann. § 49-4-168.2(i), Haw. Rev. Stat. § 661-27, 740 Ill. Comp. Stat.
§ 175/4(d), Ind. Code § 5-11-5.5-6, La. Rev. Stat. Ann. § 439.4, Md. Code Ann., Health-Gen.
§ 2-605, Mass. Gen. Laws ch.12, § 5F, Mich. Comp. Laws § 400.610a(9), Minn. Stat. § 15C.13,
Mont. Code Ann. § 17-8-410, Nev. Rev. Stat. § 357.210, N.J. Stat. Ann. § 2A:32C-7, N.M. Stat.
Ann. § 27-14-9, N.Y. State Fin. Law § 190(6), N.C. Gen. Stat. § 1-610, Okla. Stat. tit. 63,
§ 5053.4, R.I. Gen. Laws § 9-1.1-4(d), Tenn. Code Ann. § 71-5-183(d), Tex. Hum. Res. Code
Ann. § 36.110, Va. Code Ann. § 8.01-216.7, and Wis. Stat. § 20.931(11), including without
limitation (i) reinstatement of employment with no diminution of seniority, (ii) double back-pay
for the period since his unlawful retaliatory termination, (iii) interest on such back-pay, and
(iv) special damages, including reasonable attorneys’ fees and litigation costs.

D. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of California or its political subdivisions multiplied as
provided for in Cal. Gov’t Code § 12651(a), plus a civil penalty of not less than five thousand
dollars ($5,000) per claim or more than ten thousand dollars ($10,000) per claim as provided by
Cal. Gov’t Code § 12651(a), to the extent such penalties shall fairly compensate the State of
California or its political subdivisions for losses resulting from the various schemes undertaken
by Defendant, together with penalties for specific claims to be identified at trial after full

discovery;

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E. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Colorado or its political subdivisions multiplied as
provided for in Colo. Rev. Stat. § 25.5-4-305(1), plus a civil penalty of not less than five
thousand dollars ($5,000) or more than ten thousand dollars ($10,000) for each act as provided
by Colo. Rev. Stat. § 25.5-4-305(1), to the extent such multiplied penalties shall fairly
compensate the State of Colorado or its political subdivisions for losses resulting from the
various schemes undertaken by Defendant, together with penalties for specific claims to be
identified at trial after full discovery;

F, That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Connecticut multiplied as provided for in Conn. Gen.
Stat. § 17b-301b(b)(2), plus a civil penalty of not less than five thousand dollars ($5,000) or
more than ten thousand dollars ($10,000) for each act in violation of the State of Connecticut
False Claims Act, as provided by Conn. Gen. Stat. § 17b-301b(b)(1), to the extent such
multiplied penalties shall fairly compensate the State of Connecticut for losses resulting from the
various schemes undertaken by Defendant, together with penalties for specific claims to be
identified at trial after full discovery;

G. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Delaware multiplied as provided for in Del. Code Ann.
tit. 6, §1201(a), plus a civil penalty of not less than five thousand five hundred dollars ($5,500)
or more than eleven thousand dollars ($11,000) for each act in violation of the Delaware False
Claims and Reporting Act, as provided by Del. Code Ann. tit. 6, §1201(a), to the extent such

multiplied penalties shall fairly compensate the State of Delaware for losses resulting from the

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various schemes undertaken by Defendant, together with penalties for specific claims to be
identified at trial after full discovery;

H. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the District of Columbia, multiplied as provided for in D.C. Code
§ 2-308.14(a), plus a civil penalty of not less than five thousand dollars ($5,000) or more than ten
thousand dollars ($10,000) for each false claim, and the costs of this civil action brought to
recover such penalty and damages, as provided by D.C. Code § 2-308.14(a), to the extent such
multiplied penalties shall fairly compensate the District of Columbia for losses resulting from the
various schemes undertaken by Defendant, together with penalties for specific claims to be
identified at trial after full discovery;

I. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Florida or its agencies multiplied as provided for in Fla.
Stat. § 68.082(2), plus a civil penalty of not less than five thousand five hundred dollars ($5,500)
or more than eleven thousand dollars ($11,000) for each false claim as provided by Fla. Stat.
Ann. § 68.082(2), to the extent such multiplied penalties shall fairly compensate the State of
Florida or its agencies for losses resulting from the various schemes undertaken by Defendant,
together with penalties for specific claims to be identified at trial after full discovery;

J. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Georgia or its political subdivisions multiplied as
provided for in Ga. Code Ann. § 49-4-168.1(a), plus a civil penalty of not less than five thousand
five hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) per false claim as
provided by Ga. Code Ann. § 49-4-168.1(a), to the extent such multiplied penalties shall fairly

compensate the State of Georgia or its political subdivisions for losses resulting from the various

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schemes undertaken by Defendant, together with penalties for specific claims to be identified at
trial after full discovery;

K. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Hawaii, multiplied as provided for in Haw. Rev. Stat.
§ 661-21(a), plus a civil penalty of not less than five thousand dollars ($5,000) or more than ten
thousand dollars ($10,000) as provided by Haw. Rev. Stat. § 661-21(a), to the extent such
multiplied penalties shall fairly compensate the State of Hawaii for losses resulting from the
various schemes undertaken by Defendant, together with penalties for specific claims to be
identified at trial after full discovery;

L. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Illinois, multiplied as provided for in 740 Ill. Comp.
Stat. § 175/3(a)(1)(A), plus a civil penalty of not less than five thousand five hundred dollars
($5,500) or more than eleven thousand dollars ($11,000) as provided by 740 Ill. Comp. Stat.
§ 175/3(a)(1)(A), and the costs of this civil action as provided by 740 Ill. Comp. Stat.
§ 175/3(a)(1)(B), to the extent such penalties shall fairly compensate the State of Illinois for
losses resulting from the various schemes undertaken by Defendant, together with penalties for
specific claims to be identified at trial after full discovery;

M. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Indiana, multiplied as provided for in Ind. Code § 5-11-
5.5-2(b), plus a civil penalty of at least five thousand dollars ($5,000) as provided by Ind. Code
§ 5-11-5.5-2(b), to the extent such penalties shall fairly compensate the State of Indiana for
losses resulting from the various schemes undertaken by Defendant, together with penalties for

specific claims to be identified at trial after full discovery;

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N. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by Louisiana’s medical assistance programs, multiplied as provided for
in La, Rev. Stat. Ann. § 46:438.6(B)(2), plus a civil penalty of no more than ten thousand dollars
($10,000) per violation or an amount equal to three times the value of the illegal remuneration,
whichever is greater, as provided for by La. Rev. Stat. Ann. § 46:438.6(B)(1), plus up to ten
thousand dollars ($10,000) for each false or fraudulent claim, misrepresentation, illegal
remuneration, or other prohibited act, as provided by La. Rev. Stat. Ann. § 46:438.6(C)(1)(a),
plus payment of interest on the amount of the civil fines imposed pursuant to Subsection B of
§ 438.6 at the maximum legal rate provided by La. Civil Code Art. 2924 from the date the
damage occurred to the date of repayment, as provided by La. Rev. Stat. Ann.
§ 46:438.6(C)(1)(b), to the extent such multiplied fines and penalties shall fairly compensate the
State of Louisiana’s medical assistance programs for losses resulting from the various schemes
undertaken by Defendant, together with penalties for specific claims to be identified at trial after
full discovery;

O. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Maryland or its political subdivisions for the value of payments or benefits
provided, directly or indirectly, as a result of Defendant’s unlawful acts, as provided for in Md.
Code Ann., Health-Gen. § 2-602(a), multiplied as provided for in Md. Code Ann., Health-Gen.
§ 2-602(b)(1)(ii), plus a civil penalty of not more than ten thousand dollars ($10,000) for each
false claim, pursuant to Md. Code Ann., Health-Gen. § 2-602(b)(1)(i), to the extent such
penalties fairly compensate the State of Maryland or its political subdivisions for losses resulting
from the various schemes undertaken by Defendant, together with penalties for specific claims to

be identified at trial after full discovery;

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P. That judgment be entered in Relator’s favor and against Defendant for restitution
to the Commonwealth of Massachusetts or its political subdivisions in the amount of a civil
penalty of not less than five thousand dollars ($5,000) dollars and not more than ten thousand
dollars ($10,000), plus three times the amount of damages, including consequential damages,
sustained by Massachusetts as the result of Defendant’s actions, plus the expenses of the civil
action brought to recover such penalties and damages, as provided by Mass. Gen. Laws ch 12.
§ 5B, to the extent such penalties shall fairly compensate the Commonwealth of Massachusetts
or its political subdivisions for losses resulting from the various schemes undertaken by
Defendant, together with penalties for specific claims to be identified at trial after full discovery;

Q. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Michigan or its political subdivisions for the value of payments or benefits
provided as a result of Defendant’s unlawful acts, plus a civil penalty of triple the amount of
damages suffered by Michigan as a result of Defendant’s unlawful conduct, as well as not less
than five thousand dollars ($5,000) or more than ten thousand dollars ($10,000) per claim, as
provided by Mich. Comp. Laws § 400.612(1), as well as the costs incurred by both Michigan and
Relator, as provided by §§ 400.610a(9) and 400.610b, in order to fairly compensate the State of
Michigan or its political subdivisions for losses resulting from the various schemes undertaken
by Defendant, together with penalties for specific claims to be identified at trial after full
discovery;

R. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Minnesota or its political subdivisions for the value of payments or benefits
provided as a result of Defendant’s unlawful acts, plus a civil penalty of triple the amount of

damages suffered by Minnesota as a result of Defendant’s unlawful conduct, as well as not less

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than five thousand five hundred dollars ($5,500) or more than eleven thousand dollars ($11,000)
per claim, as provided by Minn. Stat. § 15C.02(a), as well as the costs incurred by both Michigan
and Relator, as provided by Minn. Stat. § 15C.12, in order to fairly compensate Minnesota or its
political subdivisions for losses resulting from the various schemes undertaken by Defendant,
together with penalties for specific claims to be identified at trial after full discovery;

S. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Montana or its political subdivisions for the value of payments or benefits
provided, directly or indirectly, as a result of Defendant’s unlawful acts, as provided for in Mont.
Code Ann. § 17-8-403, multiplied as provided for in Mont. Code Ann. § 17-8-403(2), plus a civil
penalty of not less than five thousand dollars ($5,000) or more than ten thousand dollars
($10,000) for each false claim, pursuant to Mont. Code Ann. § 17-8-403(2), to the extent such
multiplied penalties shall fairly compensate the State of Montana or its political subdivisions for
losses resulting from the various schemes undertaken by Defendant, together with penalties for
specific claims to be identified at trial after full discovery;

T. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Nevada for the value of payments or benefits provided, directly or indirectly, as a
result of Defendant’s unlawful acts, as provided for in Nev. Rev. Stat. § 357.040, multiplied as
provided for in Nev. Rev. Stat. § 357.040(1), plus a civil penalty of not less than five thousand
dollars ($5,000) or more than ten thousand dollars ($10,000) for each act, pursuant to Nev. Rev.
Stat. § 357.040(1), to the extent such multiplied penalties shall fairly compensate the State of
Nevada for losses resulting from the various schemes undertaken by Defendant, together with

penalties for specific claims to be identified at trial after full discovery;

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U. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of New Jersey or its political subdivisions multiplied as
provided for in N.J. Stat. Ann. § 2A:32C-3, plus a civil penalty of not less than and not more
than the civil penalties allowed under the federal False Claims Act (31 U.S.C. § 3729 et seq.) for
each false or fraudulent claim, to the extent such multiplied penalties shall fairly compensate the
State of New Jersey or its political subdivisions for losses resulting from the various schemes
undertaken by Defendant, together with penalties for specific claims to be identified at trial after
full discovery;

V. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of New Mexico or its political subdivisions for the value of payments or benefits
provided, directly or indirectly, as a result of Defendant’s unlawful acts, as provided for in N.M.
Stat. Ann. § 27-14-4, multiplied as provided for in N.M. Stat. Ann. § 27-14-4, to the extent such
multiplied penalties shall fairly compensate the State of New Mexico or its political subdivisions
for losses resulting from the various schemes undertaken by Defendant, together with penalties
for specific claims to be identified at trial after full discovery;

W. — That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of New York or its political subdivisions for the value of payments or benefits
provided, directly or indirectly, as a result of Defendant’s unlawful acts, as provided for in N.Y.
State Fin. Law § 189(1), multiplied as provided for in N.Y. State Fin. Law § 189(1), plus a civil
penalty of not less than six thousand dollars ($6,000) or more than twelve thousand dollars
($12,000) for each false claim, pursuant to N.Y. State Fin. Law § 189(1), to the extent such

multiplied penalties shall fairly compensate the State of New York or its political subdivisions

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for losses resulting from the various schemes undertaken by Defendant, together with penalties
for specific claims to be identified at trial after full discovery;

X. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of North Carolina for the value of payments or benefits provided, directly or
indirectly, as a result of Defendant’s unlawful acts, as provided for in N.C. Gen. Stat. § 1-607,
multiplied as provided for in N.C. Gen. Stat. § 1-607(a), plus a civil penalty of not less than five
thousand five hundred dollars ($5,500) or more than eleven thousand dollars ($11,000) as
provided by N.C. Gen. Stat. § 1-607(a), to the extent such multiplied penalties shall fairly
compensate the State of North Carolina for losses resulting from the various schemes undertaken
by Defendant, together with penalties for specific claims to be identified at trial after full
discovery;

Y. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Oklahoma or its political subdivisions multiplied as
provided for in Okla. Stat. tit. 63, § 5053.1(B), plus a civil penalty of not less than five thousand
dollars ($5,000) or more than ten thousand dollars ($10,000) as provided by Okla. Stat. tit. 63,
§ 5053.1(B), to the extent such multiplied penalties shall fairly compensate the State of
Oklahoma or its political subdivisions for losses resulting from the various schemes undertaken
by Defendant, together with penalties for specific claims to be identified at trial after full
discovery;

Z. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Rhode Island or its political subdivisions multiplied as
provided for in R.I. Gen. Laws § 9-1.1-3(a), plus a civil penalty of not less than five thousand

dollars ($5,000) or more than ten thousand dollars ($10,000) per claim as provided by R.I. Gen.
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Laws § 9-1,1-3(a), to the extent such multiplied penalties shall fairly compensate the State of
Rhode Island or its political subdivisions for losses resulting from the various schemes
undertaken by Defendant, together with penalties for specific claims to be identified at trial after
full discovery;

AA. _ That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Tennessee for the value of payments or benefits provided, directly or indirectly, as
a result of Defendant’s unlawful acts, as provided for in Tenn. Code Ann. § 71-5-182, multiplied
as provided for in Tenn. Code Ann. § 71-5-182(a)(1), plus a civil penalty of not less than five
thousand dollars ($5,000) or more than twenty-five thousand dollars ($25,000) pursuant to Tenn.
Code Ann. § 71-5-182(a)(1), to the extent such multiplied penalties shall fairly compensate the
State of Tennessee for losses resulting from the various schemes undertaken by Defendant,
together with penalties for specific claims to be identified at trial after full discovery;

BB. That judgment be entered in Relator’s favor and against Defendant for restitution
to the State of Texas for the value of payments or benefits provided, directly or indirectly, as a
result of Defendant’s unlawful acts, as provided for in Tex. Hum. Res. Code Ann. § 36.052(a),
multiplied as provided for in Tex. Hum. Res. Code Ann. § 36.052(a)(4), the interest on the value
of such payments or benefits at the prejudgment interest rate in effect on the day the payment or
benefit was paid or received, for the period from the date the payment or benefit was paid or
received to the date that restitution is made to the State of Texas, pursuant to Tex. Hum. Res.
Code Ann. § 36.052(a)(2), plus a civil penalty of not less than five thousand dollars ($5,000) or
more than fifteen thousand dollars ($15,000) for each unlawful act committed that resulted in
injury to an elderly or disabled person, and of not less than one thousand dollars ($1,000) or

more than ten thousand dollars ($10,000) for each unlawful act committed that did not result in
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injury to an elderly or disabled person, pursuant to Tex. Hum. Res. Code Ann.
§§ 36.052(a)(3)(A) and (B), to the extent such multiplied penalties shall fairly compensate the
State of Texas for losses resulting from the various schemes undertaken by Defendant, together
with penalties for specific claims to be identified at trial after full discovery; |

CC. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the Commonwealth of Virginia, multiplied as provided for in Va.
Code Ann. § 8.01-216.3(A), plus a civil penalty of not less than five thousand five hundred
dollars ($5,500) or more than eleven thousand dollars ($11,000) as provided by Va. Code Ann.
§ 8.01-216.3(A), to the extent such multiplied penalties shall fairly compensate the
Commonwealth of Virginia for losses resulting from the various schemes undertaken by
Defendant, together with penalties for specific claims to be identified at trial after full discovery;

DD. That judgment be entered in Relator’s favor and against Defendant in the amount
of the damages sustained by the State of Wisconsin or its political subdivisions multiplied as
provided for in Wis. Stat. § 20.931(2), plus a civil penalty of not less than five thousand dollars
($5,000) or more than ten thousand dollars ($10,000) as provided by Wis. Stat. § 20.931(2), to
the extent such multiplied penalties shall fairly compensate the State of Wisconsin or its political
subdivisions for losses resulting from the various schemes undertaken by Defendant, together
with penalties for specific claims to be identified at trial after full discovery;

EE. That Defendant be ordered to disgorge all sums by which they have been enriched
unjustly by their wrongful conduct;

FF. That judgment be granted for Relator against Defendant for all costs, including,
but not limited to, court costs, expert fees and all attorneys' fees incurred by Relator in the

prosecution of this suit; and

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GG. That Relator be granted such other and further relief as the Court deems just and

proper.

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JURY TRIAL DEMANDED

Pursuant to Federal Rule of Civil Procedure 38(a), Plaintiffs hereby demand a trial by
jury of all issues so triable.

Dated: March 15, 2012

 

 

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